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                                           EXHIBIT A
                            FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                              SUMMARY OF PROFESSIONALS AND FEES
                         FOR THE PERIOD JUNE 1, 2023 THROUGH JUNE 30, 2023

                                                                      Billing    Total        Total
         Professional             Position           Specialty         Rate      Hours        Fees
Chesley, Rachel           Sr Managing Dir       Communications         $ 1,075       4.3      $ 4,622.50
Baldo, Diana              Sr Consultant         Communications             525     18.0         9,450.00

McNew, Steven             Sr Managing Dir       Cryptocurrency          1,200       13.0       15,600.00
Carter, Michael           Sr Managing Dir       Cryptocurrency          1,200        3.9        4,680.00
de Brignac, Jessica       Managing Dir          Cryptocurrency            910       39.7       36,127.00
Sheridan, Jeremy          Managing Dir          Cryptocurrency            910       14.2       12,922.00
Leonaitis, Isabelle       Sr Consultant         Cryptocurrency            595       24.2       14,399.00
Vazquez Ortiz, Fredrix    Sr Consultant         Cryptocurrency            595       19.0       11,305.00
Kamran, Kainat            Consultant            Cryptocurrency            440       40.9       17,996.00

Busen, Michael            Sr Managing Dir       Data & Analytics        1,325       12.0       15,900.00
Garofalo, Michael         Senior Director       Data & Analytics          935       43.3       40,485.50
Jordan, Mason             Sr Consultant         Data & Analytics          635       88.0       55,880.00
Kimche, Livia             Consultant            Data & Analytics          475        9.9        4,702.50

Risler, Franck            Sr Managing Dir       Derivatives             1,725      153.0      263,925.00
Rousskikh, Valeri         Managing Dir          Derivatives             1,300       58.8       76,440.00
Diodato, Michael          Managing Dir          Derivatives             1,210      134.0      162,140.00
Kubali, Volkan            Managing Dir          Derivatives             1,210       12.1       14,641.00
Watson, Ching             Managing Director     Derivatives             1,210       30.9       37,389.00
Majkowski, Stephanie      Senior Director       Derivatives             1,100      125.2      137,720.00
Guo, Xueying              Director              Derivatives               975       73.8       71,955.00
Langer, Cameron           Director              Derivatives               920      164.1      150,972.00

Greenblatt, Matthew       Sr Managing Dir       Forensic Accounting     1,325        0.5          662.50
Baer, Laura               Senior Director       Forensic Accounting       975       32.5       31,687.50
Fiorillo, Julianna        Director              Forensic Accounting       835       40.5       33,817.50
Anastasiou, Anastis       Director              Forensic Accounting       785      117.3       92,080.50
Steven, Kira              Director              Forensic Accounting       835       93.5       78,072.50
Famiglietti, Tyler        Sr Consultant         Forensic Accounting       695       67.6       46,982.00
Marsella, Jenna           Sr Consultant         Forensic Accounting       635       88.7       56,324.50
Stillman, Beulah          Consultant            Forensic Accounting       475      174.7       82,982.50
Rothschild, Elijah        Consultant            Forensic Accounting       475       41.0       19,475.00
Shaik, Ismail             Consultant            Forensic Accounting       475      156.9       74,527.50
Reid, Matthew             Consultant            Forensic Accounting       475      155.3       73,767.50

Tantleff, Alan            Senior Managing Dir   Real Estate             1,250        7.8        9,750.00
Walden, Michael           Senior Director       Real Estate               800       19.6       15,680.00
Kang, Nicholas            Consultant            Real Estate               395       29.8       11,771.00

Simms, Steven             Sr Managing Dir       Restructuring           1,495       53.0       79,235.00
Joffe, Steven             Sr Managing Dir       Restructuring           1,325        2.2        2,915.00
Diaz, Matthew             Sr Managing Dir       Restructuring           1,325       83.9      111,167.50
Bromberg, Brian           Managing Dir          Restructuring             985      173.6      170,996.00
Gray, Michael             Sr Consultant         Restructuring             695       80.0       55,600.00
Dawson, Maxwell           Sr Consultant         Restructuring             635      205.2      130,302.00
Sveen, Andrew             Consultant            Restructuring             475      143.0       67,925.00
Hellmund-Mora, Marili     Manager               Restructuring             325        1.2          390.00
GRAND TOTAL                                                                      2,850.1   $ 2,405,362.50




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                                      EXHIBIT B
                       FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                              SUMMARY OF HOURS BY TASK
                    FOR THE PERIOD JUNE 1, 2023 THROUGH JUNE 30, 2023

                                                                         Total          Total
Task Code                      Task Description                          Hours          Fees
    1     Current Operating Results & Events                                   3.6        $ 3,435.00
    2     Cash & Liquidity Analysis                                           78.6        55,265.00
    5     Real Estate Issues                                                  59.8        40,357.00
    9     Analysis of Employee Comp Programs                                   0.4            254.00
   10     Analysis of Tax Issues                                               3.4          4,097.00
   11     Prepare for and Attend Court Hearings                                3.5          3,711.50
   12     Analysis of SOFAs & SOALs                                            1.7          1,674.50
   13     Analysis of Other Miscellaneous Motions                             23.1        22,595.00
   14     Analysis of Claims/Liabilities Subject to Compromise               167.8       187,579.50
   16     Analysis, Negotiate and Form of POR & DS                           409.2       352,058.00
   18     Potential Avoidance Actions & Litigation                         1,156.0       731,759.00
   21     General Meetings with UCC and UCC Counsel                           53.5        72,615.50
   24     Preparation of Fee Application                                     123.1        70,933.50
   26     Cryptocurrency/Digital Assets Issues                               716.2       804,664.00
   27     Communications Planning & Execution                                 22.3        14,072.50
   29     Exchange Restart                                                    27.9        40,291.50
          GRAND TOTAL                                                      2,850.1   $ 2,405,362.50




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                                                    EXHIBIT C
                                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                             DETAIL OF TIME ENTRIES
                                  FOR THE PERIOD JUNE 1, 2023 THROUGH JUNE 30, 2023



Task Code     Date            Professional       Hours                                      Activity
    1       6/1/2023    Dawson, Maxwell              0.9 Compile list of financial information and documents related to a certain
                                                         subsidiary.
    1       6/5/2023    Bromberg, Brian              0.6 Draft responses to recent inquiries on FTX Europe issues.

    1       6/5/2023    Bromberg, Brian               0.8 Review situational overview re: FTX Europe issues.

    1       6/15/2023   Bromberg, Brian               0.7 Prepare materials re: key financial updates for a certain Debtor entity.

    1       6/30/2023   Diaz, Matthew                 0.6 Review the FTX May financial update.

 1 Total                                              3.6

    2       6/1/2023    Dawson, Maxwell               0.4 Prepare diligence question list for A&M re: latest cash flow forecast.

    2       6/1/2023    Dawson, Maxwell               1.5 Prepare initial slides re: latest cash flow forecast.

    2       6/1/2023    Dawson, Maxwell               2.3 Prepare analysis re: latest cash flow forecast.

    2       6/1/2023    Sveen, Andrew                 0.2 Prepare summary of professional fees paid based on recent filed fee
                                                          applications.
    2       6/2/2023    Dawson, Maxwell               0.5 Prepare slides regarding latest cash flow forecast for UCC.

    2       6/2/2023    Gray, Michael                 0.3 Conduct preliminary review of latest liquidity report provided by A&M.

    2       6/2/2023    Sveen, Andrew                 0.2 Prepare summary based on recent data received from A&M re: case to date
                                                          cash flow information.
    2       6/5/2023    Sveen, Andrew                 0.2 Summarize latest cash flow reporting from A&M.

    2       6/5/2023    Gray, Michael                 0.4 Review cash flow report in advance of discussion with A&M.

    2       6/5/2023    Diaz, Matthew                 0.8 Provide comments on the latest cash flow analysis.

    2       6/5/2023    Sveen, Andrew                 0.3 Complete tracker of professional fee payments paid to date.

    2       6/5/2023    Sveen, Andrew                 0.2 Summarize latest filings by the Debtors re: professional fees applications to
                                                          assess run rates and cash burn.
    2       6/5/2023    Dawson, Maxwell               0.3 Attend call with A&M (J. Cooper, S. Witherspoon) re: latest budget-to-
                                                          actual reporting.
    2       6/5/2023    Gray, Michael                 0.3 Participate in a call with A&M (J. Cooper, S. Witherspoon) re: latest cash
                                                          flow report.
    2       6/5/2023    Bromberg, Brian               0.3 Participate in a call on cash flow with Debtors (J. Cooper, S. Witherspoon).

    2       6/6/2023    Dawson, Maxwell               0.6 Finalize professional fee reporting in UCC cash flow slides.

    2       6/6/2023    Dawson, Maxwell               1.3 Update cash flow slides to address recent comments.

    2       6/6/2023    Dawson, Maxwell               1.0 Continue to prepare cash flow reporting for UCC.

    2       6/6/2023    Dawson, Maxwell               1.7 Prepare case-to-date cash flow information for UCC reporting.




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                                                   EXHIBIT C
                                    FTX TRADING LTD., ET AL. - CASE NO. 22-11068
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                                 FOR THE PERIOD JUNE 1, 2023 THROUGH JUNE 30, 2023



Task Code     Date            Professional      Hours                                 Activity
    2       6/6/2023   Gray, Michael                0.6 Provide comments on draft UCC cash flow report.

    2       6/6/2023   Gray, Michael                 0.7 Review draft UCC cash flow report.

    2       6/6/2023   Bromberg, Brian               1.5 Provide comments on case-to-date budget presentation.

    2       6/6/2023   Bromberg, Brian               0.8 Finalize cash flow slides.

    2       6/6/2023   Bromberg, Brian               0.8 Review cash investment issues and related impacts on the Debtors' cash
                                                         flow.
    2       6/6/2023   Bromberg, Brian               0.2 Prepare questions on cash flow for Debtors.

    2       6/7/2023   Bromberg, Brian               0.3 Provide additional comments on the latest cash flow presentation.

    2       6/7/2023   Dawson, Maxwell               1.6 Revise cash flow reporting for UCC.

    2       6/7/2023   Diaz, Matthew                 1.4 Review the latest cash flow report to prepare for an upcoming meeting with
                                                         the UCC.
    2       6/7/2023   Diaz, Matthew                 0.4 Review documents re: the amended cash management order.

    2       6/7/2023   Gray, Michael                 0.5 Provide comments on cash flow update.

    2       6/7/2023   Gray, Michael                 0.4 Review the amended final cash management motion for changes in certain
                                                         caps.
    2       6/7/2023   Gray, Michael                 0.4 Review revisions to cash flow update.

    2       6/7/2023   Sveen, Andrew                 0.5 Summarize the most recent budget to actual reports received from the
                                                         Debtors.
    2       6/8/2023   Dawson, Maxwell               1.2 Revise most recent cash flow reporting for UCC.

    2       6/8/2023   Gray, Michael                 0.5 Review updated to cash flow report for UCC prior to distribution to PH.

    2       6/8/2023   Diaz, Matthew                 0.9 Review the cash variance analysis report for UCC.

    2       6/8/2023   Diaz, Matthew                 0.6 Continue to review the cash variance analysis report for UCC.

    2       6/8/2023   Diaz, Matthew                 0.6 Review changes to the cash management order.

    2       6/9/2023   Dawson, Maxwell               0.6 Coordinate response to cash management order amendments.

    2       6/9/2023   Dawson, Maxwell               0.8 Finalize cash flow reporting package to share with UCC.

    2       6/9/2023   Bromberg, Brian               0.6 Review cash flow issues for most recent reporting.

    2       6/9/2023   Sveen, Andrew                 0.4 Review Debtors' most recent filings to assess potential cash inflows re:
                                                         proposed asset monetization plans.
    2       6/9/2023   Dawson, Maxwell               0.5 Revise task list re: diligence for cash flow analysis.

    2       6/9/2023   Sveen, Andrew                 2.8 Prepare commentary and analysis on the Debtors' current and prior cash
                                                         flow forecasts.




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                                                     EXHIBIT C
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                                              DETAIL OF TIME ENTRIES
                                   FOR THE PERIOD JUNE 1, 2023 THROUGH JUNE 30, 2023



Task Code     Date             Professional       Hours                                   Activity
    2       6/12/2023   Gray, Michael                 0.4 Review cash flow report in advance of discussion with A&M.

    2       6/12/2023   Sveen, Andrew                  0.2 Summarize updates to Debtors' latest cash flow variance report.

    2       6/12/2023   Gray, Michael                  0.2 Coordinate with J. Cooper (A&M) re: cash flow reporting.

    2       6/12/2023   Diaz, Matthew                  0.6 Review updated cash flow analysis for most recent reporting period.

    2       6/12/2023   Sveen, Andrew                  1.6 Continue to summarize professional tasks performed in April 2023.

    2       6/12/2023   Sveen, Andrew                  0.8 Summarize issues related to asset monetization re: potential cash inflows.

    2       6/12/2023   Dawson, Maxwell                0.3 Participate in a call with A&M (J. Cooper) and FTI (B. Bromberg, M. Gray,
                                                           D. Sveen) re: latest cash report.
    2       6/12/2023   Bromberg, Brian                0.3 Attend meeting with A&M (J. Cooper) and FTI (M. Gray, D. Sveen) re:
                                                           latest cash flow analysis.
    2       6/12/2023   Bromberg, Brian                0.6 Participate in a call with the Debtors re: certain investment (M. O'Hara, J.
                                                           Ray, K. Hansen, A. Dietderich, Others).
    2       6/12/2023   Sveen, Andrew                  0.2 Prepare daily summary of filed fee applications re: cash burn.

    2       6/13/2023   Bromberg, Brian                0.2 Review cash yield issues re: potential treasuries investments.

    2       6/13/2023   Sveen, Andrew                  0.2 Prepare summary of professional fee application filings by Debtors re: cash
                                                           burn.
    2       6/13/2023   Risler, Franck                 0.3 Assess progress from the Debtors on the review and negotiation of the
                                                           custody agreements for treasury bills investments with their banking
                                                           counterparties.
    2       6/14/2023   Simms, Steven                  0.4 Evaluate cash flow analysis and run rate.

    2       6/15/2023   Bromberg, Brian                0.5 Prepare list of items for analysis based on recent UCC requests re: liquidity
                                                           updates.
    2       6/15/2023   Gray, Michael                  0.3 Perform preliminary review of cash variance report for the week ending 6/9
                                                           provided by A&M.
    2       6/15/2023   Bromberg, Brian                0.4 Review most recent cash flow reporting from Debtors.

    2       6/15/2023   Bromberg, Brian                0.3 Review issues: Debtors' post-petition deposits.

    2       6/15/2023   Sveen, Andrew                  0.3 Review the most recent data room files received from A&M re: potential
                                                           asset monetization.
    2       6/15/2023   Sveen, Andrew                  0.2 Review summary of Debtors' filed fee applications.

    2       6/15/2023   Diaz, Matthew                  0.2 Review updates to the diligence list in order to evaluate ongoing strategy for
                                                           plan.
    2       6/15/2023   Simms, Steven                  0.6 Prepare correspondence summarizing issues with asset monetization efforts
                                                           re: liquidity.
    2       6/16/2023   Diaz, Matthew                  0.7 Review the cash flow variance report for the most recent reporting period.

    2       6/16/2023   Sveen, Andrew                  1.6 Summarize analysis of professionals' activity on case to date re: monthly run
                                                           rate assessment.
    2       6/19/2023   Dawson, Maxwell                0.2 Participate in a call with A&M (J. Cooper, S. Witherspoon, E. Taraba, L.
                                                           Callerio) re: cash variance report.




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Task Code     Date             Professional      Hours                                       Activity
    2       6/19/2023   Gray, Michael                0.2 Attend call with A&M (J. Cooper, S. Witherspoon, E. Taraba, L. Callerio)
                                                         re: updates to the cash variance report.
    2       6/19/2023   Sveen, Andrew                0.2 Summarize budget to actuals variance report for the week ending 6/9/23.

    2       6/19/2023   Gray, Michael                 0.3 Review cash variance report for the week ending 6/9 in advance of
                                                          discussion with A&M.
    2       6/19/2023   Bromberg, Brian               0.3 Provide comments on latest cash flow reporting.

    2       6/19/2023   Bromberg, Brian               0.3 Review asset monetization issues re: liquidity.

    2       6/20/2023   Sveen, Andrew                 1.9 Prepare strategy for upcoming budget forecast analysis.

    2       6/20/2023   Sveen, Andrew                 0.2 Prepare update summarizing Debtors' court filings, including orders for
                                                          payment of Debtor professional fees.
    2       6/20/2023   Simms, Steven                 0.3 Prepare correspondence on potential asset monetization strategies re: yield
                                                          maximization.
    2       6/21/2023   Sveen, Andrew                 0.7 Review prior analysis on the Debtors' previous budget.

    2       6/22/2023   Sveen, Andrew                 1.5 Summarize cash flow results from the Debtors' last budget.

    2       6/22/2023   Diaz, Matthew                 0.8 Review the Debtors' cash variance report for the most recent week.

    2       6/22/2023   Bromberg, Brian               0.3 Review cash flow reporting updates.

    2       6/24/2023   Bromberg, Brian               0.3 Review summary of proposed asset monetization plans re: yield
                                                          maximization.
    2       6/26/2023   Dawson, Maxwell               0.6 Participate in a call with A&M (J. Cooper, S. Witherspoon, L. Callerio, E.
                                                          Taraba) and FTI (B. Bromberg) re: cash flow updates.
    2       6/26/2023   Bromberg, Brian               0.6 Participate in a call with A&M (J. Cooper, S. Witherspoon, L. Callerio, E.
                                                          Taraba) re: assumptions used in the latest cash flow forecast.
    2       6/26/2023   Dawson, Maxwell               0.6 Prepare an outline for the upcoming cash flow report for the UCC.

    2       6/26/2023   Dawson, Maxwell               0.4 Analyze latest variance report provided by A&M.

    2       6/26/2023   Dawson, Maxwell               0.3 Analyze latest cash forecast provided by A&M.

    2       6/26/2023   Diaz, Matthew                 0.9 Review the updated cash flow budget.

    2       6/27/2023   Sveen, Andrew                 2.1 Assess the Debtors' case to date cash flow and professional fees.

    2       6/27/2023   Sveen, Andrew                 0.5 Develop cash flow presentation on revised budget deck for UCC.

    2       6/27/2023   Dawson, Maxwell               0.3 Prepare cash flow forecast reporting for UCC.

    2       6/27/2023   Sveen, Andrew                 1.3 Analyze the Debtors' updates to the budget.

    2       6/27/2023   Sveen, Andrew                 0.4 Review the key changes to Debtors' most recently reported budget.

    2       6/27/2023   Sveen, Andrew                 0.9 Conduct quality check on cash flow deck for UCC.




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Task Code     Date              Professional      Hours                                   Activity
    2       6/27/2023   Sveen, Andrew                 0.6 Prepare bridge from previous budget to revised budget.

    2       6/28/2023   Sveen, Andrew                  1.4 Prepare quality check on cash flow deck for UCC.

    2       6/28/2023   Sveen, Andrew                  2.2 Analyze Debtors' latest budget in order to prepare deck for UCC.

    2       6/29/2023   Sveen, Andrew                  2.5 Develop presentation to UCC for updated budget and analysis.

    2       6/29/2023   Sveen, Andrew                  0.7 Create table of professional fees accrued to date and paid.

    2       6/29/2023   Sveen, Andrew                  1.6 Compare prior budget to current budget to incorporate into presentation for
                                                           UCC.
    2       6/29/2023   Sveen, Andrew                  0.6 Comment on key budget line items updates.

    2       6/29/2023   Diaz, Matthew                  0.4 Review the cash flow variance report for most recent week.

    2       6/30/2023   Sveen, Andrew                  1.2 Analyze case to date cash flow and cash inflows.

    2       6/30/2023   Sveen, Andrew                  1.1 Revise presentation on updated budget for UCC.

    2       6/30/2023   Sveen, Andrew                  1.3 Analyze case to date professional fee accruals to compare current and prior
                                                           reports.
    2       6/30/2023   Dawson, Maxwell                0.8 Analyze variances in latest budget received from A&M relative to prior
                                                           version.
    2       6/30/2023   Dawson, Maxwell                2.1 Provide comments on cash flow forecast presentation to UCC.

    2       6/30/2023   Dawson, Maxwell                0.4 Finalize draft of cash flow forecast slides for UCC.

    2       6/30/2023   Gray, Michael                  0.3 Review weekly variance analysis for the week ending 6/16 provided by
                                                           A&M.
    2       6/30/2023   Gray, Michael                  0.8 Review revised 13-week cash flow report provided by A&M.

    2       6/30/2023   Gray, Michael                  0.4 Review weekly variance analysis for the week ending 6/23 provided by
                                                           A&M.
 2 Total                                              78.6

    5       6/5/2023    Walden, Michael                0.2 Analyze the latest litigation issues re: the Debtors' Bahamian properties.

    5       6/5/2023    Walden, Michael                0.5 Draft a diligence list to prepare for an upcoming call with A&M.

    5       6/6/2023    Kang, Nicholas                 0.2 Analyze documents re: real-estate property valuation in the Bahamas.

    5       6/6/2023    Kang, Nicholas                 0.5 Draft a list of questions for A&M re: potential real estate claim issues.

    5       6/6/2023    Tantleff, Alan                 0.4 Summarize latest updates on real estate properties related to certain pre-
                                                           petition directors.
    5       6/6/2023    Walden, Michael                0.2 Assess real estate impacts on Debtors' distributable asset value.

    5       6/8/2023    Kang, Nicholas                 0.3 Prepare for call with Debtors on FTX real estate holdings.




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Task Code     Date             Professional       Hours                                    Activity
    5       6/8/2023    Kang, Nicholas                0.3 Research FTX real estate before the kick-off with A&M.

    5       6/8/2023    Kang, Nicholas                 1.1 Summarize research on FTX real estate holdings.

    5       6/8/2023    Kang, Nicholas                 0.3 Summarize real estate issues re: joint provisional liquidators' agreement.

    5       6/8/2023    Tantleff, Alan                 0.6 Research preliminary information on FTX real estate holdings to prepare for
                                                           call with A&M.
    5       6/8/2023    Walden, Michael                0.7 Prepare research on FTX real estate in advance of call with Debtors.

    5       6/8/2023    Walden, Michael                0.3 Review key proposals for evaluation of Debtors' real estate.

    5       6/8/2023    Walden, Michael                1.0 Review issues with Debtors' real estate in provisional liquidation report.

    5       6/8/2023    Walden, Michael                0.3 Prepare for discussion with A&M on potential real estate issues.

    5       6/8/2023    Kang, Nicholas                 0.8 Participate in a meeting with A&M (A. Lawson and K. Dennison) to
                                                           discuss the Debtors' real estate.
    5       6/8/2023    Tantleff, Alan                 0.8 Attend call with A&M (A. Lawson and K. Dennison) to discuss FTX real
                                                           estate issues.
    5       6/8/2023    Walden, Michael                0.8 Participate in a call with A&M (A. Lawson and K. Dennison) on issues re:
                                                           FTX real estate.
    5       6/9/2023    Kang, Nicholas                 1.3 Incorporate comments to the real estate tracker on Debtors' real estate
                                                           holdings.
    5       6/9/2023    Kang, Nicholas                 0.3 Prepare matrix of Debtors' real estate.

    5       6/9/2023    Kang, Nicholas                 0.2 Summarize the prior matrix prepared on the Debtors' real estate holdings.

    5       6/9/2023    Kang, Nicholas                 2.2 Create draft of real estate matrix for Debtors' assets.

    5       6/9/2023    Kang, Nicholas                 0.2 Revise matrix table of the Debtors' real estate holdings.

    5       6/9/2023    Walden, Michael                0.3 Review issues on the joint provisional liquidators report re: real estate.

    5       6/9/2023    Walden, Michael                0.2 Provide comments on matrix table summarizing the Debtors' real estate
                                                           assets.
    5       6/12/2023   Kang, Nicholas                 2.2 Continue to draft the matrix of Debtors' real estate assets.

    5       6/12/2023   Kang, Nicholas                 2.1 Incorporate revisions to the real estate matrix for FTX.

    5       6/12/2023   Kang, Nicholas                 1.5 Revise draft of matrix of Debtors' real estate holdings.

    5       6/12/2023   Tantleff, Alan                 0.7 Review joint provisional liquidators report re: real estate.

    5       6/13/2023   Kang, Nicholas                 0.7 Assess latest comments on the Debtors' real estate matrix.

    5       6/13/2023   Kang, Nicholas                 1.6 Continue to analyze the Debtors' Bahamian properties.

    5       6/13/2023   Kang, Nicholas                 0.2 Summarize updates on latest real estate issues re: FTX involvement in the
                                                           Bahamas.




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Task Code     Date             Professional       Hours                                     Activity
    5       6/13/2023   Kang, Nicholas                2.1 Continue to draft an updated real estate matrix.

    5       6/13/2023   Kang, Nicholas                 0.3 Review latest comments on the updated real estate matrix.

    5       6/13/2023   Walden, Michael                0.8 Provide comments on the latest FTX real estate tracker.

    5       6/13/2023   Walden, Michael                0.2 Continue to review the updated FTX real estate tracker.

    5       6/13/2023   Walden, Michael                0.2 Conduct quality check on the latest FTX real estate matrix.

    5       6/13/2023   Walden, Michael                0.8 Finalize the updated FTX real estate tracker to address recent comments.

    5       6/14/2023   Kang, Nicholas                 0.2 Compare the latest real estate matrix to exhibits found in legal documents.

    5       6/14/2023   Kang, Nicholas                 0.4 Summarize updates on the investigations into FTX rea estate holdings.

    5       6/14/2023   Kang, Nicholas                 1.4 Continue to update the real estate matrix to include additional data found in
                                                           legal filings.
    5       6/14/2023   Tantleff, Alan                 0.5 Provide comments on updated analysis on FTX real estate holdings.

    5       6/14/2023   Walden, Michael                0.4 Review recent report from Bahamas the joint provisional liquidator to
                                                           prepare for upcoming meeting with A&M.
    5       6/14/2023   Walden, Michael                2.5 Draft status update report and summary of FTX real estate holdings for
                                                           upcoming meeting with the UCC.
    5       6/14/2023   Walden, Michael                0.2 Create diligence list regarding latest real estate issues to prepare for
                                                           upcoming meeting with the UCC and A&M.
    5       6/14/2023   Walden, Michael                0.4 Assess impact of the latest updates re: FTX real estate holdings on potential
                                                           customer recoveries.
    5       6/15/2023   Kang, Nicholas                 0.9 Summarize updates to the analysis of Debtors' real estate holdings.

    5       6/15/2023   Kang, Nicholas                 0.2 Prepare correspondence with A&M on data room access.

    5       6/15/2023   Kang, Nicholas                 0.2 Review diligence list items for call with A&M on Debtors' real estate.

    5       6/15/2023   Tantleff, Alan                 0.7 Prepare diligence list for call with A&M on real estate liquidation plan.

    5       6/16/2023   Kang, Nicholas                 0.5 Extract key details from dataroom documents for further analysis.

    5       6/16/2023   Kang, Nicholas                 0.2 Review dataroom index for updates in order to prepare further analysis.

    5       6/16/2023   Kang, Nicholas                 0.4 Review real estate issues re: Debtors holdings.

    5       6/16/2023   Tantleff, Alan                 0.9 Prepare for call with A&M by reviewing FTX real estate holdings.

    5       6/16/2023   Walden, Michael                0.7 Create summary document to track provided real estate documentation for
                                                           diligence.
    5       6/16/2023   Walden, Michael                0.4 Provide list of considerations for analysis of Debtors' real estate.

    5       6/16/2023   Walden, Michael                0.8 Summarize various real estate appraisals re: Debtors' real estate assets.




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Task Code     Date             Professional       Hours                                   Activity
    5       6/16/2023   Walden, Michael               0.2 Review dataroom catalogue for analysis of FTX real estate.

    5       6/16/2023   Walden, Michael                2.0 Review Debtors' dataroom to identify and record documentation relevant to
                                                           real estate analysis.
    5       6/16/2023   Diaz, Matthew                  0.5 Review real estate properties held by Debtors.

    5       6/16/2023   Simms, Steven                  0.3 Prepare correspondence summarizing real estate issues and related analysis.

    5       6/16/2023   Kang, Nicholas                 0.5 Participate in a call with A&M (Alexander Lawson; Kim Dennison; Warren
                                                           Paterson) to discuss latest updates to analysis of Debtors' real estate assets.
    5       6/16/2023   Tantleff, Alan                 0.5 Participate in a call with A&M (Alexander Lawson; Kim Dennison; Warren
                                                           Paterson) to discuss analysis of FTX real estate.
    5       6/16/2023   Walden, Michael                0.5 Participate in a call with A&M (Alexander Lawson; Kim Dennison; Warren
                                                           Paterson) for analysis of FTX real estate.
    5       6/19/2023   Kang, Nicholas                 0.5 Draft new real estate related inquiries to prepare for upcoming meeting with
                                                           A&M.
    5       6/20/2023   Kang, Nicholas                 2.3 Complete matrix of real estate inventory for Debtors' real estate assets.

    5       6/21/2023   Kang, Nicholas                 0.8 Review inventory matrix to address comments for revisions re: real estate.

    5       6/21/2023   Walden, Michael                0.4 Create diligence agenda for upcoming call with A&M on real estate issues.

    5       6/21/2023   Walden, Michael                0.8 Review documents on Debtors' properties provided by A&M.

    5       6/21/2023   Walden, Michael                1.3 Review cooperation agreement from Debtors as part of real estate analysis.

    5       6/26/2023   Walden, Michael                0.5 Summarize updates on the investigations into FTX real estate holdings.

    5       6/26/2023   Tantleff, Alan                 0.5 Participate in a call with A&M (A. Lawson, W. Paterson, K. Dennison) re:
                                                           latest updates on the FTX real estate holdings.
    5       6/26/2023   Walden, Michael                0.5 Attend meeting with A&M (A. Lawson, W. Paterson, K. Dennison) for
                                                           updates on FTX real estate holdings.
    5       6/27/2023   Kang, Nicholas                 0.7 Draft sheet summarizing the current priorities for analysis of Debtors' real
                                                           estate analysis.
    5       6/27/2023   Tantleff, Alan                 0.2 Prepare for real estate analysis meeting with Joint Provisional Liquidators.

    5       6/29/2023   Kang, Nicholas                 0.5 Continue to analyze real estate holdings of the Debtors.

    5       6/29/2023   Tantleff, Alan                 0.7 Prepare strategy for analysis of the Debtors' real estate holdings.

    5       6/29/2023   Walden, Michael                0.3 Continue to supplement analysis of Debtors' real estate holdings.

    5       6/29/2023   Walden, Michael                0.8 Update summary of Debtors' real estate holdings.

    5       6/29/2023   Diaz, Matthew                  0.5 Assess the Debtors' real estate properties.

    5       6/29/2023   Simms, Steven                  0.2 Review ongoing issues for analysis of Debtors' real estate properties.

    5       6/29/2023   Bromberg, Brian                0.4 Assess issues related to the Debtors' real estate properties.




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Task Code     Date               Professional      Hours                                      Activity
    5       6/29/2023   Tantleff, Alan                 0.1 Participate in a call with PH (G. Sasson) on real estate issues re: Debtors'
                                                           real estate holdings.
    5       6/30/2023   Kang, Nicholas                 1.1 Draft framework for deck on information re: Debtors' real estate holdings.

    5       6/30/2023   Kang, Nicholas                  0.4 Participate in a call with PH (G. Sasson) on initial preparations for real
                                                            estate holdings analysis.
    5       6/30/2023   Kang, Nicholas                  0.2 Summarize call with PH on Debtors' real estate.

    5       6/30/2023   Tantleff, Alan                  0.5 Review joint provisional liquidators report and cooperation agreement in
                                                            preparation for call with PH.
    5       6/30/2023   Tantleff, Alan                  0.4 Correspond on initial analysis of Debtors' real estate with PH (G. Sasson).

    5       6/30/2023   Walden, Michael                 0.4 Participate in a call with PH (G. Sasson) and team on the initial preparations
                                                            for real estate holdings analysis.
    5       6/30/2023   Bromberg, Brian                 0.4 Participate in a call with PH (G. Sasson) on Debtors' real estate issues.

    5       6/30/2023   Bromberg, Brian                 0.3 Review real estate issues re: Debtors' holdings.

    5       6/30/2023   Tantleff, Alan                  0.3 Conduct overview of the Debtors' proposed topics for analysis re: real estate
                                                            holdings.
 5 Total                                               59.8

    9       6/1/2023    Dawson, Maxwell                 0.4 Analyze proposed KEIP order to confirm terms.

 9 Total                                                0.4

   10       6/6/2023    Bromberg, Brian                 0.4 Review IRS claim detail.

   10       6/6/2023    Bromberg, Brian                 0.8 Review tax issues for claims.

   10       6/7/2023    Joffe, Steven                   0.4 Attend a call with PH (G. Silber) regarding a recent tax basis issue.

   10       6/12/2023   Joffe, Steven                   0.8 Participate in a call with S&C (D. Hariton), PH (G. Silber) and A&M (K.
                                                            Jacobs) regarding Debtors' tax issues.
   10       6/26/2023   Joffe, Steven                   1.0 Participate in a call with UCC, A&M (K. Jacobs), and PH (G. Silber) re:
                                                            latest tax-related issues.
 10 Total                                               3.4

   11       6/8/2023    Simms, Steven                   0.9 Attend hearing on joint provisional liquidators' issues and customer
                                                            information sealing.
   11       6/9/2023    Sheridan, Jeremy                2.6 Provide testimony at hearing re: customer information sealing.

 11 Total                                               3.5

   12       6/29/2023   Bromberg, Brian                 1.0 Review amended schedules to understand changes from March schedules.

   12       6/30/2023   Bromberg, Brian                 0.7 Prepare summary of data issues re: revised schedules.

 12 Total                                               1.7




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Task Code     Date              Professional      Hours                                   Activity
   13       6/5/2023    Sheridan, Jeremy              1.6 Continue to prepare for upcoming testimony re: customer name redaction.

   13       6/6/2023    Sheridan, Jeremy               0.6 Continue to prepare for an upcoming testimony re: customer name
                                                           redaction.
   13       6/7/2023    Sheridan, Jeremy               2.5 Prepare testimony for court hearing re: customer information sealing.

   13       6/7/2023    Sheridan, Jeremy               1.1 Continue to prepare for testimony for court hearing on customer information
                                                           sealing.
   13       6/8/2023    Sheridan, Jeremy               2.9 Continue to prepare testimony re: customer information sealing.

   13       6/8/2023    Sheridan, Jeremy               2.9 Continue to prepare testimony on customer information sealing.

   13       6/8/2023    McNew, Steven                  1.1 Review Debtors' motions re: customer information sealing.

   13       6/9/2023    Diodato, Michael               1.5 Modify presentation on claims and trading motion to reflect comments from
                                                           the UCC.
   13       6/9/2023    McNew, Steven                  1.2 Review key implications for hearing on customer information sealing.

   13       6/12/2023   Gray, Michael                  0.8 Provide comments to draft customer bar date motion.

   13       6/12/2023   Diodato, Michael               2.9 Revise presentation on claims and trading motion to reflect comments from
                                                           the UCC.
   13       6/13/2023   Bromberg, Brian                0.6 Review customer bar date motion.

   13       6/13/2023   Diodato, Michael               0.8 Update presentation on customer claims and trading motions to reflect
                                                           recent comments from the UCC.
   13       6/14/2023   Bromberg, Brian                0.4 Review contract rejection information.

   13       6/14/2023   Dawson, Maxwell                0.5 Provide comments on customer bar date motion.

   13       6/14/2023   Bromberg, Brian                0.5 Continue to review customer bar date motion.

   13       6/20/2023   Gray, Michael                  0.3 Review draft omnibus contract rejection motion.

   13       6/22/2023   Sveen, Andrew                  0.3 Summarize recent filings by Debtors re: complaint against certain third-
                                                           party.
   13       6/27/2023   Sveen, Andrew                  0.4 Summarize court filings by Debtors including customer bar date motion.

   13       6/28/2023   Sveen, Andrew                  0.2 Prepare daily update related to Debtors' filed customer bar date motion.

 13 Total                                             23.1

   14       6/1/2023    Guo, Xueying                   1.3 Summarize the liquidation cost results and pricing methodology adjustments
                                                           by token categories for claims valuation.
   14       6/1/2023    Guo, Xueying                   2.8 Perform quality check on liquidation costs and the corresponding adjusted
                                                           pricing methodology for claims valuation.
   14       6/1/2023    Guo, Xueying                   2.7 Compare different implementation results of the liquidation costs and
                                                           pricing methodology adjustments.
   14       6/1/2023    Guo, Xueying                   1.9 Analyze liquidations of FTX illiquid coins on individual entity level and
                                                           aggregation level re: claims estimation.




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Task Code     Date             Professional      Hours                                     Activity
   14       6/1/2023   Langer, Cameron               2.6 Calculate creditor claims pool proportion using a combination pricing
                                                         methodologies.
   14       6/1/2023   Diodato, Michael              0.8 Summarize data for inclusion in UCC report re: claims.

   14       6/1/2023   Bromberg, Brian                0.6 Review data reconciliation issues re: customer claims.

   14       6/1/2023   Majkowski, Stephanie           2.9 Investigate the functionalities of a certain platform to assist with ongoing
                                                          tokens valuations for claims analysis.
   14       6/1/2023   Majkowski, Stephanie           2.1 Investigate data robustness of certain third-party's platform specifically for
                                                          the assessment of tokens valuations re: claims analysis.
   14       6/1/2023   Majkowski, Stephanie           1.3 Evaluate data provider for continued token valuation for claims analysis.

   14       6/1/2023   de Brignac, Jessica            0.4 Communicate with A&M re: customer claims portal testing.

   14       6/1/2023   Garofalo, Michael              2.8 Conduct quality check of updated reconciliation for certain customer
                                                          account balances re: claims analysis.
   14       6/1/2023   Diodato, Michael               0.5 Review proposals for pricing of Debtors' crypto assets for various time
                                                          periods re: claims valuation.
   14       6/1/2023   Bromberg, Brian                0.5 Analyze latest coin valuation information to assess impact on claims.

   14       6/1/2023   Bromberg, Brian                0.3 Respond to creditor questions re: claims valuation.

   14       6/2/2023   Diodato, Michael               0.5 Prepare summary for the UCC regarding the claims analysis.

   14       6/2/2023   Risler, Franck                 0.3 Prepare summary of the claim valuation deck to be sent to the UCC.

   14       6/2/2023   Risler, Franck                 0.6 Update token classification and claim valuations to incorporate feedback
                                                          and finalize the presentation for distribution to UCC.
   14       6/2/2023   Diodato, Michael               0.3 Finalize UCC report re: claims valuation.

   14       6/2/2023   Majkowski, Stephanie           1.4 Compare the analysis results of various third-party data providers token
                                                          valuations re: claims analysis.
   14       6/2/2023   Jordan, Mason                  1.5 Update the reconciliation workbook to include the latest customer claims
                                                          analysis.
   14       6/2/2023   Garofalo, Michael              2.7 Plan reconciliation strategy between the latest SOALs report and UCC
                                                          questionnaire for claims analysis.
   14       6/5/2023   Simms, Steven                  0.6 Provide comments on claim valuation analysis.

   14       6/5/2023   de Brignac, Jessica            0.2 Assess the various pricing methodology's impacts on customer claims
                                                          valuation.
   14       6/5/2023   Risler, Franck                 0.7 Assemble list of coins for which no price is available at petition time using
                                                          various crypto data platforms re: customer claims.
   14       6/6/2023   Risler, Franck                 0.2 Revise summary of UCC report with FTI crypto market data analysis for
                                                          claims pricing.
   14       6/6/2023   de Brignac, Jessica            0.4 Communicate with A&M re: insider token claims questions.

   14       6/6/2023   Carter, Michael                0.3 Analyze anti-money laundering obligations and potential effects on the
                                                          claims portal process.
   14       6/6/2023   Garofalo, Michael              2.2 Review the revised SOALs file compared to the original Schedules re:
                                                          reconciliation for customer account balances for claims analysis.




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Task Code     Date              Professional      Hours                                       Activity
   14       6/7/2023    Garofalo, Michael             1.8 Summarize recent updates to the analysis on customer activity reconciliation
                                                          re: customer account balances for claims analysis.
   14       6/7/2023    Busen, Michael                0.4 Compare SOALS data and recent data sources in order to reconcile
                                                          customer activity data related to claims analysis.
   14       6/8/2023    Sveen, Andrew                 0.8 Summarize issues relating to customer data reconciliation.

   14       6/8/2023    Gray, Michael                  2.0 Review revised Schedules and compare to previous representations of
                                                           customer holdings re: claims reconciliation.
   14       6/8/2023    Carter, Michael                2.2 Analyze potential effects of the claims portal process to total claims pool.

   14       6/9/2023    Diodato, Michael               1.5 Attend call with FTI (F. Risler, J. de Brignac and others), PH (G. Sasson, E.
                                                           Gilad, and others), and UCC to discuss claims pricing.
   14       6/9/2023    de Brignac, Jessica            1.5 Participate in a call with FTI (F. Risler, M. Diodato and others), PH (G.
                                                           Sasson, E. Gilad, and others), and UCC re: claims valuation and token
                                                           classification.
   14       6/9/2023    Diodato, Michael               1.6 Update presentations to reflect comments from UCC re: claims pricing.

   14       6/9/2023    Sveen, Andrew                  0.8 Continue to summarize results of the continued omnibus hearing with a
                                                           focus on customer information.
   14       6/9/2023    Simms, Steven                  0.7 Evaluate report on claims valuation prior to call with UCC.

   14       6/9/2023    Risler, Franck                 0.4 Update the presentation on claim valuation to reflect final recommendations
                                                           ahead of the upcoming UCC meeting.
   14       6/9/2023    Simms, Steven                  0.4 Prepare correspondence to respond to questions on claims.

   14       6/9/2023    Bromberg, Brian                0.3 Review issues related to customer bar date.

   14       6/9/2023    Risler, Franck                 1.5 Attend call with FTI (M. Diodato and others), PH (G. Sasson, E. Gilad, and
                                                           others), and UCC re: coin monetization and claims pricing.
   14       6/10/2023   Diodato, Michael               1.4 Finalize presentation to UCC on claims and trading restrictions.

   14       6/12/2023   Risler, Franck                 0.5 Attend meeting with A&M (K. Ramanathan, A. Sivapalu) and FTI (M.
                                                           Diodato, S. Majkowski) on crypto market data providers for the pricing of
                                                           claims.
   14       6/12/2023   Diodato, Michael               0.5 Participate in a call with A&M (K. Ramanathan, A. Sivapalu) and FTI (F.
                                                           Risler, S. Majkowski) regarding crypto data providers as part of claims
                                                           analysis.
   14       6/12/2023   Majkowski, Stephanie           0.5 Participate in meeting with A&M (K. Ramanathan, A. Sivapalu) and FTI (F.
                                                           Risler, M.Diodato) to review possible data providers for ongoing coin
                                                           management analysis and tokens valuations for claims analysis.
   14       6/12/2023   Bromberg, Brian                0.5 Review claims portal issues.

   14       6/12/2023   Risler, Franck                 0.7 Finalize presentation on the valuation of claims for the UCC meeting
                                                           scheduled 06/14/23.
   14       6/12/2023   Risler, Franck                 0.7 Update presentation on claim pricing for the UCC.

   14       6/12/2023   Risler, Franck                 0.5 Provide illustration of the coin liquidity criteria and corresponding list of
                                                           tokens in the context of the claim valuation methodology definition.
   14       6/12/2023   Diaz, Matthew                  0.8 Prepare for call with the UCC by reviewing issues re: claims pricing and
                                                           crypto management.
   14       6/13/2023   Diodato, Michael               0.9 Attend call with the UCC on various claims pricing methodologies.




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   14       6/13/2023   Risler, Franck                 0.9 Participate in a call with the UCC on claims pricing and latest protocol for
                                                           FTX coin management.
   14       6/13/2023   Diodato, Michael               0.8 Summarize key points raised by the UCC re: claims pricing methodologies.

   14       6/13/2023   Diodato, Michael                0.3 Finalize the updated claims presentation to prepare for upcoming meeting
                                                            with the UCC.
   14       6/13/2023   Bromberg, Brian                 0.3 Review the potential impact of token pricing and valuation issues on
                                                            customer claims.
   14       6/13/2023   Bromberg, Brian                 0.4 Provide comments on certain claims conflict issues.

   14       6/13/2023   Bromberg, Brian                 0.6 Conduct quality check on latest customer claim calculations.

   14       6/13/2023   Bromberg, Brian                 0.5 Outline various crypto pricing issues re: the impact on customer claims.

   14       6/13/2023   Kimche, Livia                   2.4 Conduct quality checks on the latest customer balance data for claims
                                                            analysis.
   14       6/13/2023   Garofalo, Michael               2.9 Prepare reconciliation analysis on SOALs and UCC data production for
                                                            claims analysis.
   14       6/14/2023   Diodato, Michael                1.2 Participate in a call with PH (E. Gilad) to discuss perpetual futures and how
                                                            the claims for derivatives should be handled.
   14       6/14/2023   Dawson, Maxwell                 0.7 Analyze presentation of certain loan claims in SOALs.

   14       6/14/2023   Dawson, Maxwell                 0.6 Analyze summary re: potential preference offsets to certain claims.

   14       6/14/2023   Dawson, Maxwell                 0.7 Prepare analysis re: potential preference offsets to certain claims.

   14       6/14/2023   Dawson, Maxwell                 1.0 Prepare additional analysis re: potential preference offsets to certain claims.

   14       6/14/2023   Sveen, Andrew                   2.5 Summarize issues re: customer claims reconciliation.

   14       6/15/2023   Diodato, Michael                2.8 Review FTX perpetual future terms in relation to the closeout for claims.

   14       6/15/2023   Majkowski, Stephanie            1.7 Investigate coin tracing data from certain data provider for token availability
                                                            during preference period for claims analysis.
   14       6/15/2023   Majkowski, Stephanie            1.4 Investigate data provider information for token data to assist with petition
                                                            time claims analysis.
   14       6/15/2023   Risler, Franck                  2.7 Define the pricing methodology for perpetual swaps claims.

   14       6/15/2023   Majkowski, Stephanie            1.6 Investigate potential calculation methodologies for claims analysis.

   14       6/15/2023   Jordan, Mason                   1.7 Run reconciliation analysis between reports on customer balances for two
                                                            separate periods.
   14       6/15/2023   Jordan, Mason                   1.6 Prepare overview of reconciliation between various data sources on
                                                            customer balances.
   14       6/16/2023   Risler, Franck                  1.0 Attend meeting with PH (J. Madell, E. Gilad, I. Sasson) and FTI (V.
                                                            Rousskikh, M. Diodato, F. Risler) on the treatment of derivatives in the
                                                            claim calculation.
   14       6/16/2023   Diodato, Michael                1.0 Attend a call with PH (E. Gilad, I. Sasson, J. Madell) and FTI (F. Risler, V.
                                                            Rousskikh, M. Diodato) to discuss perpetual futures in the context of claims
                                                            analysis.




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Task Code     Date             Professional       Hours                                      Activity
   14       6/16/2023   Rousskikh, Valeri             1.0 Participate in a meeting with PH (J. Madell, E. Gilad, I. Sasson) and FTI (V.
                                                          Rousskikh, M. Diodato, F. Risler) on the treatment of derivatives in the
                                                          claim calculation.
   14       6/16/2023   Risler, Franck                0.5 Participate in a call with PH (E. Gilad) and FTI (F. Risler) on the treatment
                                                          of derivatives in claim pricing.
   14       6/16/2023   Risler, Franck                1.2 Review detailed specification of FTX perpetual futures and funding
                                                          payment calculation for claim pricings and analysis.
   14       6/16/2023   Risler, Franck                2.9 Continue to define mechanics to account for derivatives in claims valuation
                                                          process.
   14       6/16/2023   Diodato, Michael              1.5 Review FTX perpetual future terms in relation to the closeout for claims.

   14       6/16/2023   Rousskikh, Valeri              1.4 Articulate pricing methodology of perpetual futures for valuation of claims.

   14       6/16/2023   Rousskikh, Valeri              1.7 Calculate pricing for perpetual futures for claims valuation.

   14       6/18/2023   Risler, Franck                 1.8 Analyze data on funding spreads for perpetuals on FTX exchange in the
                                                           context of the valuation of derivatives for claims pricing.
   14       6/18/2023   Risler, Franck                 0.4 Draft response with additional observations to A&M on the treatment of
                                                           derivatives on claim valuations.
   14       6/19/2023   Bromberg, Brian                0.5 Participate in a call with the Debtors professionals (A&M: K. Ramanathan;
                                                           S&C: A.Dietderich; PH: E. Gilad, J. Madell) re: updated customer claims.
   14       6/19/2023   Risler, Franck                 0.5 Attend a call with the Debtors professionals (A&M: K. Ramanathan; S&C:
                                                           A.Dietderich; PH: E. Gilad, J. Madell) on treatment of claims arising of
                                                           derivatives.
   14       6/19/2023   Risler, Franck                 0.2 Participate in a call with PH (E. Gilad) on derivatives pricing for claims.

   14       6/19/2023   Gray, Michael                  0.7 Evaluate certain information regarding reconciliation of customer balances
                                                           to stated claim amounts.
   14       6/19/2023   Risler, Franck                 0.7 Assess FTX balance reconciliation provided by the UCC in the context of
                                                           claim valuations.
   14       6/19/2023   Risler, Franck                 1.7 Review previous crypto bankruptcy proceedings for benchmarking and
                                                           illustration purposes in the context of FTX claim calculation.
   14       6/19/2023   Bromberg, Brian                0.4 Assess the impact of updated customer claims on potential recovery
                                                           scenarios.
   14       6/19/2023   Busen, Michael                 0.4 Continue to reconcile the UCC production data and the customer activity
                                                           data to draft questions for an upcoming call with A&M re: claims analysis.
   14       6/20/2023   Risler, Franck                 0.2 Participate in a meeting with PH (I. Sasson) on claims pricing.

   14       6/20/2023   Dawson, Maxwell                0.3 Participate in a call with A&M data team (L. Konig, L. Callerio, G. Walia)
                                                           to discuss claims data reconciliation.
   14       6/20/2023   Busen, Michael                 0.3 Participate in a call with A&M data team (L. Konig, L. Callerio, G. Walia)
                                                           re: the reconciliation of SOALs and customer account balances for claims
                                                           analysis.
   14       6/20/2023   Jordan, Mason                  0.3 Participate in a call with A&M data team (L. Konig, L. Callerio, G. Walia)
                                                           re: the SOALs reconciliation for claims analysis.
   14       6/20/2023   Majkowski, Stephanie           2.3 Analyze claims and pricing related to perpetuals in the context of certain
                                                           claim reconciliation.
   14       6/20/2023   Majkowski, Stephanie           1.1 Assess certain claim pricing for claim reconciliation analysis.

   14       6/20/2023   Rousskikh, Valeri              1.2 Analyze portfolio data provided by the UCC to confirm the valuation of
                                                           certain claims.




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Task Code     Date              Professional      Hours                                   Activity
   14       6/20/2023   Jordan, Mason                 0.6 Provide comments on recent analysis of the SOALs data and customer
                                                          claims data.
   14       6/20/2023   Jordan, Mason                 0.4 Summarize critical updates and new inquiries re: the updated SOALs and
                                                          customer claims data.
   14       6/20/2023   Garofalo, Michael             2.6 Review updates to the latest SOALs reconciliation and assess outstanding
                                                          variances re: claims analysis.
   14       6/21/2023   Risler, Franck                0.5 Attend call with UCC on claims reconciliation process.

   14       6/21/2023   Bromberg, Brian                0.5 Participate in a meeting with UCC on claims reconciliation.

   14       6/21/2023   Rousskikh, Valeri              0.5 Participate in a call with UCC on perpetuals and claims calculation.

   14       6/21/2023   Risler, Franck                 0.2 Assess claims issues re: UCC claims.

   14       6/21/2023   Risler, Franck                 0.9 Update deck on token classification and claim valuation for discussion with
                                                           A&M.
   14       6/21/2023   Bromberg, Brian                0.4 Review claims reconciliation issues.

   14       6/21/2023   Bromberg, Brian                0.4 Review claims valuation deck for most recent analysis.

   14       6/22/2023   Risler, Franck                 0.6 Participate in a call with A&M (K. Ramanathan, S. Coverick) and FTI (B.
                                                           Bromberg, J. de Brignac, F.Risler) on claims pricing.
   14       6/22/2023   de Brignac, Jessica            0.6 Participate in a call with A&M (K. Ramanathan, S. Coverick) and FTI (B.
                                                           Bromberg, J. de Brignac, F.Risler) re: crypto valuation issues.
   14       6/22/2023   Risler, Franck                 0.2 Review FTX claim portal screenshots provided by Debtors.

   14       6/22/2023   Bromberg, Brian                0.4 Review claims valuation model.

   14       6/22/2023   Bromberg, Brian                0.5 Discuss claim valuation with Debtors (K. Ramanathan, F. Risler, Others).

   14       6/22/2023   Diaz, Matthew                  0.7 Review the Debtors' claims portal screen shots.

   14       6/22/2023   Bromberg, Brian                0.3 Review claims portal slides.

   14       6/22/2023   Bromberg, Brian                1.4 Review claims valuation deck.

   14       6/22/2023   Majkowski, Stephanie           0.5 Summarize recent issues related to claims analysis.

   14       6/22/2023   Risler, Franck                 0.7 Assess latest analyses prepared on claims filed against the Debtors.

   14       6/23/2023   Risler, Franck                 0.4 Finalize coin metrics agreement for claim pricing.

   14       6/23/2023   Langer, Cameron                1.8 Retrieve funding rate data for perpetual futures on the FTX exchange near
                                                           the petition date for the analysis of crypto derivatives creditor claims.
   14       6/23/2023   de Brignac, Jessica            0.6 Review customer claims portal data from A&M.

   14       6/23/2023   Langer, Cameron                2.6 Calculate perpetual funding rate spreads across exchanges near the FTX
                                                           petition date to identify price dislocations for crypto derivative claim
                                                           analysis.
   14       6/23/2023   Jordan, Mason                  0.6 Participate in a call with A&M re: updated customer claims data.




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Task Code     Date               Professional      Hours                                     Activity
   14       6/25/2023   Risler, Franck                 0.2 Coordinate with PH (E. Gilad) on claim pricing presentation to be shared
                                                           with the Debtors.
   14       6/25/2023   Risler, Franck                 0.5 Summarize key priorities re: customer claim pricing and claims portal.

   14       6/26/2023   Diodato, Michael                1.6 Review possible approaches to pricing the insider tokens for the claims
                                                            process.
   14       6/26/2023   Majkowski, Stephanie            2.4 Investigate pricing data for certain pricing methodologies of illiquid coins
                                                            for claims analysis.
   14       6/26/2023   Majkowski, Stephanie            1.4 Evaluate pricing calculations for certain coins for claims analysis.

   14       6/27/2023   Diodato, Michael                2.9 Review possible approaches to pricing the insider tokens for the claims
                                                            process.
   14       6/27/2023   Risler, Franck                  1.2 Assess objections in comparable bankruptcy case in the context of insider
                                                            token for claims valuation.
   14       6/27/2023   Diodato, Michael                0.4 Review presentation on the claims schedules.

   14       6/27/2023   Langer, Cameron                 2.6 Analyze the funding rate calculation methodology across different crypto
                                                            exchanges for the purpose of crypto derivative claim valuation at the petition
                                                            date.
   14       6/28/2023   Dawson, Maxwell                 0.3 Reconcile certain claim figures from latest SOAL filings.

   14       6/28/2023   Dawson, Maxwell                 0.5 Analyze latest filed SOALs to understand basis for disputed status of
                                                            claims.
   14       6/28/2023   Dawson, Maxwell                 0.3 Provide comments on reconciliation of certain claims in latest filed SOALs.

   14       6/28/2023   Diodato, Michael                2.7 Review possible approaches to pricing the insider tokens for the claims
                                                            process.
   14       6/28/2023   Risler, Franck                  0.4 Assess issues of claims discrepancies between latest filed SOALs and other
                                                            customer holdings representations.
   14       6/28/2023   Risler, Franck                  1.7 Analyze funding rates across key token and across exchanges up to FTX
                                                            petition in the context of derivatives claim analysis.
   14       6/28/2023   Majkowski, Stephanie            1.8 Calculate certain pricing methodologies for coins as part of claims analysis.

   14       6/28/2023   Majkowski, Stephanie            1.2 Continue to analyze pre-petition pricing of coins for various time periods for
                                                            claims analysis.
   14       6/28/2023   Langer, Cameron                 1.8 Investigate the historical funding rate data for illiquid tokens for the
                                                            purposes of claims pricing for crypto derivatives.
   14       6/28/2023   Langer, Cameron                 2.3 Develop pricing methodology for the valuation of crypto perpetual futures
                                                            for the valuation of claims.
   14       6/28/2023   Langer, Cameron                 2.6 Analyze the aggregated open interest for perpetual futures on the insider
                                                            tokens in the Debtors' portfolio for the purpose of petition date pricing re:
                                                            customer claims.
   14       6/29/2023   Dawson, Maxwell                 1.0 Prepare additional analysis of certain claims in latest filed SOALs.

   14       6/29/2023   Dawson, Maxwell                 1.4 Continue to reconcile claims in latest filed SOALs.

   14       6/29/2023   Dawson, Maxwell                 0.3 Review analysis re: reconciliation of certain claims in latest filed SOALs.

   14       6/29/2023   Diodato, Michael                0.9 Create alternative strategies for pricing insider tokens for claims process.

   14       6/29/2023   Bromberg, Brian                 0.5 Review claims pricing analysis.




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Task Code     Date              Professional      Hours                                    Activity
   14       6/30/2023   Diodato, Michael              0.4 Prepare communication to A&M re: withdrawals and their representations
                                                          in the schedule of claims.
   14       6/30/2023   Diodato, Michael              0.3 Review claim reconciliation request from UCC regarding withdrawals.

   14       6/30/2023   Bromberg, Brian                0.4 Review claim reconciliation issues.

   14       6/30/2023   Diaz, Matthew                  0.8 Review the revised claims analysis.

   14       6/30/2023   Diodato, Michael               0.4 Review claim reconciliation for a creditor to identify viability of the
                                                           aggregation.
   14       6/30/2023   Dawson, Maxwell                0.9 Analyze latest filed SOALs for customer claim information.

 14 Total                                            167.8

   16       6/1/2023    Gray, Michael                  2.9 Review waterfall analysis and related plan structures report.

   16       6/1/2023    Gray, Michael                  0.6 Prepare summary of crypto assets included in waterfall analysis.

   16       6/1/2023    Bromberg, Brian                0.7 Provide comments on latest waterfall presentation to prepare for upcoming
                                                           meeting with the UCC.
   16       6/1/2023    Bromberg, Brian                0.4 Draft questions for Debtors re: the waterfall analysis.

   16       6/1/2023    Bromberg, Brian                1.5 Analyze assumptions in waterfall analysis.

   16       6/1/2023    Diaz, Matthew                  1.5 Review the waterfall analysis to compare various recovery scenarios.

   16       6/1/2023    Sveen, Andrew                  0.5 Summarize issues related to Debtors' plan structure.

   16       6/1/2023    Simms, Steven                  1.3 Evaluate items related to plan waterfall scenarios.

   16       6/2/2023    Risler, Franck                 0.6 Analyze the plan discussion term sheet provided by S&C with a focus on
                                                           claims valuations.
   16       6/2/2023    Dawson, Maxwell                1.4 Continue to update waterfall slides for comments from PH.

   16       6/2/2023    Dawson, Maxwell                0.7 Update waterfall slides for additional requested sensitivities.

   16       6/2/2023    Dawson, Maxwell                2.8 Update waterfall slides for comments from PH.

   16       6/2/2023    Bromberg, Brian                0.3 Prepare summary of memo provided by the Debtors re: proposed plan
                                                           structure.
   16       6/2/2023    Bromberg, Brian                0.9 Continue to review updates on waterfall model.

   16       6/2/2023    Bromberg, Brian                0.9 Review plan structure memo provided by the Debtors.

   16       6/2/2023    Bromberg, Brian                1.4 Provide comment on draft recovery analysis and related model mechanics.

   16       6/2/2023    Bromberg, Brian                2.2 Review changes to waterfall model assumptions.

   16       6/2/2023    Bromberg, Brian                0.3 Discuss comments on waterfall with PH (I. Sasson).




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Task Code     Date           Professional       Hours                                     Activity
   16       6/2/2023   Bromberg, Brian              1.2 Respond to questions on latest recovery analysis.

   16       6/2/2023   Diaz, Matthew                 2.6 Review recovery analysis UCC report.

   16       6/2/2023   Bromberg, Brian               0.6 Review changes to UCC recovery report.

   16       6/2/2023   Bromberg, Brian               1.1 Review latest version of recovery model.

   16       6/2/2023   Bromberg, Brian               0.9 Review comments on waterfall from PH.

   16       6/2/2023   Simms, Steven                 1.1 Review latest waterfall analysis and recovery scenarios.

   16       6/3/2023   Dawson, Maxwell               1.9 Finalize waterfall presentation to share with UCC advisors.

   16       6/3/2023   Bromberg, Brian               2.7 Review revisions to recovery model.

   16       6/3/2023   Bromberg, Brian               0.3 Finalize waterfall presentation draft slides for upcoming meeting with UCC
                                                         advisors.
   16       6/4/2023   Dawson, Maxwell               1.5 Update illustrative waterfall slides to reflect latest projected recoveries and
                                                         assumptions.
   16       6/4/2023   Dawson, Maxwell               1.9 Update scenarios in illustrative waterfall analysis based on call with UCC
                                                         advisors.
   16       6/4/2023   Bromberg, Brian               1.0 Review latest version of plan structure and recovery scenarios report for
                                                         upcoming meeting with the UCC.
   16       6/4/2023   Bromberg, Brian               0.5 Correspond with PH to clarify recent inquiries on certain potential plan
                                                         structures.
   16       6/4/2023   Diaz, Matthew                 1.6 Review the updated UCC report on potential plan structures and related
                                                         recoveries.
   16       6/4/2023   Simms, Steven                 0.7 Review updated plan structures and waterfall analysis.

   16       6/4/2023   Dawson, Maxwell               1.4 Attend meeting with PH (K. Hansen, E. Gilad, I. Sasson, K. Pasquale) and
                                                         Jefferies (R. Hamilton), and others) to discuss illustrative waterfall analysis.
   16       6/4/2023   Bromberg, Brian               1.4 Attend a call with PH (K. Hansen, E. Gilad, I. Sasson, K. Pasquale) and
                                                         Jefferies (R. Hamilton), and others) to review latest plan structures and
                                                         potential recovery scenarios.
   16       6/4/2023   Diaz, Matthew                 1.4 Attend a meeting with PH (K. Hansen, E. Gilad, I. Sasson, K. Pasquale) and
                                                         Jefferies (R. Hamilton), and others) re: the latest waterfall presentation and
                                                         plan structures for the UCC.
   16       6/4/2023   Simms, Steven                 1.4 Participate in a call with PH (K. Hansen, E. Gilad, I. Sasson, K. Pasquale)
                                                         and Jefferies (R. Hamilton), and others) re: requested changes to the plan
                                                         structures and waterfall analysis.
   16       6/5/2023   Gray, Michael                 1.9 Analyze the impact of recent changes to coin monetization on the plan
                                                         structures.
   16       6/5/2023   Gray, Michael                 2.5 Review updates to the plan structure presentation.

   16       6/5/2023   Dawson, Maxwell               2.4 Update waterfall slide deck for changes requested by PH.

   16       6/5/2023   Diaz, Matthew                 1.6 Review latest updates to the sensitivities in recovery analysis.

   16       6/5/2023   Dawson, Maxwell               2.3 Prepare additional sensitivity analysis in waterfall model re: recovery
                                                         assumptions.




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Task Code     Date           Professional        Hours                                     Activity
   16       6/5/2023   Dawson, Maxwell               1.8 Update waterfall slide deck to account for latest sensitivity changes.

   16       6/5/2023   Dawson, Maxwell                1.3 Prepare summary of illustrative waterfall findings and buildup of recoveries.

   16       6/5/2023   Diaz, Matthew                  2.8 Provide detailed comments on the updated recovery analysis.

   16       6/5/2023   Dawson, Maxwell                0.9 Draft key considerations for illustrative waterfall presentation.

   16       6/5/2023   Gray, Michael                  1.1 Review assumptions utilized in alternative plan structure waterfall analysis
                                                          and related sensitivity analysis.
   16       6/5/2023   Bromberg, Brian                0.7 Review latest iteration of recovery analysis model.

   16       6/5/2023   Bromberg, Brian                2.1 Finalize report on illustrative recoveries under hypothetical plan structures.

   16       6/5/2023   Bromberg, Brian                0.6 Summarize inquiries received from UCC re: recovery scenarios and plan
                                                          structure.
   16       6/5/2023   Sveen, Andrew                  0.5 Summarize considerations for the plan to prepare for an upcoming meeting
                                                          with the UCC.
   16       6/5/2023   Simms, Steven                  0.8 Provide comments on the latest waterfall analysis presentation for the UCC.

   16       6/5/2023   Simms, Steven                  0.6 Evaluate items related to intercompany claims in connection with the
                                                          waterfall analysis.
   16       6/5/2023   Diaz, Matthew                  0.8 Prepare a diligence list on latest waterfall analysis to prepare for upcoming
                                                          call with the UCC.
   16       6/6/2023   Risler, Franck                 0.7 Assess preliminary plan structure and recovery analysis ahead of UCC
                                                          meeting.
   16       6/6/2023   Diaz, Matthew                  1.7 Provide comments on the recovery analysis presentation.

   16       6/6/2023   Gray, Michael                  0.8 Review plan structure presentation in advance of discussion with UCC.

   16       6/6/2023   Simms, Steven                  0.6 Provide comments on latest plan structure items re: intercompany balances.

   16       6/6/2023   Simms, Steven                  0.4 Assess venture investments impact on current plan structures.

   16       6/7/2023   Gray, Michael                  0.8 Review financial model for mechanical updates of new hypothetical
                                                          illustrative plan structure.
   16       6/7/2023   Dawson, Maxwell                1.7 Prepare additional scenarios in illustrative waterfall as requested by UCC.

   16       6/7/2023   Dawson, Maxwell                0.2 Correspond with PH regarding additional scenarios in waterfall analysis
                                                          after UCC call.
   16       6/7/2023   Dawson, Maxwell                1.3 Summarize key takeaways from illustrative waterfall analysis.

   16       6/7/2023   Dawson, Maxwell                0.8 Begin to supplement illustrative waterfall with additional functionality for
                                                          distribution.
   16       6/7/2023   Dawson, Maxwell                2.3 Continue to prepare additional scenarios in illustrative waterfall as requested
                                                          by UCC.
   16       6/7/2023   Simms, Steven                  0.3 Prepare summary for correspondence with PH on waterfall scenario
                                                          alternatives.
   16       6/7/2023   Diaz, Matthew                  0.9 Draft diligence list for upcoming call with the UCC and other professionals.




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Task Code     Date             Professional      Hours                                     Activity
   16       6/8/2023    Gray, Michael                1.8 Prepare updates to the waterfall analysis.

   16       6/8/2023    Gray, Michael                 0.2 Prepare responses to requests for supplemental plan structure updates.

   16       6/8/2023    Dawson, Maxwell               2.4 Update waterfall model for additional scenario requested by UCC.

   16       6/8/2023    Dawson, Maxwell               1.7 Continue to update waterfall model for additional scenario.

   16       6/8/2023    Dawson, Maxwell               1.2 Update summary report information on illustrative waterfall model.

   16       6/8/2023    Simms, Steven                 0.6 Review plan structure items for discussion with PH.

   16       6/9/2023    Sveen, Andrew                 1.2 Create summaries of comparable cryptocurrency bankruptcy plans filed re:
                                                          plan structure.
   16       6/9/2023    Diaz, Matthew                 0.6 Review considerations for liquidation analysis.

   16       6/9/2023    Dawson, Maxwell               1.4 Update scenario in waterfall model based on feedback from PH.

   16       6/9/2023    Dawson, Maxwell               2.3 Prepare summary report of findings from additional scenario in illustrative
                                                          waterfall.
   16       6/9/2023    Diaz, Matthew                 2.4 Review updated recovery analysis.

   16       6/9/2023    Bromberg, Brian               0.4 Review new plan scenarios and related recoveries.

   16       6/9/2023    Dawson, Maxwell               1.0 Strategize on issues related to eventual plan distributions.

   16       6/9/2023    Dawson, Maxwell               1.3 Continue to update waterfall model to prepare for distribution.

   16       6/9/2023    Bromberg, Brian               0.2 Prepare responses to requests from PH re: plan issues.

   16       6/9/2023    Simms, Steven                 0.6 Prepare correspondence to summarize the latest scenario analysis for
                                                          waterfall updates.
   16       6/12/2023   Dawson, Maxwell               0.6 Participate in a meeting with PH (K. Hansen, K. Pasquale, G. Sasson, I.
                                                          Sasson, E. Gilad) re: illustrative waterfall.
   16       6/12/2023   Dawson, Maxwell               0.9 Participate in a call with UCC and PH (K. Hansen, K. Pasquale, I. Sasson)
                                                          re: illustrative waterfall.
   16       6/12/2023   Diaz, Matthew                 0.9 Participate in a call with UCC and PH (K. Hansen, K. Pasquale, I. Sasson)
                                                          on recovery analysis updates.
   16       6/12/2023   Bromberg, Brian               0.5 Review latest updates to the waterfall recovery assumptions and analysis.

   16       6/12/2023   Dawson, Maxwell               2.8 Update illustrative waterfall for further requested scenarios.

   16       6/12/2023   Dawson, Maxwell               0.9 Prepare illustrative asset schedule for liquidation analysis.

   16       6/12/2023   Dawson, Maxwell               0.8 Prepare additional updates to illustrative waterfall model.

   16       6/12/2023   Dawson, Maxwell               0.9 Prepare additional summary materials to incorporate added scenarios in
                                                          waterfall.
   16       6/12/2023   Dawson, Maxwell               1.8 Research comparable plan constructs re: distribution methodology.




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   16       6/12/2023   Gray, Michael                1.5 Review updated summaries included in supplemental potential plan
                                                         structure recovery analyses in advance of discussion with PH.
   16       6/12/2023   Gray, Michael                0.6 Update draft summary of plan distribution considerations.

   16       6/12/2023   Gray, Michael                 0.4 Review summary of plan distribution considerations.

   16       6/12/2023   Gray, Michael                 0.5 Coordinate with K. Hansen (PH), I. Sasson (PH), G. Sasson (PH), and K.
                                                          Pasquale (PH) re: waterfall analysis.
   16       6/12/2023   Sveen, Andrew                 1.0 Continue to create summaries of comparable cryptocurrency bankruptcy
                                                          plans filed.
   16       6/12/2023   Dawson, Maxwell               1.1 Revise preliminary list of distribution considerations re: plan.

   16       6/12/2023   Gray, Michael                 0.8 Review waterfall analysis for updates to assumptions and output.

   16       6/12/2023   Gray, Michael                 0.5 Provide comments to summary of plan distribution considerations.

   16       6/12/2023   Diaz, Matthew                 1.8 Review possible analyses for the eventual disclosure statement.

   16       6/12/2023   Diaz, Matthew                 0.9 Review the updated scenarios on the recovery analysis.

   16       6/12/2023   Bromberg, Brian               2.4 Review additional recovery modeling.

   16       6/12/2023   Bromberg, Brian               0.6 Discuss waterfall with PH (K. Hansen, I. Sasson, K. Pasquale, Others).

   16       6/12/2023   Dawson, Maxwell               0.7 Review updates to task list to track updates to waterfall assumptions list for
                                                          plan.
   16       6/12/2023   Simms, Steven                 0.3 Draft correspondence on waterfall scenarios updates.

   16       6/12/2023   Simms, Steven                 0.8 Prepare draft of correspondence on plan recovery scenarios.

   16       6/12/2023   Simms, Steven                 0.7 Review intercompany items related to waterfall analysis.

   16       6/13/2023   Dawson, Maxwell               1.1 Prepare updates to waterfall deck in preparation for meeting with Debtors.

   16       6/13/2023   Dawson, Maxwell               0.8 Prepare additional updates to illustrative waterfall model.

   16       6/13/2023   Dawson, Maxwell               0.7 Update waterfall deck for Debtors based on recent feedback.

   16       6/13/2023   Gray, Michael                 0.9 Review the waterfall model re: updates to certain revised assumptions and
                                                          its impact on plan scenarios.
   16       6/13/2023   Gray, Michael                 0.4 Provide comments on the draft summary of plan distribution considerations.

   16       6/13/2023   Sveen, Andrew                 1.3 Revise study on comparable crypto exchange plans of reorganization to
                                                          FTX.
   16       6/13/2023   Sveen, Andrew                 1.4 Review potential plan structures overview.

   16       6/13/2023   Dawson, Maxwell               0.8 Assess various plan structures and distribution considerations for the
                                                          Debtors.
   16       6/13/2023   Dawson, Maxwell               1.3 Review research on comparable plan constructs and distribution
                                                          methodology.




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Task Code     Date             Professional      Hours                                  Activity
   16       6/13/2023   Gray, Michael                0.8 Provide comments to the comparable plan distribution summary.

   16       6/13/2023   Diaz, Matthew                 0.9 Provide comments on the recovery analysis updates.

   16       6/13/2023   Bromberg, Brian               1.1 Revise presentation on plan structures and the waterfall analysis.

   16       6/13/2023   Bromberg, Brian               1.3 Provide additional comments on the latest recovery analysis.

   16       6/13/2023   Simms, Steven                 1.2 Provide comments on the latest waterfall analysis to prepare for presentation
                                                          to the UCC.
   16       6/14/2023   Sveen, Andrew                 0.5 Prepare deck summarizing considerations for a potential liquidation.

   16       6/14/2023   Sveen, Andrew                 0.8 Review waterfall analysis for potential creditor recoveries.

   16       6/14/2023   Dawson, Maxwell               0.3 Review updates to comparable plan constructs re: distributions.

   16       6/14/2023   Dawson, Maxwell               1.1 Prepare summary materials re: additional waterfall scenarios.

   16       6/14/2023   Dawson, Maxwell               0.5 Summarize most recent analysis related to plan distribution mechanics.

   16       6/14/2023   Gray, Michael                 0.7 Provide comments to draft liquidation considerations summary.

   16       6/14/2023   Sveen, Andrew                 0.3 Supplement deck summarizing considerations for a liquidation scenario.

   16       6/14/2023   Dawson, Maxwell               1.8 Update waterfall model to prepare for discussion with Debtors.

   16       6/14/2023   Bromberg, Brian               1.7 Review presentation on plan structures to prepare for upcoming meeting
                                                          with the Debtors.
   16       6/14/2023   Bromberg, Brian               1.0 Summarize critical points from latest waterfall and liquidation analysis.

   16       6/14/2023   Bromberg, Brian               0.4 Provide comments on the latest waterfall analysis.

   16       6/14/2023   Bromberg, Brian               0.5 Review liquidation analysis chart.

   16       6/14/2023   Bromberg, Brian               0.4 Review liquidation analysis.

   16       6/14/2023   Bromberg, Brian               0.4 Review case distribution summary.

   16       6/14/2023   Simms, Steven                 0.6 Provide comments on the latest plan structure analysis.

   16       6/14/2023   Gray, Michael                 2.5 Assess recovery model based on feedback from UCC and PH.

   16       6/15/2023   Dawson, Maxwell               1.3 Prepare additional analysis in waterfall model re: priority classification.

   16       6/15/2023   Dawson, Maxwell               0.8 Prepare deck to share with Debtors to summarize waterfall.

   16       6/15/2023   Dawson, Maxwell               1.3 Prepare update to UCC on supplemental waterfall scenarios.

   16       6/15/2023   Dawson, Maxwell               1.9 Update waterfall presentation summaries for supplemental comments.




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Task Code     Date             Professional      Hours                                   Activity
   16       6/15/2023   Gray, Michael                0.7 Revise draft summary of key considerations to plan distributions.

   16       6/15/2023   Sveen, Andrew                 0.5 Review waterfall analysis prepared based on alternative assumptions.

   16       6/15/2023   Sveen, Andrew                 1.4 Revise deck summarizing considerations for a liquidation scenario.

   16       6/15/2023   Gray, Michael                 0.5 Review revisions to draft report re: plan structures.

   16       6/15/2023   Gray, Michael                 1.2 Provide comments on draft key considerations to liquidation analysis.

   16       6/15/2023   Diaz, Matthew                 1.5 Review updates to waterfall recovery analysis.

   16       6/15/2023   Gray, Michael                 0.8 Review updates to draft waterfall report intended for external distribution.

   16       6/15/2023   Bromberg, Brian               0.7 Review latest presentation on recovery analyses following revisions.

   16       6/15/2023   Bromberg, Brian               0.5 Refine summary chart re: liquidation analysis.

   16       6/15/2023   Bromberg, Brian               0.6 Outline deck on liquidation analysis for distribution.

   16       6/15/2023   Bromberg, Brian               0.5 Review prior distribution research prepared on other comparable case
                                                          distribution methods.
   16       6/15/2023   Bromberg, Brian               0.4 Provide comments for revisions on waterfall recovery analysis.

   16       6/15/2023   Sveen, Andrew                 0.6 Summarize ongoing issues related to plan proposal discussions.

   16       6/15/2023   Simms, Steven                 0.9 Revise report on waterfall recovery items for PH.

   16       6/16/2023   Dawson, Maxwell               2.3 Modify waterfall model functionality to adapt to incoming additional
                                                          assumptions.
   16       6/16/2023   Dawson, Maxwell               0.4 Update waterfall deck for UCC for additional comments.

   16       6/16/2023   Dawson, Maxwell               0.8 Analyze considerations related to a liquidation analysis.

   16       6/16/2023   Dawson, Maxwell               0.7 Update waterfall deck for Debtors for additional comments.

   16       6/16/2023   Dawson, Maxwell               0.9 Monitor status of outstanding items related to plan and waterfall
                                                          considerations.
   16       6/16/2023   Gray, Michael                 0.9 Review waterfall analysis and related reporting.

   16       6/16/2023   Sveen, Andrew                 1.4 Investigate waterfall calculations and presentation.

   16       6/16/2023   Diaz, Matthew                 1.1 Review the recovery presentation to the UCC.

   16       6/16/2023   Diaz, Matthew                 1.9 Perform detailed review of updated recovery scenarios.

   16       6/16/2023   Bromberg, Brian               0.6 Review the waterfall presentation for creditor recoveries.

   16       6/18/2023   Simms, Steven                 0.7 Evaluate latest report on potential recovery scenarios.




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Task Code     Date             Professional      Hours                                        Activity
   16       6/19/2023   Gray, Michael                1.0 Attend a call with PH (K. Hansen, I. Sasson, G. Sasson E. Gilad, M.
                                                         O'Hara, Others) re: updated waterfall analysis and plan structures.
   16       6/19/2023   Diaz, Matthew                1.0 Attend a meeting with PH (K. Hansen, I. Sasson, G. Sasson E. Gilad) and
                                                         Jefferies (M. O'Hara, Others) on plan structures to prepare for an upcoming
                                                         call with the UCC.
   16       6/19/2023   Bromberg, Brian              1.0 Participate in a call with PH (K. Hansen, I. Sasson, G. Sasson E. Gilad) and
                                                         Jefferies (M. O'Hara, Others) re: the agenda for the upcoming UCC call.
   16       6/19/2023   Dawson, Maxwell              1.2 Participate in a call with PH (K. Hansen, G. Sasson, I. Sasson) and A&M
                                                         (S. Coverick, E. Mosley) re: waterfall analysis.
   16       6/19/2023   Gray, Michael                1.2 Participate in a meeting with PH (K. Hansen, G. Sasson, I. Sasson) and
                                                         A&M (S. Coverick, E. Mosley) re: waterfall analysis and plan structures.
   16       6/19/2023   Bromberg, Brian              1.2 Participate in a call with PH (K. Hansen, G. Sasson, I. Sasson) and A&M
                                                         (S. Coverick, E. Mosley) re: assumptions used in the waterfall analysis.
   16       6/19/2023   Diaz, Matthew                0.6 Attend call with PH (K. Hansen, I. Sasson, E. Gilad, Others) to discuss
                                                         updates on creditor recoveries.
   16       6/19/2023   Bromberg, Brian              0.6 Participate in a call with PH (K. Hansen, I. Sasson, E. Gilad, Others) re:
                                                         new waterfall scenarios.
   16       6/19/2023   Simms, Steven                0.6 Participate in a call with PH (K. Hansen, I. Sasson, E. Gilad, Others) on
                                                         waterfall analysis, asset sale items, and plan discussions.
   16       6/19/2023   Sveen, Andrew                1.9 Summarize feedback from A&M on the current version of the waterfall for
                                                         claims.
   16       6/19/2023   Sveen, Andrew                0.7 Summarize plan issues based on input from PH.

   16       6/19/2023   Gray, Michael                 0.5 Review current assumptions used in the waterfall analysis for potential
                                                          changes after discussion with A&M.
   16       6/19/2023   Sveen, Andrew                 0.4 Continue to review materials related to the waterfall model on creditor
                                                          recoveries.
   16       6/19/2023   Gray, Michael                 1.4 Review waterfall analysis and related summaries for revisions to plan
                                                          structure assumptions.
   16       6/19/2023   Gray, Michael                 0.8 Review liquidation analysis to understand validity of certain waterfall
                                                          assumptions.
   16       6/19/2023   Gray, Michael                 1.3 Review draft report on recovery analyses under certain plan structures.

   16       6/19/2023   Diaz, Matthew                 2.3 Provide comments on the recovery analysis slides for the UCC.

   16       6/19/2023   Bromberg, Brian               0.5 Revise the waterfall presentation.

   16       6/19/2023   Bromberg, Brian               0.9 Provide comments on latest waterfall model.

   16       6/19/2023   Bromberg, Brian               1.2 Draft questions re: certain assumptions used in the waterfall model to
                                                          prepare for upcoming call with the Debtors.
   16       6/19/2023   Bromberg, Brian               0.5 Review illustrative recoveries under supplemental hypothetical plan
                                                          structure scenarios.
   16       6/19/2023   Dawson, Maxwell               1.8 Update waterfall presentation for additional requested items for UCC.

   16       6/19/2023   Dawson, Maxwell               2.7 Prepare additional scenario in waterfall analysis for presentation to UCC.

   16       6/19/2023   Dawson, Maxwell               2.3 Prepare analysis regarding waterfall and recovery presentation.

   16       6/19/2023   Dawson, Maxwell               0.4 Analyze liquidation costs associated with cryptocurrency assets for
                                                          waterfall.




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Task Code     Date            Professional        Hours                                    Activity
   16       6/19/2023   Bromberg, Brian               0.6 Summarize recovery assumptions for the new recovery scenarios that were
                                                          requested by the UCC.
   16       6/19/2023   Gray, Michael                 0.6 Summarize issues re: plan discussions in preparation for UCC meeting.

   16       6/19/2023   Risler, Franck                 0.4 Assess potential crypto liquidation discounts for waterfall analysis.

   16       6/19/2023   Simms, Steven                  1.5 Review the latest waterfall analysis and recovery scenarios.

   16       6/19/2023   Simms, Steven                  0.3 Assess various waterfall scenarios and related analysis.

   16       6/19/2023   Simms, Steven                  0.4 Analyze plan structure items.

   16       6/20/2023   Gray, Michael                  0.9 Review revised supplemental report in advance of distribution to PH.

   16       6/20/2023   Gray, Michael                  0.5 Update revised supplemental report in advance of distribution to UCC.

   16       6/20/2023   Gray, Michael                  1.6 Review latest waterfall model under certain plan structure and related
                                                           summary outputs.
   16       6/20/2023   Diaz, Matthew                  0.9 Review the best interest test analysis re: plan recoveries.

   16       6/20/2023   Bromberg, Brian                1.3 Review plan term sheet and model slides from Debtors.

   16       6/20/2023   Dawson, Maxwell                1.4 Develop strategy for reconciling Debtors' waterfall assumptions.

   16       6/20/2023   Dawson, Maxwell                1.9 Prepare illustrative waterfall for additional potential plan construct.

   16       6/20/2023   Bromberg, Brian                0.3 Review plan structure legal slides.

   16       6/20/2023   Bromberg, Brian                0.5 Review scenario slides for UCC.

   16       6/20/2023   Dawson, Maxwell                1.2 Continue to prepare illustrative waterfall for additional potential plan
                                                           construct.
   16       6/21/2023   Sveen, Andrew                  1.3 Assess considerations from UCC for plan strategies.

   16       6/21/2023   Dawson, Maxwell                2.3 Prepare initial reconciliation of assumptions in Debtors' waterfall to FTI's
                                                           waterfall.
   16       6/21/2023   Dawson, Maxwell                2.9 Update waterfall model functionality to accommodate Debtors' assumptions.

   16       6/21/2023   Sveen, Andrew                  0.7 Revise table on variance in recoverable assets and liabilities assumptions re:
                                                           recovery analysis.
   16       6/21/2023   Sveen, Andrew                  1.3 Prepare deck on Debtors' assumptions for recoveries waterfall.

   16       6/21/2023   Gray, Michael                  0.9 Review report provided by A&M re: waterfall analysis to understand
                                                           variances in assumptions and plan structures to UCC scenarios.
   16       6/21/2023   Bromberg, Brian                1.2 Review plan term sheet and additional waterfall model slides from Debtors.

   16       6/21/2023   Dawson, Maxwell                0.9 Conduct quality check on waterfall model to ensure proper functionality.

   16       6/21/2023   Dawson, Maxwell                1.5 Begin to analyze Debtors' recovery analysis presentation.




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Task Code     Date             Professional      Hours                                    Activity
   16       6/21/2023   Gray, Michael                1.1 Review draft plan term sheet provided by the Debtors.

   16       6/21/2023   Bromberg, Brian               1.7 Review differences in assumptions for recovery analysis.

   16       6/21/2023   Bromberg, Brian               2.2 Review Debtor waterfall analysis support.

   16       6/21/2023   Bromberg, Brian               0.9 Review latest scenario updates to waterfall recovery analysis.

   16       6/21/2023   Bromberg, Brian               0.5 Prepare for weekly call by creating diligence list of plan issues.

   16       6/21/2023   Dawson, Maxwell               2.0 Analyze issues related to administrative claim allocation in waterfall.

   16       6/21/2023   Dawson, Maxwell               2.5 Continue to update waterfall model functionality to accommodate Debtors'
                                                          assumptions.
   16       6/21/2023   Simms, Steven                 1.4 Review plan term sheet and related items.

   16       6/22/2023   Dawson, Maxwell               1.0 Analyze variances in claim assumptions in waterfall model.

   16       6/22/2023   Dawson, Maxwell               1.7 Analyze issues related to crypto assets in waterfall.

   16       6/22/2023   Dawson, Maxwell               2.3 Prepare reconciliation of individual assumptions by the Debtors in their
                                                          recovery analysis.
   16       6/22/2023   Dawson, Maxwell               1.3 Begin to prepare slide deck re: waterfall assumptions.

   16       6/22/2023   Dawson, Maxwell               0.3 Prepare outline of slide deck for PH on latest recovery analysis.

   16       6/22/2023   Sveen, Andrew                 1.3 Prepare deck on Debtors' assumptions for recoveries waterfall.

   16       6/22/2023   Sveen, Andrew                 0.8 Create bridge of Debtors' previous cash balance to current cash balance to
                                                          compare waterfall assumptions.
   16       6/22/2023   Sveen, Andrew                 1.4 Create bridge of Debtors' historical and current crypto assets re: updated
                                                          assumption for recovery analysis.
   16       6/22/2023   Bromberg, Brian               1.5 Review Debtors' waterfall analysis support.

   16       6/22/2023   Bromberg, Brian               2.5 Review bridging analysis for waterfall analysis.

   16       6/22/2023   Dawson, Maxwell               0.4 Reconcile variance in intercompany claim information in waterfall model.

   16       6/22/2023   Dawson, Maxwell               0.8 Provide comments on summary reconciliation of waterfall assumptions.

   16       6/22/2023   Dawson, Maxwell               1.3 Prepare slide related to customer claim variances in waterfall.

   16       6/22/2023   Dawson, Maxwell               1.2 Continue to update waterfall model to match Debtors' structure.

   16       6/22/2023   Dawson, Maxwell               2.3 Update waterfall model to match Debtors' structure.

   16       6/22/2023   Dawson, Maxwell               0.9 Prepare questions list for A&M re: waterfall analysis.

   16       6/22/2023   Simms, Steven                 0.3 Review summary document of the plan waterfall analysis.




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Task Code     Date               Professional      Hours                                      Activity
   16       6/22/2023   Risler, Franck                 0.6 Estimate updated liquidation discount for the valuation of assets in the
                                                           context of the waterfall analysis.
   16       6/23/2023   Dawson, Maxwell                1.9 Prepare additional scenario summary slides in revised waterfall presentation
                                                           for PH.
   16       6/23/2023   Dawson, Maxwell                2.6 Prepare analysis re: cash allocation in waterfall.

   16       6/23/2023   Dawson, Maxwell                 1.7 Perform detailed review on revised waterfall presentation.

   16       6/23/2023   Diaz, Matthew                   1.1 Provide comments on the updated recovery analysis.

   16       6/23/2023   Bromberg, Brian                 0.3 Review claims analysis for recovery analysis.

   16       6/23/2023   Bromberg, Brian                 0.5 Review cash distribution modeling.

   16       6/23/2023   Dawson, Maxwell                 1.3 Prepare analysis re: cash flow forecast assumptions in waterfall.

   16       6/23/2023   Dawson, Maxwell                 1.3 Finalize waterfall presentation.

   16       6/23/2023   Bromberg, Brian                 2.3 Provide final comments on waterfall and recoveries presentation.

   16       6/23/2023   Bromberg, Brian                 0.8 Draft a summary of the key takeaways re: the recovery bridge and analysis.

   16       6/23/2023   Bromberg, Brian                 0.8 Review the crypto bridge analysis to address outstanding variances.

   16       6/23/2023   Bromberg, Brian                 2.2 Review the cash bridge analysis to address outstanding variances.

   16       6/23/2023   Bromberg, Brian                 0.9 Review the Debtors' supporting assumptions for potential recovery
                                                            scenarios.
   16       6/23/2023   Dawson, Maxwell                 1.2 Revise slides to reconcile waterfall assumptions.

   16       6/23/2023   Dawson, Maxwell                 0.5 Review analysis re: cryptocurrency asset bridge in waterfall.

   16       6/23/2023   Bromberg, Brian                 2.5 Review recent changes to the waterfall analysis for recovery analysis.

   16       6/23/2023   Simms, Steven                   1.3 Evaluate the recent bridge analysis to compare various asset value
                                                            assumptions.
   16       6/26/2023   Dawson, Maxwell                 1.1 Attend call with PH (E. Gilad) and FTI (B. Bromberg) re: changes to certain
                                                            assumptions in the waterfall model.
   16       6/26/2023   Bromberg, Brian                 1.1 Participate in a call with PH (E. Gilad) and FTI (M. Dawson) re: latest
                                                            recovery analysis.
   16       6/26/2023   Dawson, Maxwell                 0.8 Attend a meeting with PH (G.Sasson, M. O'Hara, K. Hansen, K. Pasquale,
                                                            E. Gilad, I. Sasson, L. Koch) and FTI (B. Bromberg) re: new scenarios added
                                                            to the waterfall model.
   16       6/26/2023   Bromberg, Brian                 0.8 Participate in a call with PH (G.Sasson, M. O'Hara, K. Hansen, K. Pasquale,
                                                            E. Gilad, I. Sasson, L. Koch) re: the latest plan structure slide deck to prepare
                                                            for upcoming meeting with the UCC.
   16       6/26/2023   Bromberg, Brian                 0.4 Participate in a call with PH (E. Gilad, I. Sasson) re: the waterfall analysis.

   16       6/26/2023   Bromberg, Brian                 0.5 Participate in a call with PH (E. Gilad) re: updated assumptions used in the
                                                            waterfall.
   16       6/26/2023   Bromberg, Brian                 0.5 Discuss waterfall analysis with PH (E. Gilad, K. Hansen, I. Sasson).




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Task Code     Date            Professional       Hours                                    Activity
   16       6/26/2023   Dawson, Maxwell              2.7 Prepare analysis regarding Debtors' cash forecast assumptions in waterfall.

   16       6/26/2023   Dawson, Maxwell               1.8 Prepare financial summary of plan term sheet for inclusion in UCC deck.

   16       6/26/2023   Dawson, Maxwell               2.4 Analyze administrative and wind-down costs in waterfall.

   16       6/26/2023   Dawson, Maxwell               2.9 Continue to analyze Debtors' waterfall model, assumptions, and structure.

   16       6/26/2023   Dawson, Maxwell               0.9 Prepare presentation to UCC on plan structure.

   16       6/26/2023   Bromberg, Brian               1.4 Review the bridging analysis for the waterfall model.

   16       6/26/2023   Bromberg, Brian               2.8 Provide comments on the updated recovery analysis presentation.

   16       6/26/2023   Bromberg, Brian               2.9 Compare various cash allocation methodologies and their impacts on
                                                          assumptions used in the waterfall.
   16       6/26/2023   Bromberg, Brian               2.7 Review waterfall model changes.

   16       6/26/2023   Bromberg, Brian               2.2 Reconcile differences in assumptions for recovery analysis.

   16       6/26/2023   Simms, Steven                 1.3 Provide comments on the revised waterfall plan recovery analysis.

   16       6/27/2023   Dawson, Maxwell               1.0 Participate in a call with A&M (E. Mosley, C. Sullivan, S. Coverick) re:
                                                          waterfall assumptions.
   16       6/27/2023   Bromberg, Brian               1.0 Attend a meeting with A&M (E. Mosley, C. Sullivan, S. Coverick) on plan
                                                          and waterfall issues.
   16       6/27/2023   Diaz, Matthew                 1.0 Participate in a call with A&M (E. Mosley, C. Sullivan, S. Coverick) on
                                                          recovery analysis.
   16       6/27/2023   Sveen, Andrew                 0.9 Summarize changes to assumptions for waterfall claims analysis.

   16       6/27/2023   Sveen, Andrew                 1.0 Summarize analysis for potential plan structures.

   16       6/27/2023   Dawson, Maxwell               2.4 Begin to prepare slides on waterfall reporting for UCC.

   16       6/27/2023   Dawson, Maxwell               0.6 Update waterfall presentation for final comments from PH prior to
                                                          distribution to UCC.
   16       6/27/2023   Dawson, Maxwell               1.9 Construct additional requested scenarios in waterfall model to match
                                                          requested analysis.
   16       6/27/2023   Dawson, Maxwell               2.3 Update waterfall model assumptions based on takeaways from discussion
                                                          with A&M.
   16       6/27/2023   Dawson, Maxwell               1.8 Perform quality check on revised waterfall slides for UCC.

   16       6/27/2023   Dawson, Maxwell               0.4 Sensitize recoveries under a certain scenario based on plan structure
                                                          settlement outcomes.
   16       6/27/2023   Dawson, Maxwell               1.2 Continue to prepare slides on waterfall reporting for UCC.

   16       6/27/2023   Dawson, Maxwell               1.3 Prepare overview of cash holdings and bridge to distributable value in
                                                          waterfall analysis.
   16       6/27/2023   Dawson, Maxwell               0.7 Finalize waterfall slides for UCC regarding revised analysis.




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   16       6/27/2023   Dawson, Maxwell              1.4 Analyze updated treatment of admin claims in revised waterfall analysis.

   16       6/27/2023   Bromberg, Brian               1.3 Respond to comments from PH on waterfall recovery analysis.

   16       6/27/2023   Bromberg, Brian               0.9 Refine cash analysis for recoveries.

   16       6/27/2023   Bromberg, Brian               1.5 Review waterfall recovery analysis in preparation for waterfall call with
                                                          Debtors.
   16       6/27/2023   Bromberg, Brian               0.9 Review draft UCC plan term sheet.

   16       6/27/2023   Bromberg, Brian               2.5 Comment on recovery analysis slides.

   16       6/27/2023   Bromberg, Brian               2.3 Compare waterfall recovery analysis prepared by Debtors to prior waterfall
                                                          analysis.
   16       6/27/2023   Bromberg, Brian               0.9 Review comments for new scenarios in recovery analysis.

   16       6/27/2023   Bromberg, Brian               1.1 Analyze assumptions in waterfall analysis.

   16       6/27/2023   Bromberg, Brian               1.5 Review model changes for recovery analysis.

   16       6/27/2023   Bromberg, Brian               1.2 Revise latest presentation on waterfall.

   16       6/27/2023   Diaz, Matthew                 2.1 Review recovery analysis presentation to the UCC.

   16       6/27/2023   Diaz, Matthew                 1.6 Review UCC plan term sheet.

   16       6/27/2023   Diaz, Matthew                 1.5 Review Debtors' recovery analysis.

   16       6/27/2023   Simms, Steven                 0.7 Review plan presentation materials for UCC.

   16       6/27/2023   Simms, Steven                 0.6 Review materials related to the supporting analysis for plan.

   16       6/27/2023   Diaz, Matthew                 0.8 Provide comments on plan to prepare for UCC meeting.

   16       6/28/2023   Sveen, Andrew                 1.9 Summarize plan issues based on UCC call.

   16       6/28/2023   Dawson, Maxwell               2.0 Update waterfall slide deck for comments.

   16       6/28/2023   Dawson, Maxwell               2.3 Make further updates to waterfall model for Debtors' assumptions.

   16       6/28/2023   Dawson, Maxwell               2.7 Prepare slides for Debtors on waterfall analysis.

   16       6/28/2023   Dawson, Maxwell               0.8 Assess needs for presentation to Debtors on waterfall analysis.

   16       6/28/2023   Dawson, Maxwell               1.4 Perform quality check on waterfall slides for Debtors.

   16       6/28/2023   Dawson, Maxwell               2.1 Update waterfall presentation to prepare for sharing with Debtors.

   16       6/28/2023   Dawson, Maxwell               0.9 Finalize draft of illustrative waterfall slides for Debtors.




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   16       6/28/2023   Bromberg, Brian              1.4 Comment on assumptions bridge analysis re: waterfall.

   16       6/28/2023   Bromberg, Brian               0.5 Prepare for UCC call by reviewing plan term sheet.

   16       6/28/2023   Bromberg, Brian               0.9 Comment on presentation for Debtors on recoveries.

   16       6/28/2023   Bromberg, Brian               2.2 Review bridging analysis for current and prior waterfall analyses.

   16       6/28/2023   Bromberg, Brian               1.4 Review changes required to assumptions for waterfall analysis.

   16       6/28/2023   Bromberg, Brian               0.7 Review final draft of presentation for PH.

   16       6/28/2023   Diaz, Matthew                 0.9 Review presentation to the Debtors on the recovery analysis.

   16       6/29/2023   Gray, Michael                 0.9 Review report provided to UCC re: revised recovery analysis.

   16       6/29/2023   Gray, Michael                 1.2 Review draft report that bridges assumptions utilized in UCC report to
                                                          Debtors' waterfall analysis.
   16       6/29/2023   Gray, Michael                 1.3 Review UCC plan term sheet to understand proposed structure and
                                                          variances to Debtors' plan term sheet.
   16       6/29/2023   Dawson, Maxwell               1.6 Update waterfall deck for final comments from PH prior to sharing with
                                                          A&M.
   16       6/29/2023   Bromberg, Brian               0.6 Review comments from PH on waterfall recovery analysis.

   16       6/29/2023   Bromberg, Brian               1.2 Finalize presentation for Debtors on recoveries.

   16       6/29/2023   Bromberg, Brian               0.7 Review plan materials.

   16       6/29/2023   Bromberg, Brian               1.9 Review changes to presentation on waterfall recovery analyses.

   16       6/29/2023   Diaz, Matthew                 1.2 Review the UCC plan term sheet.

   16       6/29/2023   Diaz, Matthew                 1.3 Review the recovery analysis to be shared with the Debtors.

   16       6/29/2023   Diaz, Matthew                 0.9 Review the Debtors' plan term sheet.

   16       6/29/2023   Sveen, Andrew                 0.5 Summarize plan related issues for UCC.

   16       6/30/2023   Bromberg, Brian               1.1 Attend a meeting with Debtors (J. Ray, A. Dietderich, E. Mosely, Others)
                                                          on plan structure.
   16       6/30/2023   Diaz, Matthew                 1.1 Participate in a meeting with the Debtors, A&M, and S&C (J. Ray, A.
                                                          Dietderich, E. Mosely, Others) on plan alternatives.
   16       6/30/2023   Gray, Michael                 1.8 Conduct further review of UCC term sheet and related plan structure
                                                          waterfall recovery analysis.
   16       6/30/2023   Bromberg, Brian               0.6 Review plan materials updated for most recent analysis.

   16       6/30/2023   Bromberg, Brian               0.8 Assess updates to the plan structure based on most recent call with the
                                                          Debtors.
   16       6/30/2023   Bromberg, Brian               0.5 Review plan term sheet draft.




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Task Code     Date             Professional        Hours                                    Activity
   16       6/30/2023   Diaz, Matthew                  0.9 Perform detailed review of the waterfall recovery analysis.

   16       6/30/2023   Simms, Steven                   0.7 Summarize alternative plan scenarios.

   16       6/30/2023   Simms, Steven                   0.4 Prepare correspondence on plan issues.

   16       6/30/2023   Simms, Steven                   1.1 Participate in a call with Debtors, A&M, and S&C (J. Ray, A. Dietderich,
                                                            E. Mosely, and others) re: plan issues.
 16 Total                                             409.2

   18       6/1/2023    Greenblatt, Matthew             0.5 Review latest investigative analysis re: Debtors' pre-petition transfers.

   18       6/1/2023    Baer, Laura                     0.4 Analyze documents re: FTX historical investments and pre-petition
                                                            transfers.
   18       6/1/2023    Stillman, Beulah                2.8 Continue to index bank statements for the investigation on Debtor entities'
                                                            financial activity.
   18       6/1/2023    Stillman, Beulah                1.6 Continue to index bank statements as part of research on Debtors' financial
                                                            activities.
   18       6/1/2023    Stillman, Beulah                2.6 Categorize bank statements provided by Debtors to prepare for analysis.

   18       6/1/2023    Baer, Laura                     0.5 Provide comments on latest investigations on Debtors' historical
                                                            investments.
   18       6/1/2023    Baer, Laura                     1.1 Draft correspondence to Debtors to obtain additional records regarding
                                                            historical FTX payments.
   18       6/1/2023    Reid, Matthew                   2.3 Continue to index findings made during research conducted of Debtor
                                                            produced financial statements.
   18       6/1/2023    Shaik, Ismail                   2.9 Research into relationship between certain Debtors' pre-petition directors
                                                            and their monetary contributions to various entities.
   18       6/1/2023    Reid, Matthew                   2.8 Prepare schedule for bank statement analysis to prepare for upcoming
                                                            meeting with PH.
   18       6/1/2023    Reid, Matthew                   2.9 Index findings from research of Debtor produced financial statement
                                                            records.
   18       6/1/2023    Fiorillo, Julianna              2.8 Prepare intercompany general ledger to help identify transactions at a certain
                                                            Debtor entity.
   18       6/1/2023    Shaik, Ismail                   2.6 Continue to research various Debtors' pre-petition directors to identify
                                                            potential avoidance actions.
   18       6/1/2023    Shaik, Ismail                   2.5 Update previously collected information regarding a pre-petition director's
                                                            donations to accurately include all donations made to specific entities.
   18       6/1/2023    Fiorillo, Julianna              1.1 Prepare intercompany general ledger for a certain third-party.

   18       6/1/2023    Fiorillo, Julianna              2.6 Revise intercompany general ledger for certain Debtor entity to address
                                                            latest comments re: historical transfers.
   18       6/1/2023    Anastasiou, Anastis             1.4 Identify litigation related to research into certain pre-petition director's
                                                            monetary contributions.
   18       6/1/2023    Anastasiou, Anastis             0.9 Review documentation and communications between the Debtors and a
                                                            certain third-party to identify transfer activity.
   18       6/1/2023    Anastasiou, Anastis             0.8 Perform open source research to identify relevant information re:
                                                            investigation of certain pre-petition directors.
   18       6/1/2023    Anastasiou, Anastis             0.7 Prepare template and research framework for documenting findings of
                                                            research re: investigation of certain pre-petition directors.




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Task Code     Date             Professional        Hours                                     Activity
   18       6/1/2023   Anastasiou, Anastis             0.4 Review internal communications between FTX executives and third parties
                                                           of investments made by FTX.
   18       6/1/2023   Anastasiou, Anastis             1.3 Provide comments on research findings re: a certain pre-petition director's
                                                           asset transfers.
   18       6/1/2023   Rothschild, Elijah              1.8 Review Debtors' historical token investments re: potential avoidance actions.

   18       6/1/2023   Bromberg, Brian                  0.2 Provide comments on latest investigations into Debtors' pre-petition
                                                            transfers and investments.
   18       6/1/2023   Bromberg, Brian                  0.6 Review stratification of preference data.

   18       6/1/2023   Bromberg, Brian                  0.3 Request Debtor records re: pre-petition investments for investigation.

   18       6/1/2023   Bromberg, Brian                  0.2 Follow-up on requests for Debtors re: pre-petition investments.

   18       6/1/2023   Famiglietti, Tyler               1.0 Review updates to investment analysis tracker.

   18       6/1/2023   Anastasiou, Anastis              0.8 Continue to review investigations into certain pre-petition director's
                                                            donations and investments into associated entities.
   18       6/1/2023   Garofalo, Michael                0.9 Finalize reconciliation analysis on customer activity information for
                                                            investigation.
   18       6/1/2023   Steven, Kira                     0.4 Summarize investigative findings based on most recent research on Debtors'
                                                            pre-petition investments.
   18       6/1/2023   Busen, Michael                   0.3 Revise plan for data analysis for investigations on potential avoidance
                                                            actions.
   18       6/1/2023   Busen, Michael                   0.2 Assess the latest developments of data analysis for customer activity
                                                            reconciliation analysis for preferences.
   18       6/1/2023   Risler, Franck                   0.9 Assess recent litigation and recovery actions between FTX and a certain
                                                            creditor.
   18       6/1/2023   de Brignac, Jessica              0.6 Review FTX crypto transactions to identify certain transfers for potential
                                                            avoidance actions.
   18       6/1/2023   Kamran, Kainat                   2.9 Analyze FTX wallet address clusters to flag potential exposure.

   18       6/1/2023   Kamran, Kainat                   0.5 Continue to investigate FTX wallet address clusters to flag certain accounts.

   18       6/1/2023   Vazquez Ortiz, Fredrix           0.5 Assess FTX's asset tracing tasks to identify potential customers with direct
                                                            exposure to potential transfer risks.
   18       6/2/2023   Fiorillo, Julianna               2.8 Prepare intercompany general ledger for certain entities.

   18       6/2/2023   Stillman, Beulah                 2.7 Index all bank statements related to the investigation of financial activity of
                                                            Debtor entities.
   18       6/2/2023   Baer, Laura                      2.9 Summarize findings from a recent analysis on a certain Debtor entity re: a
                                                            hidden liability review.
   18       6/2/2023   Baer, Laura                      2.1 Continue to review a certain Debtor entity's documents in regards to
                                                            historical liability account on FTX exchange.
   18       6/2/2023   Fiorillo, Julianna               1.3 Revise intercompany consolidated general ledgers.

   18       6/2/2023   Stillman, Beulah                 1.9 Categorize all relative bank statements to be used in analysis of Debtor
                                                            entities' financial activities.
   18       6/2/2023   Stillman, Beulah                 2.9 Continue to index all bank statements for investigation into potential
                                                            avoidance actions.




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Task Code     Date            Professional         Hours                                     Activity
   18       6/2/2023   Reid, Matthew                   2.4 Investigate relevant documentation and correspondence between pre-petition
                                                           FTX executives.
   18       6/2/2023   Reid, Matthew                   2.9 Create schedule of findings related to research of Debtor communications.

   18       6/2/2023   Reid, Matthew                    2.7 Continue to create schedule of findings related to research of
                                                            correspondence produced by Debtor entities.
   18       6/2/2023   Fiorillo, Julianna               2.3 Continue to prepare intercompany general ledger for certain Debtor entities.

   18       6/2/2023   Shaik, Ismail                    2.6 Research documents mentioning certain pre-petition director's
                                                            communication re: the use of customer funds.
   18       6/2/2023   Shaik, Ismail                    2.8 Continue to research documents mentioning certain pre-petition director's
                                                            communication re: political donations.
   18       6/2/2023   Shaik, Ismail                    2.6 Investigate documents re: the Debtors' potential misuse use of customer
                                                            funds.
   18       6/2/2023   Anastasiou, Anastis              1.0 Prepare template and research framework for documenting the Debtors' use
                                                            of customer funds.
   18       6/2/2023   Anastasiou, Anastis              0.3 Create diligence list re: the investigation into certain pre-petition director's
                                                            communication.
   18       6/2/2023   Anastasiou, Anastis              0.8 Provide comments on latest investigations into Debtors' historic fund
                                                            transfers.
   18       6/2/2023   Rothschild, Elijah               2.3 Review pre-petition token investments with a focus on potential avoidance
                                                            actions.
   18       6/2/2023   Famiglietti, Tyler               1.0 Review crypto transfers in pre-petition token investment analysis.

   18       6/2/2023   Jordan, Mason                    2.2 Update certain Debtor entities' reconciliations with the customer schedule.

   18       6/2/2023   Jordan, Mason                    1.2 Review customer schedules and Debtor entities' reports to reconcile
                                                            customer activities re: preferences.
   18       6/2/2023   Jordan, Mason                    0.7 Provide comments on latest investigation into Debtors' pre-petition
                                                            investments and fund transfers.
   18       6/2/2023   Anastasiou, Anastis              1.5 Provide comments on latest investigation into certain pre-petition director's
                                                            communication re: political donations.
   18       6/2/2023   Anastasiou, Anastis              0.7 Perform open source research to identify relevant information re: the
                                                            investigation into certain pre-petition directors.
   18       6/2/2023   Anastasiou, Anastis              2.6 Review internal communications between FTX pre-petition executives.

   18       6/2/2023   Steven, Kira                     2.3 Continue to aggregate UCC requests re: recent investigations into the
                                                            Debtors' pre-petition asset transfers.
   18       6/2/2023   Steven, Kira                     1.6 Review data productions re: latest investigations into the Debtor entities.

   18       6/2/2023   Steven, Kira                     1.4 Summarize data files from data room as part of investigation into potential
                                                            avoidance actions.
   18       6/2/2023   de Brignac, Jessica              0.5 Analyze documents re: the Debtors' fund transfers of importance for
                                                            avoidance actions investigations.
   18       6/2/2023   Kamran, Kainat                   0.5 Analyze the Debtors' transaction validation process.

   18       6/2/2023   Kamran, Kainat                   2.0 Compile data from FTX wallet addresses clustered by a third-party data
                                                            provider for flagging.
   18       6/2/2023   Vazquez Ortiz, Fredrix           2.8 Aggregate transactional data related to FTX's potential risk exposure.




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Task Code     Date             Professional       Hours                                     Activity
   18       6/4/2023   Anastasiou, Anastis            0.5 Continue to research pre–petition directors re: potential political donations.

   18       6/4/2023   Anastasiou, Anastis             1.2 Summarize research into pre-petition director's political donations.

   18       6/4/2023   Anastasiou, Anastis             0.2 Create a diligence list for upcoming investigations into FTX pre-petition
                                                           directors.
   18       6/4/2023   Anastasiou, Anastis             0.9 Analyze various open source research platforms to identify critical
                                                           information on pre-petition director's political donations.
   18       6/4/2023   Anastasiou, Anastis             0.6 Continue to prepare a template and research framework to document
                                                           research findings re: FTX pre-petition directors' monetary contributions.
   18       6/4/2023   Anastasiou, Anastis             0.5 Continue to review internal communications between certain FTX pre-
                                                           petition directors and relevant third parties re: investments.
   18       6/5/2023   Baer, Laura                     0.8 Draft email correspondence re: payroll records for FTX employees.

   18       6/5/2023   Baer, Laura                     1.8 Review historical liability balances for certain Debtor entity over time and
                                                           summarize for presentation to the UCC.
   18       6/5/2023   Fiorillo, Julianna              1.9 Prepare intercompany general ledger for FTX and relevant entities.

   18       6/5/2023   Kimche, Livia                   0.2 Continue to build out SQL database table inventory to better categorize data
                                                           provided by the Debtors.
   18       6/5/2023   Baer, Laura                     2.3 Continue to update analysis of a certain Debtor entity's account data on FTX
                                                           exchange including associated usernames.
   18       6/5/2023   Reid, Matthew                   0.2 Monitor status of investigation into the financial relationships present
                                                           between certain pre-petition FTX executives.
   18       6/5/2023   Reid, Matthew                   2.3 Continue to document findings made during research conducted on Debtors'
                                                           public and private communications.
   18       6/5/2023   Fiorillo, Julianna              2.1 Prepare intercompany general ledger for a certain Debtor entity for
                                                           intercompany analysis.
   18       6/5/2023   Stillman, Beulah                2.9 Continue to review pre-petition bank statements produced by Debtors in
                                                           UCC request.
   18       6/5/2023   Reid, Matthew                   2.7 Continue to search Debtors' document database for future analysis of
                                                           Debtors' private communications.
   18       6/5/2023   Reid, Matthew                   2.8 Summarize findings made during research conducted on Debtors' public and
                                                           private communications.
   18       6/5/2023   Stillman, Beulah                2.3 Investigate pre-petition bank statements produced by Debtors.

   18       6/5/2023   Stillman, Beulah                2.8 Continue to review pre-petition bank statements provided by Debtors.

   18       6/5/2023   Shaik, Ismail                   2.9 Research a certain Debtor entity's stakeholders to identify their relationship
                                                           with separate Debtor entities.
   18       6/5/2023   Fiorillo, Julianna              2.6 Prepare intercompany general ledger for intercompany analysis.

   18       6/5/2023   Famiglietti, Tyler              2.0 Implement revision to investment analysis based on updated data examined.

   18       6/5/2023   Rothschild, Elijah              2.9 Conduct quality check on presentation on investigation into Debtors'
                                                           investments.
   18       6/5/2023   Bromberg, Brian                 0.2 Assess latest updates on investigations into Debtors' payroll and bonuses.

   18       6/5/2023   Famiglietti, Tyler              2.4 Update investment analysis for new investment type criteria.




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Task Code     Date             Professional        Hours                                   Activity
   18       6/5/2023   Famiglietti, Tyler              1.9 Perform production search for documents related to investment analysis
                                                           updated criteria.
   18       6/5/2023   Rothschild, Elijah              2.9 Review crypto investment transfers.

   18       6/5/2023   Rothschild, Elijah               2.2 Review intercompany general ledger for investment entries.

   18       6/5/2023   Jordan, Mason                    0.7 Update coding script for one set of general ledgers with a different format
                                                            than the standard format.
   18       6/5/2023   Jordan, Mason                    2.1 Update coding script to create summary of provided general ledgers.

   18       6/5/2023   Jordan, Mason                    1.8 Update summary workbook with revised standardization to general ledgers.

   18       6/5/2023   Jordan, Mason                    2.6 Continue to update coding script to fully standardize and automate
                                                            intercompany general ledgers.
   18       6/5/2023   Anastasiou, Anastis              0.4 Update diligence list on investigations into certain pre-petition directors.

   18       6/5/2023   Steven, Kira                     1.0 Review customer preference analysis to address inquiries from PH.

   18       6/5/2023   Anastasiou, Anastis              0.8 Update template and research framework to document findings re: certain
                                                            pre-petition directors.
   18       6/5/2023   Anastasiou, Anastis              0.2 Review tax information related to investigation on FTX key executives.

   18       6/5/2023   Anastasiou, Anastis              2.3 Perform research in document production to identify a certain pre-petition
                                                            directors' involvement in FTX operations.
   18       6/5/2023   Anastasiou, Anastis              0.7 Perform open source research to identify relevant information re: a certain
                                                            pre-petition directors involvement in FTX operations.
   18       6/5/2023   Anastasiou, Anastis              0.2 Summarize key updates in the analysis into certain FTX pre-petition
                                                            directors.
   18       6/5/2023   Shaik, Ismail                    0.2 Review latest updates on the investigation into certain pre-petition directors.

   18       6/5/2023   Risler, Franck                   0.2 Summarize updates on trading, risk, and derivatives, along with market
                                                            manipulations and preference claims.
   18       6/5/2023   Kamran, Kainat                   2.9 Trace investments into certain Debtor entities to validate the date and
                                                            transaction amount.
   18       6/5/2023   Kamran, Kainat                   0.5 Analyze recent statements re: pre-petition crypto transactions.

   18       6/5/2023   Vazquez Ortiz, Fredrix           2.3 Evaluate transactional data from addresses linked to certain Debtor entity.

   18       6/5/2023   Vazquez Ortiz, Fredrix           1.9 Validate investment activities executed by certain Debtor entity based on
                                                            review of transactions.
   18       6/5/2023   Vazquez Ortiz, Fredrix           0.5 Continue to analyze investments into a certain Debtor entity to assess its
                                                            impact on intercompany balances.
   18       6/6/2023   Fiorillo, Julianna               2.8 Prepare an intercompany general ledger for certain Debtor entities for
                                                            intercompany analysis.
   18       6/6/2023   Kimche, Livia                    0.6 Prepare coding scripts for certain data extractions, specifically for the FTX
                                                            exchange.
   18       6/6/2023   Kimche, Livia                    2.8 Continue to develop coding scripts for certain data extractions.

   18       6/6/2023   Marsella, Jenna                  0.6 Assess updates on the investigations into the Debtors' pre-petition bank
                                                            statements.




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Task Code     Date            Professional        Hours                                      Activity
   18       6/6/2023   Reid, Matthew                  2.2 Revise search criteria to ensure productive data collection process for
                                                          investigation analysis.
   18       6/6/2023   Reid, Matthew                  2.4 Conduct searches of Debtors' document database for future analysis of
                                                          Debtors' private communications.
   18       6/6/2023   Reid, Matthew                  2.8 Continue to conduct searches of Debtors' document database for future
                                                          analysis of Debtors' private communications.
   18       6/6/2023   Fiorillo, Julianna             2.9 Continue to prepare intercompany general ledgers for certain Debtor entities.

   18       6/6/2023   Stillman, Beulah                2.3 Continue to review inventory of bank statements produced by Debtors in
                                                           data room.
   18       6/6/2023   Reid, Matthew                   0.6 Continue to monitor status of investigation into the financial relationships
                                                           present between FTX pre-petition executives.
   18       6/6/2023   Stillman, Beulah                0.6 Assess the general ledger of certain Debtor entities to help determine
                                                           intercompany balances.
   18       6/6/2023   Stillman, Beulah                2.5 Continue to develop inventory of bank statements produced by Debtors in
                                                           data room.
   18       6/6/2023   Stillman, Beulah                2.7 Analyze Debtors' pre-petition bank statements to determine intercompany
                                                           balances.
   18       6/6/2023   Shaik, Ismail                   2.7 Update research framework document for a certain pre-petition director
                                                           using internet-based and database results to generate areas of interest re: a
                                                           certain advocacy group.
   18       6/6/2023   Shaik, Ismail                   2.1 Update research framework document for a certain pre-petition director
                                                           using internet-based and relativity results to generate areas of interest re: their
                                                           role in managing a certain entity.
   18       6/6/2023   Shaik, Ismail                   2.0 Update research framework document for a certain pre-petition director
                                                           using internet-based and relativity results to generate areas of interest re:
                                                           relationship with another pre-petition director.
   18       6/6/2023   Shaik, Ismail                   0.6 Update the diligence list re: investigations into certain pre-petition directors.

   18       6/6/2023   Shaik, Ismail                   0.6 Summarize investigation considerations with a focus on the pre-petition
                                                           exchange executives and related parties.
   18       6/6/2023   Fiorillo, Julianna              0.6 Summarize updates on investigations into certain pre-petition FTX
                                                           executives.
   18       6/6/2023   Fiorillo, Julianna              0.4 Revise analysis of customer preference activity based on provided feedback.

   18       6/6/2023   Famiglietti, Tyler              0.5 Analyze latest updates to intercompany general ledgers.

   18       6/6/2023   Famiglietti, Tyler              1.2 Perform production search for documents related to investment analysis
                                                           updated criteria re: investigations.
   18       6/6/2023   Rothschild, Elijah              2.8 Analyze crypto investment transfers and their impact on the intercompany
                                                           analysis.
   18       6/6/2023   Famiglietti, Tyler              0.6 Assess documents to investigate Debtors' pre-petition crypto transfers.

   18       6/6/2023   Famiglietti, Tyler              1.7 Investigate Debtors' intercompany investment agreements.

   18       6/6/2023   Rothschild, Elijah              2.8 Provide summaries on Debtors' intercompany investment agreements.

   18       6/6/2023   Steven, Kira                    0.6 Provide comments on latest investigations into Debtors' intercompany
                                                           balances.
   18       6/6/2023   Jordan, Mason                   2.1 Write script for general ledgers of different format than the standard format.




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Task Code     Date             Professional        Hours                                     Activity
   18       6/6/2023   Jordan, Mason                   1.4 Run script to standardize general ledgers.

   18       6/6/2023   Jordan, Mason                    2.2 Review data extractions from intercompany general ledgers.

   18       6/6/2023   Jordan, Mason                    0.5 Prepare a diligence list for new investigations into Debtors' intercompany
                                                            balances.
   18       6/6/2023   Jordan, Mason                    2.3 Write coding script to update the FTX customer activity reconciliation for
                                                            preference analysis.
   18       6/6/2023   Anastasiou, Anastis              0.6 Summarize updates on investigations into certain pre-petition directors re:
                                                            investments analysis.
   18       6/6/2023   Anastasiou, Anastis              0.7 Continue to update research framework to document research findings into
                                                            certain FTX pre-petition directors.
   18       6/6/2023   Anastasiou, Anastis              0.6 Perform research in the Debtors' database to identify documents related to
                                                            FTX executives pre-petition investments.
   18       6/6/2023   Anastasiou, Anastis              0.4 Analyze reconciliation of records of certain transactions executed by
                                                            Debtors with public blockchain data.
   18       6/6/2023   Anastasiou, Anastis              0.8 Compile additional data from the Debtors re: certain FTX executive's pre-
                                                            petition investments.
   18       6/6/2023   Anastasiou, Anastis              0.7 Review latest findings from investigations on parties related to the Debtors'
                                                            pre-petition exchange.
   18       6/6/2023   Anastasiou, Anastis              0.6 Revise investigation analysis re: certain parties related to Debtors' pre-
                                                            petition director.
   18       6/6/2023   Anastasiou, Anastis              0.2 Review certain pre-petition director's tax information.

   18       6/6/2023   Anastasiou, Anastis              0.4 Assess the impact of recent research into Debtors' pre-petition directors on
                                                            FTX intercompany balances.
   18       6/6/2023   Anastasiou, Anastis              0.5 Continue to perform open source research to identify relevant information
                                                            re: investigation into key FTX executives.
   18       6/6/2023   Sveen, Andrew                    0.2 Summarize daily data room updates from the Debtors re: preference
                                                            analysis.
   18       6/6/2023   Busen, Michael                   0.4 Prepare data reconciliations for various FTX entity data sources in order to
                                                            create diligence list.
   18       6/6/2023   Kamran, Kainat                   0.5 Analyze new investment data for a certain Debtor entity to verify its
                                                            credibility.
   18       6/6/2023   Kamran, Kainat                   1.0 Trace pre-petition investments to certain Debtor entities to validate crypto
                                                            investments.
   18       6/6/2023   Kamran, Kainat                   2.9 Review the transaction history of a certain Debtor entity to identify the
                                                            correct investment transaction.
   18       6/6/2023   Vazquez Ortiz, Fredrix           2.2 Evaluate transactional data from several Debtor entity addresses to assess
                                                            transactions.
   18       6/6/2023   Vazquez Ortiz, Fredrix           1.3 Prepare summary of considerations re: transactional data from assessment of
                                                            Debtor entity data.
   18       6/7/2023   Baer, Laura                      2.3 Continue to review bank account activity of a third-party platform as it
                                                            relates to a certain Debtor entity's access to customer funds on the FTX
                                                            exchange.
   18       6/7/2023   Gray, Michael                    0.6 Review preference presentation provided by A&M to understand size of
                                                            potential clawbacks.
   18       6/7/2023   Gray, Michael                    0.3 Review schedules to understand largest secured claim holders at a certain
                                                            silo to assess potential avoidance actions.
   18       6/7/2023   Fiorillo, Julianna               2.2 Prepare intercompany general ledger for FTX Japan to use in the
                                                            intercompany analysis.




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Task Code     Date               Professional      Hours                                     Activity
   18       6/7/2023   Fiorillo, Julianna              1.9 Revise the intercompany general ledger for currency and date ranges within
                                                           the analysis.
   18       6/7/2023   Kimche, Livia                   1.1 Continue to build a database table to better categorize investigation related
                                                           data.
   18       6/7/2023   Baer, Laura                     2.4 Continue to review documents related to a certain silo's user records,
                                                           including for usernames of external parties for the UCC.
   18       6/7/2023   Reid, Matthew                   2.8 Review inventory of bank statements produced by Debtors in dataroom.

   18       6/7/2023   Reid, Matthew                    2.5 Supplement analysis of Debtors' bank statements as part of investigation
                                                            process.
   18       6/7/2023   Stillman, Beulah                 2.9 Continue to analyze of Debtors' historical bank statements as part of
                                                            forensic investigation.
   18       6/7/2023   Stillman, Beulah                 2.5 Analyze Debtors' historical bank statements as part of forensic investigation.

   18       6/7/2023   Dawson, Maxwell                  0.2 Assess potential preference claims against certain lenders.

   18       6/7/2023   Reid, Matthew                    2.7 Continue to review inventory of bank statements produced by Debtors in
                                                            dataroom.
   18       6/7/2023   Stillman, Beulah                 2.6 Assess certain transactions flagged in the Debtors' historic bank statements.

   18       6/7/2023   Shaik, Ismail                    2.8 Research various investigation related documents to identify items related to
                                                            a pre-petition director's political donations.
   18       6/7/2023   Shaik, Ismail                    2.5 Research a certain pre-petition director's ability to authorize and approve
                                                            expenses made at a certain silo.
   18       6/7/2023   Fiorillo, Julianna               2.1 Prepare intercompany general ledger for a certain Debtor entity to include in
                                                            the consolidated intercompany general ledger analysis.
   18       6/7/2023   Shaik, Ismail                    2.7 Investigate a pre-petition FTX executive's role in hiring pre-petition.

   18       6/7/2023   Famiglietti, Tyler               0.4 Update the presentation re: the Debtors' investment analysis.

   18       6/7/2023   Rothschild, Elijah               2.7 Assess documents re: pre-petition crypto investment transfers to determine
                                                            potential impacts on intercompany balances.
   18       6/7/2023   Rothschild, Elijah               2.7 Continue to trace the Debtors' pre-petition crypto transfers back to
                                                            individual entities.
   18       6/7/2023   Famiglietti, Tyler               2.6 Implement revisions to investment analysis with data from production
                                                            searches.
   18       6/7/2023   Steven, Kira                     2.0 Continue to review preference analysis for a certain Debtor entity.

   18       6/7/2023   Jordan, Mason                    2.3 Analyze customer activity data distributions for certain Debtor entity.

   18       6/7/2023   Jordan, Mason                    1.7 Summarize analysis on customer activity data distributions for preference
                                                            analysis.
   18       6/7/2023   Jordan, Mason                    2.1 Create presentation deck on customer financial activity for certain Debtor
                                                            entity for preference analysis.
   18       6/7/2023   Jordan, Mason                    1.3 Revise deck on customer activity at certain Debtor entity as part of
                                                            preference analysis.
   18       6/7/2023   Jordan, Mason                    0.5 Reconcile latest data from a certain Debtor silo re: investigations on
                                                            preferences.
   18       6/7/2023   Jordan, Mason                    1.3 Update data from a certain Debtor silo re: customer deposits and
                                                            withdrawals.




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Task Code     Date             Professional        Hours                                        Activity
   18       6/7/2023   Anastasiou, Anastis             0.2 Review communications on solicitations and donations to a certain third-
                                                           party to assist with investigation into certain pre-petition FTX executives.

   18       6/7/2023   Anastasiou, Anastis              0.2 Perform open source research to identify relevant information re: Debtors'
                                                            pre-petition transactions.
   18       6/7/2023   Anastasiou, Anastis              0.8 Review documentation of FTX customer deposits and transfers related to a
                                                            certain third-party's bank accounts.
   18       6/7/2023   Garofalo, Michael                1.6 Conduct quality check on updated customer activity reconciliations for
                                                            preference data.
   18       6/7/2023   Steven, Kira                     0.4 Update tracker for investigation progress based on latest research.

   18       6/7/2023   Anastasiou, Anastis              0.3 Assess updates on investigations into certain pre-petition FTX executives.

   18       6/7/2023   Anastasiou, Anastis              0.5 Continue to review documents related to potential political donations by pre-
                                                            petition FTX executives.
   18       6/7/2023   Anastasiou, Anastis              2.8 Conduct quality check on updated preference analysis.

   18       6/7/2023   Steven, Kira                     1.8 Research the Debtors' pre-petition executives for potential avoidance
                                                            actions.
   18       6/7/2023   Anastasiou, Anastis              0.5 Review documentation of various exchange accounts at a certain FTX silo
                                                            re: preference analysis.
   18       6/7/2023   Anastasiou, Anastis              0.4 Continue to compile data sources re: the investigations into various pre-
                                                            petition FTX executives.
   18       6/7/2023   Kamran, Kainat                   0.5 Assess the updates on tracking and validating certain investment
                                                            transactions of a certain Debtor entity.
   18       6/7/2023   Kamran, Kainat                   0.5 Prepare updated documents and summaries re: a certain silo's investments.

   18       6/7/2023   Kamran, Kainat                   0.5 Continue to prepare summaries re: a certain silo's pre-petition investments.

   18       6/7/2023   Vazquez Ortiz, Fredrix           2.0 Investigate the transactional data from multiple addresses linked to a certain
                                                            silo to validate and corroborate various investment activities.
   18       6/8/2023   Marsella, Jenna                  1.1 Review bank statement and intercompany transaction investigation findings.

   18       6/8/2023   Shaik, Ismail                    2.7 Research Debtors' database for analysis on Debtors' donations to identify
                                                            information re: employee allegations.
   18       6/8/2023   Marsella, Jenna                  2.7 Review inventory of bank statements produced by Debtors in data room.

   18       6/8/2023   Marsella, Jenna                  1.9 Continue to analyze bank statements in Debtors' data room as part of
                                                            investigation process.
   18       6/8/2023   Reid, Matthew                    2.8 Review pre-petition bank statements produced by Debtors.

   18       6/8/2023   Reid, Matthew                    2.9 Continue to review pre-petition bank statements produced by Debtors.

   18       6/8/2023   Reid, Matthew                    2.3 Organize documentation summarizing findings during research conducted
                                                            on Debtors' public and private communications.
   18       6/8/2023   Fiorillo, Julianna               2.9 Revise general ledger compilation analysis.

   18       6/8/2023   Stillman, Beulah                 1.7 Review supplemental pre-petition bank statements produced by Debtors.

   18       6/8/2023   Stillman, Beulah                 2.7 Review inventory of Debtors' bank statements for updated analysis.




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Task Code     Date             Professional        Hours                                       Activity
   18       6/8/2023   Stillman, Beulah                1.1 Prepare inventory of bank statements produced by Debtors for investigation
                                                           on potential avoidance actions.
   18       6/8/2023   Reid, Matthew                   0.6 Continue research for analysis of FTX executives' financial and personal
                                                           relationships.
   18       6/8/2023   Stillman, Beulah                1.9 Conduct additional analysis on pre-petition bank statements produced by
                                                           Debtors.
   18       6/8/2023   Fiorillo, Julianna              1.1 Review prepared analysis for UCC re: investigation into Debtors'
                                                           executives.
   18       6/8/2023   Shaik, Ismail                   2.9 Research within Debtors' database for information on allegations for certain
                                                           executive.
   18       6/8/2023   Shaik, Ismail                   2.4 Identify items of interest for analysis of Debtors' executive allegations.

   18       6/8/2023   Famiglietti, Tyler               0.7 Finalize presentation of findings on investigations research.

   18       6/8/2023   Famiglietti, Tyler               1.1 Assess considerations for review of documents for investigation into
                                                            potential causes of action.
   18       6/8/2023   Famiglietti, Tyler               2.2 Search production for intercompany agreements and transactions.

   18       6/8/2023   Jordan, Mason                    2.7 Write stored procedure to extract activity, balance, and customer
                                                            information for Debtors' customers.
   18       6/8/2023   Jordan, Mason                    1.2 Evaluate customer data related to preferences based on balance and activity
                                                            extraction.
   18       6/8/2023   Anastasiou, Anastis              1.1 Summarize key issues based on review of investigations on potential
                                                            avoidance actions.
   18       6/8/2023   Anastasiou, Anastis              0.6 Review research findings re: certain executive's activities for investigation.

   18       6/8/2023   Anastasiou, Anastis              0.2 Perform research in document production to identify relevant information re:
                                                            key FTX executives and other related parties.
   18       6/8/2023   Anastasiou, Anastis              0.8 Prepare summary of materials on investigation into Debtors' executives' pre-
                                                            petition activities.
   18       6/8/2023   Anastasiou, Anastis              0.2 Perform research to identify relevant information re: investigation of key
                                                            FTX executives and other related parties.
   18       6/8/2023   Anastasiou, Anastis              0.8 Review communications on solicitations and donations to certain third-party
                                                            re: investigation of Debtors.
   18       6/8/2023   Anastasiou, Anastis              0.7 Prepare key considerations on the investigation of FTX executives.

   18       6/8/2023   Jordan, Mason                    2.1 Test stored extraction procedure for activity and balance information for
                                                            customers.
   18       6/8/2023   Jordan, Mason                    1.5 Extract customer information on balances and historical activity using
                                                            updated procedures as part of preference analysis.
   18       6/8/2023   Diaz, Matthew                    0.6 Review latest preference analysis and compare to representations made by
                                                            the Debtors.
   18       6/8/2023   Kamran, Kainat                   2.7 Assemble files of wallets at a certain Debtor entity to locate investment
                                                            transactions.
   18       6/8/2023   Vazquez Ortiz, Fredrix           0.5 Review investments for certain Debtor entity and summarize findings.

   18       6/9/2023   Marsella, Jenna                  2.6 Prepare inventory of the bank statements produced by the Debtors.

   18       6/9/2023   Baer, Laura                      0.8 Review Debtors' documents to analyze account activity.




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Task Code     Date              Professional      Hours                                    Activity
   18       6/9/2023   Shaik, Ismail                  2.7 Analyze research framework document on executives of the Debtors' pre-
                                                          petition exchange.
   18       6/9/2023   Marsella, Jenna                2.3 Conduct keyword searches in Debtors' database to identify bank statements
                                                          produced by Debtors.
   18       6/9/2023   Stillman, Beulah               1.8 Prepare inventory of bank statements produced by Debtors.

   18       6/9/2023   Stillman, Beulah                2.9 Continue to review pre-petition bank statements produced by Debtors with a
                                                           focus on certain entities.
   18       6/9/2023   Stillman, Beulah                2.1 Search for alternative information re: pre-petition bank statements of Debtor
                                                           entities.
   18       6/9/2023   Stillman, Beulah                2.2 Analyze pre-petition bank statements in Debtors' database.

   18       6/9/2023   Shaik, Ismail                   1.2 Conduct investigation on executives of the pre-petition exchange.

   18       6/9/2023   Shaik, Ismail                   1.2 Create diligence list re: related parties to the Debtors with a focus on
                                                           research needs.
   18       6/9/2023   Shaik, Ismail                   2.9 Structure analysis for research on Debtors' executives by transferring
                                                           information from research framework document into categorized sheet.
   18       6/9/2023   Famiglietti, Tyler              1.6 Search production for intercompany agreements and transactions.

   18       6/9/2023   Famiglietti, Tyler              1.1 Document results from review of production for intercompany agreements
                                                           and transactions.
   18       6/9/2023   Rothschild, Elijah              1.2 Review internal communications by FTX employees on certain
                                                           communications network.
   18       6/9/2023   Rothschild, Elijah              1.8 Evaluate findings on FTX internal communications for investigation
                                                           purposes.
   18       6/9/2023   Jordan, Mason                   0.5 Analyze Debtor entity accounts for investigation on potential causes of
                                                           action.
   18       6/9/2023   Jordan, Mason                   2.2 Run stored procedure to extract customer information and customer activity
                                                           for certain customers for preference analysis.
   18       6/9/2023   Jordan, Mason                   1.7 Assess information on Debtors' customers based on data extraction from
                                                           stored procedure.
   18       6/9/2023   Jordan, Mason                   2.7 Finalize analysis for certain of the Debtor entity accounts.

   18       6/9/2023   Anastasiou, Anastis             0.6 Review research findings re: parties and executives related to the Debtors.

   18       6/9/2023   Garofalo, Michael               2.4 Review revised customer activity presentation workbook re: preference
                                                           analysis.
   18       6/9/2023   Anastasiou, Anastis             0.8 Review fund transfer documentation re: investigation of key FTX executives
                                                           and other related parties.
   18       6/9/2023   Anastasiou, Anastis             1.2 Prepare presentation on investigation into the Debtors' pre-petition directors
                                                           and related parties.
   18       6/9/2023   Anastasiou, Anastis             0.3 Summarize communications re: charitable donations from certain FTX
                                                           executives.
   18       6/9/2023   Anastasiou, Anastis             0.6 Plan investigation strategy for the parties related to the pre-petition
                                                           exchange.
   18       6/9/2023   Anastasiou, Anastis             1.2 Prepare investigations summary for latest research on the Debtors'
                                                           employees.
   18       6/9/2023   Busen, Michael                  0.3 Review preference data for top 15 customer searches.




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Task Code     Date              Professional       Hours                                      Activity
   18       6/11/2023   Anastasiou, Anastis            0.2 Continue to develop research structure for investigation on Debtors' pre-
                                                           petition directors.
   18       6/12/2023   Stillman, Beulah               2.8 Prepare supplemental analysis of Debtors' bank statements as part of
                                                           investigations on potential causes of action.
   18       6/12/2023   Marsella, Jenna                2.4 Continue to analyze bank statements provided by Debtors for investigation.

   18       6/12/2023   Marsella, Jenna                 2.9 Prepare additional analyses on Debtors' bank statements.

   18       6/12/2023   Marsella, Jenna                 2.7 Review total inventory of Debtors' produced bank statements.

   18       6/12/2023   Reid, Matthew                   0.6 Review findings from research conducted on loans taken by FTX executives
                                                            re: investigation of Debtors' directors.
   18       6/12/2023   Reid, Matthew                   2.9 Continue to document findings made during search of Debtors' produced
                                                            financial records and communications.
   18       6/12/2023   Reid, Matthew                   2.6 Document findings made during search of Debtor-produced financial
                                                            records and communications.
   18       6/12/2023   Reid, Matthew                   0.6 Analyze preliminary research findings for continued analysis of financial
                                                            information and communications from Debtors.
   18       6/12/2023   Fiorillo, Julianna              0.8 Compile general ledger data for all Debtor entities.

   18       6/12/2023   Stillman, Beulah                2.3 Continue to supplement analysis of Debtors' bank statements as part
                                                            of investigation process.
   18       6/12/2023   Stillman, Beulah                2.9 Supplement analysis of Debtors' bank statements as part of investigation
                                                            process.
   18       6/12/2023   Shaik, Ismail                   2.9 Structure items and associated documentation in research framework
                                                            document pertaining to certain individual related to Debtors.
   18       6/12/2023   Shaik, Ismail                   2.7 Structure items and associated documentation in research framework
                                                            document pertaining to other individual related to Debtors.
   18       6/12/2023   Risler, Franck                  0.2 Summarize recent issues with investigation process with a focus on potential
                                                            market manipulations and preference claims.
   18       6/12/2023   Reid, Matthew                   1.3 Continue to document findings on Debtor-produced financial records and
                                                            communications.
   18       6/12/2023   Shaik, Ismail                   1.9 Prepare structured analysis pertaining to alternative individual related to the
                                                            pre-petition exchange.
   18       6/12/2023   Shaik, Ismail                   0.5 Revise ongoing strategy for analysis of the investigation research for
                                                            Debtors' executives.
   18       6/12/2023   Fiorillo, Julianna              0.8 Continue compilation of general ledger for all FTX entities.

   18       6/12/2023   Famiglietti, Tyler              2.2 Review general ledger data and draft comments with process improvements.

   18       6/12/2023   Anastasiou, Anastis             0.7 Conduct quality check of research findings related to the Debtors' pre-
                                                            petition executives.
   18       6/12/2023   Anastasiou, Anastis             0.7 Review prior research on the parties related to the Debtor entities for
                                                            investigation.
   18       6/12/2023   Anastasiou, Anastis             0.9 Review communications from key FTX executives and other related parties.

   18       6/12/2023   Anastasiou, Anastis             0.6 Summarize the findings from most recently updated analysis of research
                                                            into documentation of communications by Debtors.
   18       6/12/2023   Rothschild, Elijah              1.1 Review documents related to certain Debtor entity financial activity.




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Task Code     Date             Professional        Hours                                Activity
   18       6/12/2023   Rothschild, Elijah             2.9 Review comments from PH on investigation progress.

   18       6/12/2023   Bromberg, Brian                1.2 Review preference data from research to inform investigation analysis.

   18       6/12/2023   Bromberg, Brian                1.5 Review preference data from Debtors.

   18       6/12/2023   Famiglietti, Tyler              1.6 Comment on improvements to structure of general ledger data analysis.

   18       6/12/2023   Anastasiou, Anastis             0.8 Analyze documentation of transfers related to certain directors of the pre-
                                                            petition exchange.
   18       6/12/2023   Anastasiou, Anastis             1.1 Prepare presentation of analyses re: research from investigation on FTX
                                                            executives.
   18       6/12/2023   Anastasiou, Anastis             0.6 Review findings of research on loans taken by certain FTX executives for
                                                            investigation on parties related to the Debtors' exchange.
   18       6/12/2023   Anastasiou, Anastis             0.8 Review FTX real estate documentation with a focus on avoidance actions re:
                                                            investigation of parties related to the Debtors.
   18       6/12/2023   Steven, Kira                    0.4 Review general ledger summary template.

   18       6/12/2023   Steven, Kira                    1.1 Review general ledger extract summary for consistency with data analysis.

   18       6/12/2023   Steven, Kira                    0.8 Review developments to the general ledger analysis.

   18       6/12/2023   Steven, Kira                    0.8 Update tracker based on UCC communications re: investigation materials.

   18       6/12/2023   Steven, Kira                    0.4 Update diligence list for key investigation milestones.

   18       6/12/2023   Steven, Kira                    2.0 Review tracker on requests from UCC for investigations research.

   18       6/12/2023   Jordan, Mason                   0.9 Analyze updated customer balance data for preference analysis.

   18       6/12/2023   Jordan, Mason                   0.3 Analyze counterparties' financial activity related to certain Debtor entity.

   18       6/12/2023   Jordan, Mason                   2.9 Run quality control checks to finalize analysis of certain Debtor entity for
                                                            investigation on possible avoidance actions.
   18       6/12/2023   Jordan, Mason                   1.9 Continue to develop manual standardization of general ledgers.

   18       6/12/2023   Jordan, Mason                  2.1 Standardize general ledgers to prepare for additional analysis on potential
                                                           avoidance actions.
   18       6/12/2023   Garofalo, Michael              1.6 Develop customer activity data for certain account analysis workbooks
                                                           based on specific Debtor exchange.
   18       6/12/2023   Garofalo, Michael              1.8 Revise analysis on customer activity at certain Debtor entity for preference
                                                           analysis.
   18       6/12/2023   Anastasiou, Anastis            0.2 Review Debtors' executive communications on charitable donations for
                                                           potential recovery actions.
   18       6/13/2023   Gray, Michael                  0.6 Review updated preference analysis to understand gross and net
                                                           withdrawals in preference period for certain counterparties.
   18       6/13/2023   Stillman, Beulah               2.6 Supplement analysis of Debtors' bank statements as part of forensic
                                                           investigation process.
   18       6/13/2023   Stillman, Beulah               0.6 Provide a summary of latest investigations into Debtors' pre-petition bank
                                                           statements.




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Task Code     Date              Professional       Hours                                       Activity
   18       6/13/2023   Stillman, Beulah               2.7 Continue to supplement analysis of Debtors' bank statements as part
                                                           of forensic investigation process.
   18       6/13/2023   Marsella, Jenna                2.6 Conduct keyword searches in the Debtors' database to identify bank
                                                           statements produced by the Debtors.
   18       6/13/2023   Marsella, Jenna                0.6 Summarize latest updates in the investigations into the Debtors' pre-petition
                                                           bank statements.
   18       6/13/2023   Marsella, Jenna                0.9 Conduct further keyword searches in a database to identify bank statements
                                                           product by the Debtors.
   18       6/13/2023   Reid, Matthew                  2.8 Revise search criteria to better identify certain bank statements produced by
                                                           the Debtors.
   18       6/13/2023   Stillman, Beulah               2.4 Continue to supplement analysis of Debtors' bank statements to include
                                                           updated search criteria.
   18       6/13/2023   Shaik, Ismail                  0.5 Analyze potential exhibits re: the investigation into pre-petition FTX
                                                           executives.
   18       6/13/2023   Shaik, Ismail                  1.5 Identify additional documents and analysis relevant to the investigation into
                                                           certain individuals related to the FTX situation.
   18       6/13/2023   Marsella, Jenna                2.8 Continue to conduct keyword searches to identify bank statements produced
                                                           by Debtor to address recent inquiries from the UCC.
   18       6/13/2023   Reid, Matthew                  2.9 Continue to revise search criteria to improve investigations into Debtors'
                                                           bank statements.
   18       6/13/2023   Reid, Matthew                  0.6 Summarize critical updates in the investigations into certain pre-petition
                                                           FTX executive's transactions and communications.
   18       6/13/2023   Reid, Matthew                  0.6 Analyze updated research on various loans taken by certain FTX executives.

   18       6/13/2023   Reid, Matthew                   1.1 Summarize research findings on documents produced by the Debtors re:
                                                            financial records for certain related parties.
   18       6/13/2023   Fiorillo, Julianna              0.6 Review updates on the intercompany general ledgers and investigations into
                                                            pre-petition FTX executives.
   18       6/13/2023   Shaik, Ismail                   2.9 Categorize various analysis re: pre-petition FTX executives.

   18       6/13/2023   Shaik, Ismail                   0.6 Review comments on investigation updates needed re: the Debtors' pre-
                                                            petition transactions.
   18       6/13/2023   Shaik, Ismail                   2.5 Update the research framework and database to reflect new required
                                                            information and documents.
   18       6/13/2023   Famiglietti, Tyler              1.0 Summarize latest updates on investigations into the Debtors' pre-petition
                                                            transactions.
   18       6/13/2023   Famiglietti, Tyler              0.8 Update tracker with comments on general ledger process improvements.

   18       6/13/2023   Famiglietti, Tyler              1.7 Draft final updates to the general ledger tracker.

   18       6/13/2023   Anastasiou, Anastis             0.9 Assess potential avoidance actions re: the Debtors pre-petition transactions.

   18       6/13/2023   Anastasiou, Anastis             0.8 Provide comments re: potential avoidance actions related to the latest
                                                            research into Debtors' produced financial statements.
   18       6/13/2023   Rothschild, Elijah              1.2 Continue to review documents re: individuals related to certain pre-petition
                                                            FTX executives.
   18       6/13/2023   Bromberg, Brian                 1.5 Review updated data that relates to the Debtors' preference analysis.

   18       6/13/2023   Bromberg, Brian                 0.5 Provide comments on the updated preference analysis from the Debtors.




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Task Code     Date              Professional      Hours                                      Activity
   18       6/13/2023   Famiglietti, Tyler            1.2 Continue to revise tracker with comments on general ledger process
                                                          improvements.
   18       6/13/2023   Anastasiou, Anastis           0.2 Continue to perform open source research into various FTX pre-petition
                                                          executives.
   18       6/13/2023   Steven, Kira                  1.9 Update diligence list for investigations into pre-petition FTX executives.

   18       6/13/2023   Steven, Kira                   2.3 Continue to update diligence list for investigations into pre-petition FTX
                                                           executives.
   18       6/13/2023   Rothschild, Elijah             2.8 Assess latest comments on the investigations into the Debtors' pre-petition
                                                           transactions.
   18       6/13/2023   Jordan, Mason                  1.2 Conduct quality check on data sources re: Debtors' transactions.

   18       6/13/2023   Jordan, Mason                  0.6 Provide comments on the investigations impact on potential avoidance
                                                           actions.
   18       6/13/2023   Garofalo, Michael              1.1 Outline proposed plan for continued analysis of Debtors' transfers based on
                                                           updated data received.
   18       6/13/2023   Steven, Kira                   0.5 Propose potential investigation updates and changes into certain transactions
                                                           made by various Debtor entities.
   18       6/13/2023   Anastasiou, Anastis            0.5 Review updates on investigations into related parties of FTX.

   18       6/13/2023   Anastasiou, Anastis            1.7 Review email communications made between certain pre-petition FTX
                                                           directors re: investment decisions.
   18       6/14/2023   Risler, Franck                 0.3 Assess the final settlement term sheet between FTX and a certain third-
                                                           party.
   18       6/14/2023   Gray, Michael                  0.4 Review revisions to preference analysis.

   18       6/14/2023   Stillman, Beulah               2.3 Continue to supplement analysis of Debtors' bank statements.

   18       6/14/2023   Marsella, Jenna                2.2 Revise search criteria to continue identifying bank statements produced by
                                                           the Debtors.
   18       6/14/2023   Marsella, Jenna                1.9 Categorize various bank statements produced by the Debtors.

   18       6/14/2023   Reid, Matthew                  2.1 Search in Debtors' document productions for financial records pursuant to
                                                           the investigation into certain pre-petition directors.
   18       6/14/2023   Stillman, Beulah               2.9 Supplement analysis of Debtors' bank statements as part of forensic
                                                           investigation.
   18       6/14/2023   Stillman, Beulah               2.8 Continue to supplement analysis of Debtors' bank statements as part
                                                           of forensic investigation.
   18       6/14/2023   Shaik, Ismail                  0.3 Conduct a quality check on recent investigations into certain FTX
                                                           executive's financial records.
   18       6/14/2023   Shaik, Ismail                  2.9 Investigate the flow of funds between certain Debtor entities.

   18       6/14/2023   Reid, Matthew                  2.7 Analyze Debtors' historical bank statements as part of forensic investigation.

   18       6/14/2023   Reid, Matthew                  2.8 Continue to analyze Debtors' historical bank statements as part of forensic
                                                           investigation.
   18       6/14/2023   Reid, Matthew                  0.4 Summarize updates from the research on certain FTX executives and their
                                                           personal investments.
   18       6/14/2023   Shaik, Ismail                  2.1 Update final investigative reports on certain pre-petition directors to address
                                                           recent comments.




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Task Code     Date               Professional      Hours                                     Activity
   18       6/14/2023   Shaik, Ismail                  2.7 Analyze the flow of funds between certain Debtor entities to assist with the
                                                           reconciliation process.
   18       6/14/2023   Famiglietti, Tyler             0.4 Revise general ledger data tracker with comments from review.

   18       6/14/2023   Anastasiou, Anastis             0.9 Review updated research on certain pre-petition FTX executives.

   18       6/14/2023   Anastasiou, Anastis             0.3 Continue to perform open-source research on pre-petition FTX executive's
                                                            personal investments.
   18       6/14/2023   Anastasiou, Anastis             1.4 Continue to create a summary document re: current investigative and
                                                            litigation statuses.
   18       6/14/2023   Anastasiou, Anastis             0.4 Continue to revise research scope on certain pre-petition FTX executives.

   18       6/14/2023   Anastasiou, Anastis             0.3 Revise the research diligence list on key FTX executives and related parties.

   18       6/14/2023   Rothschild, Elijah              2.9 Assess latest comments from PH re: investigations into certain FTX
                                                            executives.
   18       6/14/2023   Rothschild, Elijah              1.1 Analyze additional financial documents associated with related parties to pre-
                                                            petition FTX executives.
   18       6/14/2023   Bromberg, Brian                 0.4 Revise the latest customer preference calculations.

   18       6/14/2023   Bromberg, Brian                 0.8 Provide comments on the latest preference data analysis.

   18       6/14/2023   Anastasiou, Anastis             0.8 Continue to review email communication between FTX executives and
                                                            certain related parties.
   18       6/14/2023   Anastasiou, Anastis             0.6 Analyze certain charitable donations made by certain pre-petition FTX
                                                            directors.
   18       6/14/2023   Anastasiou, Anastis             0.4 Continue to assess the potential impact of certain political donations made
                                                            pre-petition by FTX.
   18       6/14/2023   Anastasiou, Anastis             0.4 Analyze the charitable donations made by the Debtor pre-petition.

   18       6/14/2023   Anastasiou, Anastis             0.9 Review investment transactions made between certain Debtor entities.

   18       6/14/2023   Steven, Kira                    1.2 Continue to update tracker on recorded investigation research based on
                                                            recent UCC communications.
   18       6/14/2023   Steven, Kira                    1.8 Perform research on Debtors' provided production in order to populate
                                                            research tracker.
   18       6/14/2023   Steven, Kira                    2.4 Continue to perform research on Debtors' provided production in order to
                                                            populate the research tracker.
   18       6/14/2023   Steven, Kira                    2.0 Update tracker based on additional documents uploaded to the dataroom.

   18       6/14/2023   Garofalo, Michael               1.6 Assess latest updates to the 90-day preference period analysis workbooks.

   18       6/14/2023   Diaz, Matthew                   1.1 Review the latest preference analysis.

   18       6/14/2023   Sveen, Andrew                   0.3 Prepare daily update on recent data room uploads re: preference analysis.

   18       6/15/2023   Bromberg, Brian                 0.7 Review questions from UCC on customer withdrawals re: preferences.

   18       6/15/2023   Stillman, Beulah                2.3 Prepare additional reviews of Debtors' bank statements.




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Task Code     Date              Professional       Hours                                   Activity
   18       6/15/2023   Marsella, Jenna                1.8 Conduct further keyword searches in database to identify bank statements
                                                           produced by Debtors.
   18       6/15/2023   Fiorillo, Julianna             0.4 Review updated general ledger procedures to ensure completeness of data
                                                           pulls.
   18       6/15/2023   Stillman, Beulah               1.7 Review inventory of bank statements produced by Debtors in the dataroom.

   18       6/15/2023   Shaik, Ismail                   2.7 Continue to research related individuals to the Debtors for final analysis
                                                            document with focus on consulting and advertising.
   18       6/15/2023   Shaik, Ismail                   2.6 Prepare research with a focus on communications from Debtor entity re:
                                                            transfers of funds from certain entity.
   18       6/15/2023   Shaik, Ismail                   2.4 Continue to research related parties to Debtors for final analysis
                                                            documentation with focus on funds to purchase properties.
   18       6/15/2023   Shaik, Ismail                   0.3 Assess prepared analysis of the Debtors' entities and related parties.

   18       6/15/2023   Busen, Michael                  0.4 Analyze research framework for investigations on potential avoidance
                                                            actions.
   18       6/15/2023   Anastasiou, Anastis             0.7 Review previous research findings re: investigation on Debtors' key
                                                            executives for pre-petition exchange.
   18       6/15/2023   Anastasiou, Anastis             0.7 Review communications from members of parties related to the Debtor
                                                            entities.
   18       6/15/2023   Anastasiou, Anastis             2.3 Perform research within the Debtors' database to identify relevant
                                                            documents for investigation into potential causes of action.
   18       6/15/2023   Anastasiou, Anastis             0.7 Review documentation of investments for certain Debtor entities.

   18       6/15/2023   Bromberg, Brian                 0.2 Review payroll investigation issues.

   18       6/15/2023   Bromberg, Brian                 1.2 Review preference issues.

   18       6/15/2023   Anastasiou, Anastis             0.4 Perform open source research to identify relevant information re:
                                                            investigation of key FTX executives and other related parties.
   18       6/15/2023   Anastasiou, Anastis             1.2 Prepare presentation on research pursuant to most recent investigation
                                                            objectives.
   18       6/15/2023   Steven, Kira                    2.9 Continue to update tracker on investigation research based on recent UCC
                                                            communications.
   18       6/15/2023   Rothschild, Elijah              2.5 Review documents provided by Debtors related to certain investments.

   18       6/15/2023   Jordan, Mason                   0.4 Assess potential avoidance actions related to Debtors' exchange.

   18       6/15/2023   Garofalo, Michael               1.6 Revise workbook for preference period customer activity to include new
                                                            calculations for subsequent value proxy calculation.
   18       6/15/2023   Garofalo, Michael               2.1 Evaluate preference period customer activity based on additional
                                                            calculations.
   18       6/15/2023   Steven, Kira                    0.4 Revise strategy for researching the Debtors with a focus on bonus payments.

   18       6/15/2023   Steven, Kira                    2.1 Continue to update tracker for research based on additional documents
                                                            uploaded to database.
   18       6/15/2023   Anastasiou, Anastis             0.3 Review documentation re: Debtors' directors' political donations.

   18       6/16/2023   Fiorillo, Julianna              0.4 Implement procedures for general ledger extraction for investigation on
                                                            potential causes of action.




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Task Code     Date              Professional       Hours                                    Activity
   18       6/16/2023   Stillman, Beulah               1.9 Review the inventory of bank statements produced by Debtors in dataroom.

   18       6/16/2023   Stillman, Beulah                2.3 Continue to review the inventory of bank statements produced by Debtors in
                                                            dataroom.
   18       6/16/2023   Kimche, Livia                   1.9 Evaluate general ledger inventories and future process structure for
                                                            extracting files.
   18       6/16/2023   Marsella, Jenna                 0.2 Investigate Debtors' investments to create summary document.

   18       6/16/2023   Stillman, Beulah                1.1 Review Debtors' bank statements provided for investigation analysis.

   18       6/16/2023   Stillman, Beulah                2.7 Continue to review Debtors' bank statements provided for investigation
                                                            analysis.
   18       6/16/2023   Marsella, Jenna                 2.9 Supplement bank statement analysis with additional information.

   18       6/16/2023   Shaik, Ismail                   2.4 Structure research on certain parties related to the Debtors by creating
                                                            framework to record analysis.
   18       6/16/2023   Shaik, Ismail                   2.4 Structure research on certain other parties related to the Debtors by creating
                                                            framework to record analysis.
   18       6/16/2023   Shaik, Ismail                   2.9 Research specific insiders associated with the Debtors' pre-petition
                                                            exchange.
   18       6/16/2023   Shaik, Ismail                   0.3 Prepare workbook documenting avoidance actions research re: certain
                                                            insiders.
   18       6/16/2023   Famiglietti, Tyler              1.9 Revise process for general ledger analysis.

   18       6/16/2023   Famiglietti, Tyler              0.6 Make improvements for general ledger data analysis.

   18       6/16/2023   Famiglietti, Tyler              1.3 Implement updates to investment analysis to begin next phase of deliverable.

   18       6/16/2023   Anastasiou, Anastis             1.4 Review bank statements of FTX-affiliated entities re: investigation of key
                                                            FTX executives and other related parties.
   18       6/16/2023   Anastasiou, Anastis             1.1 Review prior research findings on key FTX executives, individuals, and
                                                            other related parties.
   18       6/16/2023   Anastasiou, Anastis             1.3 Prepare work product re: investigation of parties related to the Debtors' pre-
                                                            petition exchange.
   18       6/16/2023   Anastasiou, Anastis             0.6 Perform research in document production to identify relevant documents for
                                                            investigation of parties related to the Debtors.
   18       6/16/2023   Rothschild, Elijah              0.4 Review corporate structure documentation re: the Debtors.

   18       6/16/2023   Anastasiou, Anastis             0.2 Review documentation of transfers for potential avoidance actions
                                                            investigations on individuals associated with the Debtors.
   18       6/16/2023   Steven, Kira                    2.7 Continue to update tracker based on UCC communications from third week
                                                            of June.
   18       6/16/2023   Steven, Kira                    1.5 Review investments analysis for trial services utilization.

   18       6/16/2023   Jordan, Mason                   0.8 Create plan for further analysis of general ledgers using standardization and
                                                            consolidation.
   18       6/16/2023   Garofalo, Michael               2.1 Aggregate general ledger documents for analysis.

   18       6/16/2023   Steven, Kira                    0.5 Assess the general ledger inventory summary.




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Task Code     Date              Professional      Hours                                      Activity
   18       6/16/2023   Anastasiou, Anastis           0.4 Review documentation on political donations re: investigation of key FTX
                                                          executives.
   18       6/16/2023   Steven, Kira                  0.5 Prepare considerations list for additions to investment analysis.

   18       6/16/2023   Anastasiou, Anastis            0.3 Analyze prior research findings re: Debtors' pre-petition exchange
                                                           executives.
   18       6/16/2023   Anastasiou, Anastis            0.5 Plan investigation methods for continued research on certain parties related
                                                           to the Debtors' exchange.
   18       6/19/2023   Baer, Laura                    1.5 Investigate the Debtors' pre-petition payroll and investments.

   18       6/19/2023   Stillman, Beulah               1.8 Conduct a quality check of the recent investment analysis.

   18       6/19/2023   Stillman, Beulah               2.6 Continue to conduct a quality check on the Debtors' investment analysis.

   18       6/19/2023   Stillman, Beulah               2.9 Draft a summary report based off the latest investment analysis.

   18       6/19/2023   Marsella, Jenna                1.4 Conduct review and analysis of documents included in recent investments
                                                           analysis.
   18       6/19/2023   Stillman, Beulah               1.4 Continue to perform quality of check the investment analysis.

   18       6/19/2023   Shaik, Ismail                  2.9 Review latest research into pre-petition FTX executives to reprioritize
                                                           certain items.
   18       6/19/2023   Shaik, Ismail                  0.5 Update diligence list to include upcoming investigations into pre-petition
                                                           FTX executives.
   18       6/19/2023   Reid, Matthew                  0.5 Conduct further research into those closely related to pre-petition FTX
                                                           executives.
   18       6/19/2023   Reid, Matthew                  2.7 Continue to conduct supplementary research for relevant Debtor
                                                           communications in response to requests made by the UCC.
   18       6/19/2023   Reid, Matthew                  1.9 Assess the relevance of updated documents in the data room to the
                                                           investigations into closely related parties to the FTX pre-petition executives.

   18       6/19/2023   Shaik, Ismail                  2.7 Continue to research the contributions certain entities made before the
                                                           petition date.
   18       6/19/2023   Shaik, Ismail                  1.9 Investigate allegations re: a certain silo's potential misuse of funds.

   18       6/19/2023   Reid, Matthew                  2.9 Continue to review various communications made between certain pre-
                                                           petition FTX executives and related parties.
   18       6/19/2023   Anastasiou, Anastis            0.5 Summarize critical updates in the investigations into pre-petition FTX
                                                           executives.
   18       6/19/2023   Anastasiou, Anastis            0.7 Review internal communications between certain pre-petition FTX
                                                           executives.
   18       6/19/2023   Anastasiou, Anastis            0.4 Continue to research Debtors' documents re: to certain political donations
                                                           made.
   18       6/19/2023   Anastasiou, Anastis            0.6 Research pre-petition investments made between FTX and certain affiliated
                                                           organizations.
   18       6/19/2023   Anastasiou, Anastis            1.4 Conduct a quality check on the recent research into pre-petition FTX
                                                           director's investments.
   18       6/19/2023   Anastasiou, Anastis            0.3 Analyze the political donations made by certain pre-petition FTX
                                                           executives.
   18       6/19/2023   Anastasiou, Anastis            0.2 Assess potential avoidance actions re: recent investigations into Debtors' pre-
                                                           petition investments.




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Task Code     Date              Professional      Hours                                     Activity
   18       6/19/2023   Anastasiou, Anastis           1.9 Summarize the latest investigation updates into the Debtors' pre-petition
                                                          investments.
   18       6/19/2023   Anastasiou, Anastis           0.3 Update the diligence list on upcoming investigations into the Debtors' estate.

   18       6/19/2023   Garofalo, Michael              2.3 Continue to reconcile the recent SOALs report compared to prior versions
                                                           for claims analysis.
   18       6/20/2023   Marsella, Jenna                1.6 Categorize certain investment documents produced by the Debtors.

   18       6/20/2023   Stillman, Beulah               2.8 Continue to categorize certain investment documents produced by the
                                                           Debtors.
   18       6/20/2023   Stillman, Beulah               2.4 Analyze the flow of funds between certain Debtor entities.

   18       6/20/2023   Stillman, Beulah               2.6 Conduct additional review and tagging of various investment related
                                                           documents for the UCC.
   18       6/20/2023   Shaik, Ismail                  0.5 Review important exhibits re: transactions made by the Debtors pre-petition.

   18       6/20/2023   Shaik, Ismail                  2.8 Research transactions and investments made by certain pre-petition FTX
                                                           executives.
   18       6/20/2023   Reid, Matthew                  2.7 Continue to create supplementary exhibits to illustrate key findings made
                                                           during research conducted in the data room re: relevant FTX
                                                           communications.
   18       6/20/2023   Reid, Matthew                  0.8 Summarize the latest findings re: FTX-related communications and financial
                                                           records.
   18       6/20/2023   Reid, Matthew                  2.2 Continue to identify relevant bank statements produced by the Debtors.

   18       6/20/2023   Reid, Matthew                  2.6 Continue to create supplementary exhibits to illustrate key investigative
                                                           findings re: relevant FTX communications.
   18       6/20/2023   Shaik, Ismail                  2.1 Investigate the source of funds for a significant investment made by a
                                                           certain pre-petition FTX executive.
   18       6/20/2023   Shaik, Ismail                  2.1 Research certain debt instruments used by FTX pre-petition.

   18       6/20/2023   Shaik, Ismail                  0.5 Update the investigations diligence list to reflect updated findings.

   18       6/20/2023   Reid, Matthew                  0.5 Continue to investigate connections between various pre-petition FTX
                                                           executives and related parties.
   18       6/20/2023   Anastasiou, Anastis            0.9 Provide comments on updated investigations into certain pre-petition FTX
                                                           executives.
   18       6/20/2023   Anastasiou, Anastis            0.9 Compare bank statements related to various pre-petition FTX executives to
                                                           identify potential discrepancies.
   18       6/20/2023   Anastasiou, Anastis            2.8 Prepare the summary presentation for the investigations into certain pre-
                                                           petition FTX executives.
   18       6/20/2023   Anastasiou, Anastis            0.2 Continue to review documentation on political donations made by certain
                                                           pre-petition FTX executives and related parties.
   18       6/20/2023   Anastasiou, Anastis            0.5 Assess various investment decisions and financial records of certain pre-
                                                           petition FTX directors.
   18       6/20/2023   Anastasiou, Anastis            1.2 Review payroll information and bonuses re: certain pre-petition FTX
                                                           executives.
   18       6/20/2023   Anastasiou, Anastis            0.8 Continue to analyze political donations made by certain FTX entities pre-
                                                           petition.
   18       6/20/2023   Anastasiou, Anastis            0.9 Review documentation re: bank transfers between certain pre-petition FTX
                                                           executives.




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Task Code     Date            Professional        Hours                                    Activity
   18       6/20/2023   Bromberg, Brian               0.3 Provide comments on latest issues re: customer preference analysis.

   18       6/20/2023   Anastasiou, Anastis            0.2 Assess the potential impact of certain pre-petition investments made by FTX
                                                           executives on the customer preference analysis.
   18       6/20/2023   Steven, Kira                   2.1 Transfer data from the investigations tracker into template for analysis.

   18       6/20/2023   Steven, Kira                   2.4 Update proposed analysis tracker based on the latest communications from
                                                           the UCC.
   18       6/20/2023   Steven, Kira                   2.0 Update the diligence list on new areas to investigate re: the Debtors' estate.

   18       6/20/2023   Steven, Kira                   2.2 Transfer UCC communications portion of investigations tracker into
                                                           template for analysis.
   18       6/21/2023   Marsella, Jenna                2.9 Review relevant investment documents produced by Debtor based on UCC
                                                           requests.
   18       6/21/2023   Marsella, Jenna                0.3 Develop research on the Debtors' intercompany activity and investments.

   18       6/21/2023   Baer, Laura                    0.8 Assess tracker to evaluate progress of document review for research.

   18       6/21/2023   Stillman, Beulah               0.3 Continue to review bank statements and documents related to Debtors'
                                                           exchange directors.
   18       6/21/2023   Stillman, Beulah               2.5 Conduct additional keyword searches in database to identify specific bank
                                                           statements produced by Debtors.
   18       6/21/2023   Stillman, Beulah               2.8 Conduct further review of the investment analysis in the UCC matter.

   18       6/21/2023   Stillman, Beulah               2.7 Continue to conduct additional keyword searches in database to identify
                                                           specific bank statements produced by Debtors.
   18       6/21/2023   Reid, Matthew                  2.6 Continue to research documents related to internal communications for
                                                           forensic analysis.
   18       6/21/2023   Shaik, Ismail                  0.3 Assess latest research on the internal activities by Debtors' for forensic
                                                           analysis.
   18       6/21/2023   Shaik, Ismail                  2.8 Conduct research on Debtors' directors with a focus on property purchases
                                                           made using FTX funds.
   18       6/21/2023   Shaik, Ismail                  2.6 Research specific insiders associated with the Debtors' pre-petition
                                                           exchange with a focus on internal communications.
   18       6/21/2023   Reid, Matthew                  0.3 Review analyses on the Debtors' pre-petition exchange activities for
                                                           investigation.
   18       6/21/2023   Reid, Matthew                  2.2 Create exhibits to illustrate findings from research conducted in Debtors'
                                                           dataroom for relevant FTX communications.
   18       6/21/2023   Reid, Matthew                  2.9 Research communications records produced by Debtors to identify
                                                           information relevant to analysis of parties related to the Debtors.
   18       6/21/2023   Anastasiou, Anastis            0.6 Summarize preliminary findings on key executives and parties related to the
                                                           Debtors.
   18       6/21/2023   Anastasiou, Anastis            0.3 Plan subsequent tasks in order to evaluate the Debtors' related parties for
                                                           investigation.
   18       6/21/2023   Anastasiou, Anastis            0.3 Create outline for a report on forensic investigation outcomes including
                                                           bank statement analysis.
   18       6/21/2023   Anastasiou, Anastis            0.9 Compare prior research findings to updated research analysis of Debtors'
                                                           key executives.
   18       6/21/2023   Bromberg, Brian                0.5 Provide comments on preference analysis.




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Task Code     Date              Professional      Hours                                     Activity
   18       6/21/2023   Steven, Kira                  2.0 Continue to update proposed forensic analysis tracker based on UCC
                                                          communications from 4th week of June.
   18       6/21/2023   Steven, Kira                  0.3 Revise strategy for the continued research and associated analysis on
                                                          Debtors' internal communications for potential avoidance actions.
   18       6/21/2023   Steven, Kira                  2.0 Construct dashboard spreadsheet to track findings on the ongoing forensic
                                                          accounting investigations.
   18       6/21/2023   Jordan, Mason                 1.7 Update analysis on potential preference defenses.

   18       6/21/2023   Jordan, Mason                  1.5 Test results of potential preference defense analysis for evaluation based on
                                                           updated data.
   18       6/21/2023   Jordan, Mason                  2.2 Write code for preference defense analysis in programming database.

   18       6/21/2023   Jordan, Mason                  1.8 Implement new code for statistical analysis of data.

   18       6/21/2023   Garofalo, Michael              1.3 Review materials on 90-day preference period customer activity data for
                                                           Debtors' entities.
   18       6/21/2023   Garofalo, Michael              1.9 Prepare summary slide of preference period customer activity for PH.

   18       6/21/2023   Steven, Kira                   0.2 Revise tracker structure for recording key research findings.

   18       6/21/2023   Steven, Kira                   2.0 Integrate information on Debtors' communications into tracker to convey
                                                           findings.
   18       6/22/2023   Marsella, Jenna                2.8 Conduct key word searches in Debtors' database to identify bank statements
                                                           provided that require additional review.
   18       6/22/2023   Marsella, Jenna                1.7 Continue to conduct key word searches in Debtors' database to identify bank
                                                           statements provided that require additional review.
   18       6/22/2023   Baer, Laura                    0.6 Assess current developments to the investigation process.

   18       6/22/2023   Stillman, Beulah               2.9 Conduct searches and tag documents as part of document review process.

   18       6/22/2023   Stillman, Beulah               2.6 Conduct searches for various other key words in order to investigate
                                                           Debtors' bank statements.
   18       6/22/2023   Stillman, Beulah               2.5 Categorize documents provided by Debtors for further analysis.

   18       6/22/2023   Baer, Laura                    1.8 Provide feedback on latest analysis of Debtors' investments for
                                                           investigation.
   18       6/22/2023   Reid, Matthew                  2.8 Create supplementary schedules to illustrate findings from research on the
                                                           Debtors' internal communications.
   18       6/22/2023   Shaik, Ismail                  2.8 Prepare additional research on pre-petition exchange directors with a focus
                                                           on use of funds.
   18       6/22/2023   Shaik, Ismail                  2.6 Create exhibits to illustrate findings on specific FTX executive.

   18       6/22/2023   Reid, Matthew                  2.9 Prepare summaries of supplementary research conducted pursuant to
                                                           investigations on potential avoidance actions.
   18       6/22/2023   Reid, Matthew                  2.3 Create supplementary schedules to illustrate findings related to Debtors'
                                                           communications based on research.
   18       6/22/2023   Busen, Michael                 0.7 Plan ongoing research involving Debtors' charitable donations for use of
                                                           funds analysis.
   18       6/22/2023   Steven, Kira                   2.2 Integrate information on requests status for the investigation.




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Task Code     Date              Professional      Hours                                       Activity
   18       6/22/2023   Steven, Kira                  2.1 Continue to construct draft of report containing assessment of the
                                                          investigation findings.
   18       6/22/2023   Steven, Kira                  2.5 Integrate information on the various requests for information to Debtors to
                                                          track necessary information for investigation.
   18       6/22/2023   Garofalo, Michael             2.2 Continue to prepare summary slides on findings from customer activity
                                                          investigations, including deposits and withdrawals.
   18       6/22/2023   Garofalo, Michael             1.4 Supplement presentation on customer activity with a focus on withdrawals
                                                          and deposits in 90-day preference period.
   18       6/22/2023   Steven, Kira                  0.7 Revise research on Debtors' executives' bonus payments.

   18       6/23/2023   Marsella, Jenna                2.1 Continue to trace certain bank statements and investments back to various
                                                           pre-petition FTX directors.
   18       6/23/2023   Marsella, Jenna                2.2 Evaluate the potential validity of certain pre-petition transactions made by
                                                           the Debtors.
   18       6/23/2023   Baer, Laura                    2.0 Draft a summary report including the updated information from the
                                                           investigation into the Debtors' investments and payroll.
   18       6/23/2023   Stillman, Beulah               1.6 Continue to trace bank statements and transfers between certain Debtor
                                                           entities.
   18       6/23/2023   Stillman, Beulah               2.2 Compare the effectiveness of certain search criteria re: the Debtors' financial
                                                           records.
   18       6/23/2023   Stillman, Beulah               2.8 Revise the search criteria to identify outstanding investigation items re: the
                                                           Debtors' pre-petition investments.
   18       6/23/2023   Stillman, Beulah               1.9 Draft updates summaries of the information found during the investigation
                                                           into the Debtors' historic financial records.
   18       6/23/2023   Shaik, Ismail                  0.6 Create a new exhibit to analyze withdrawals made by a certain pre-petition
                                                           FTX executive.
   18       6/23/2023   Shaik, Ismail                  2.7 Create a new exhibit to analyze investments made between certain Debtor
                                                           entities.
   18       6/23/2023   Reid, Matthew                  2.8 Perform a quality check on the exhibits created to illustrate the Debtors' pre-
                                                           petition withdrawals and investments.
   18       6/23/2023   Reid, Matthew                  2.7 Investigate internal and external communications made by certain pre-
                                                           petition FTX executives.
   18       6/23/2023   Reid, Matthew                  2.6 Continue to investigate the communications made between certain pre-
                                                           petition FTX executives re: political donations.
   18       6/23/2023   Busen, Michael                 0.3 Review the status of the SOALs reconciliation and the preference analysis
                                                           slide deck.
   18       6/23/2023   Steven, Kira                   2.2 Finalize the tagging metrics used for the investigation analysis tracker.

   18       6/23/2023   Steven, Kira                   1.3 Draft a summary update of all present investigation findings re: the Debtors'
                                                           estate.
   18       6/23/2023   Steven, Kira                   2.3 Review recent investigation inquiries to assess further analysis procedures.

   18       6/23/2023   Steven, Kira                   2.0 Update the investigation analysis spreadsheet to include summaries for past
                                                           and present findings.
   18       6/23/2023   Garofalo, Michael              2.4 Finalize the slide deck re: the customer preference analysis to prepare for
                                                           upcoming meeting with PH.
   18       6/26/2023   Marsella, Jenna                1.7 Update the tagging metrics to include additional financial documents
                                                           produced by the Debtors.
   18       6/26/2023   Baer, Laura                    2.4 Continue to develop analysis on potential avoidance actions investigation re:
                                                           pre-petition directors.




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Task Code     Date                Professional      Hours                                     Activity
   18       6/26/2023   Fiorillo, Julianna              0.4 Review investigation analysis re: customer deposits and withdrawals.

   18       6/26/2023   Stillman, Beulah                 2.4 Categorize documents identified in review and tag them in the database.

   18       6/26/2023   Stillman, Beulah                 2.8 Continue to categorize documents identified in review and tag them in the
                                                             database.
   18       6/26/2023   Marsella, Jenna                  0.3 Revise investigation analysis of Debtors' bonus payments.

   18       6/26/2023   Marsella, Jenna                  0.4 Revise investigation analysis of Debtors' political contributions.

   18       6/26/2023   Marsella, Jenna                  2.8 Analyze the investigations documents produced by the Debtors as requested
                                                             by the UCC.
   18       6/26/2023   Marsella, Jenna                  2.3 Conduct additional review and analysis of documents produced by debtor in
                                                             UCC request.
   18       6/26/2023   Stillman, Beulah                 2.9 Continue to tag important documents for future review.

   18       6/26/2023   Stillman, Beulah                 0.6 Revise document tagging priorities to adjust for recent UCC inquiries.

   18       6/26/2023   Stillman, Beulah                 0.3 Continue to tag important documents re: bank transfers.

   18       6/26/2023   Shaik, Ismail                    0.2 Draft a summary of the document tagging process to response to recent
                                                             inquiries.
   18       6/26/2023   Shaik, Ismail                    2.9 Continue to tag important documents re: activity by key insiders.

   18       6/26/2023   Shaik, Ismail                    0.3 Continue to develop the investment analysis with updated visuals and
                                                             exhibits.
   18       6/26/2023   Shaik, Ismail                    1.0 Research key documents re: to the Twitter analysis.

   18       6/26/2023   Reid, Matthew                    0.4 Compare the outcome of the latest investigations into the Debtors' estate.

   18       6/26/2023   Reid, Matthew                    0.2 Assess the Debtors' financial relationships by analyzing certain bank
                                                             statements.
   18       6/26/2023   Reid, Matthew                    1.2 Investigate the Debtors' documents re: public financial records.

   18       6/26/2023   Reid, Matthew                    2.7 Continue to index documents produced by the Debtors pursuant to UCC
                                                             investigation.
   18       6/26/2023   Reid, Matthew                    0.3 Update the investigation diligence list to reflect new research into the
                                                             Debtors' financial relationships.
   18       6/26/2023   Reid, Matthew                    2.9 Index documents produced by the Debtors pursuant to UCC investigation.

   18       6/26/2023   Shaik, Ismail                    2.9 Continue to tag documents re: investigations into pre-petition directors.

   18       6/26/2023   Shaik, Ismail                    0.7 Conduct a quality check on document tagging and categorization for the
                                                             investigation on potential avoidance actions.
   18       6/26/2023   Anastasiou, Anastis              1.3 Continue to investigate various parties closely related to certain pre-petition
                                                             directors.
   18       6/26/2023   Anastasiou, Anastis              1.7 Identify financial documents relating certain Debtor entities.

   18       6/26/2023   Anastasiou, Anastis              1.3 Revise a draft version of the document review tracker.




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Task Code     Date              Professional       Hours                                    Activity
   18       6/26/2023   Anastasiou, Anastis            0.7 Create an exhibit to summarize recent investigations into the Debtors' estate.

   18       6/26/2023   Anastasiou, Anastis             0.5 Provide comments on the latest document tagging and categorization
                                                            methods.
   18       6/26/2023   Famiglietti, Tyler              1.0 Review the latest document tagging and categorization methods.

   18       6/26/2023   Famiglietti, Tyler              2.2 Continue to update the tagging for certain documents in the dataroom.

   18       6/26/2023   Famiglietti, Tyler              2.0 Update the tagging and categorization for production documents following
                                                            quality check reviews.
   18       6/26/2023   Anastasiou, Anastis             0.3 Update the diligence list re: investigations into certain silos.

   18       6/26/2023   Famiglietti, Tyler              1.3 Continue to update production documents reviewed for tagging and
                                                            categorization for analysis.
   18       6/26/2023   Steven, Kira                    0.3 Perform review of the Debtors' bonus payment support.

   18       6/26/2023   Steven, Kira                    0.4 Revise the document tagging process in order to increase investigation
                                                            efficiency.
   18       6/26/2023   Jordan, Mason                   1.5 Run data distributions on customer activity analysis for certain Debtor
                                                            entity.
   18       6/26/2023   Jordan, Mason                   1.6 Run potential preference defense analysis for customer activity for certain
                                                            Debtor entity.
   18       6/26/2023   Jordan, Mason                   1.6 Analyze the customer activity at different silos to adjust the potential
                                                            preference defense analysis.
   18       6/26/2023   Jordan, Mason                   2.9 Perform data distributions and subsequent new value analysis on the
                                                            customer activity at a certain silo.
   18       6/26/2023   Steven, Kira                    0.2 Review bonus payment support provided by the Debtors.

   18       6/26/2023   Steven, Kira                    0.3 Provide comments on potential avoidance action investigations.

   18       6/26/2023   Steven, Kira                    0.6 Analyze latest updates to the document tracing analysis.

   18       6/26/2023   Steven, Kira                    0.4 Update the document review tagging tracker.

   18       6/26/2023   Steven, Kira                    0.7 Continue to index certain documents re: the avoidance action investigations.

   18       6/26/2023   Steven, Kira                    0.3 Provide comments on the analysis into customer deposit and withdrawal
                                                            data.
   18       6/26/2023   Steven, Kira                    1.3 Draft a summary on updated document tagging protocol for investigation
                                                            efficiency.
   18       6/27/2023   Marsella, Jenna                 0.4 Revise investigation analysis of Debtors' internal bonus payments.

   18       6/27/2023   Marsella, Jenna                 2.8 Conduct tracing analysis on bonus payments assessment prepared by A&M.

   18       6/27/2023   Marsella, Jenna                 2.7 Continue to conduct tracing analysis on bonus payments assessment
                                                            prepared by A&M.
   18       6/27/2023   Marsella, Jenna                 1.6 Analyze the documents produced by the Debtors as requested by the UCC.

   18       6/27/2023   Baer, Laura                     1.4 Summarize findings related to transfers for director of the Debtors'
                                                            exchange.




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Task Code     Date              Professional       Hours                                   Activity
   18       6/27/2023   Stillman, Beulah               2.7 Continue to review documents in the Debtors' database for UCC
                                                           investigation.
   18       6/27/2023   Stillman, Beulah               2.2 Continue to review documents in Debtors' database for investigation on
                                                           potential avoidance actions.
   18       6/27/2023   Stillman, Beulah               2.6 Tag documents to be reviewed for avoidance actions investigations.

   18       6/27/2023   Reid, Matthew                   2.8 Create new analysis of Debtors' financial records and investments pursuant
                                                            to the UCC investigation.
   18       6/27/2023   Reid, Matthew                   2.7 Continue to conduct searches of Debtors' document database for analysis of
                                                            Debtors' financial statements and private communications.
   18       6/27/2023   Reid, Matthew                   0.9 Continue to create new analysis of Debtors' financial records and
                                                            investments pursuant to the UCC investigation.
   18       6/27/2023   Fiorillo, Julianna              0.7 Review bonus analysis for comparison to A&M analysis data.

   18       6/27/2023   Shaik, Ismail                   2.8 Tag documents for further assessment after receiving list of additional
                                                            documents.
   18       6/27/2023   Shaik, Ismail                   2.3 Prepare index of documentation received from Debtors to assist in the
                                                            investigation analysis.
   18       6/27/2023   Reid, Matthew                   2.9 Conduct searches of Debtors' document database for analysis of Debtors'
                                                            financial statements and private communications.
   18       6/27/2023   Shaik, Ismail                   2.9 Tag further documents in database related to Twitter analysis.

   18       6/27/2023   Busen, Michael                  0.8 Build presentation for the UCC on status of automation of loading general
                                                            ledger data for investigation.
   18       6/27/2023   Anastasiou, Anastis             1.5 Continue to perform review of document production to identify relevant
                                                            documents for accounting investigations work streams.
   18       6/27/2023   Anastasiou, Anastis             1.2 Review research findings on Debtors' directors and certain other individuals
                                                            for investigation on potential avoidance actions.
   18       6/27/2023   Anastasiou, Anastis             2.9 Perform review of document production to identify relevant documents for
                                                            accounting investigations.
   18       6/27/2023   Famiglietti, Tyler              1.3 Coordinate with provider on new production searches and data requests.

   18       6/27/2023   Famiglietti, Tyler              0.7 Develop investment analysis with updated visuals and graphics.

   18       6/27/2023   Famiglietti, Tyler              0.8 Continue to assess documents identified in review and tagging on database.

   18       6/27/2023   Famiglietti, Tyler              2.3 Add comments to documents reviewed in database.

   18       6/27/2023   Famiglietti, Tyler              1.9 Continue to update production documents reviewed for tagging and
                                                            categorization.
   18       6/27/2023   Steven, Kira                    0.6 Review template structure of investigation for certain individuals related to
                                                            the Debtors' pre-petition exchange.
   18       6/27/2023   Steven, Kira                    0.9 Finalize report on investigation into certain directors of the pre-petition
                                                            exchange.
   18       6/27/2023   Steven, Kira                    0.3 Revise draft version of document tagging tracker.

   18       6/27/2023   Jordan, Mason                   0.7 Update customer activity presentation re: preferences.

   18       6/27/2023   Jordan, Mason                   0.6 Develop analysis on potential avoidance actions investigation re: pre-petition
                                                            directors' actions.




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Task Code     Date              Professional      Hours                                     Activity
   18       6/27/2023   Jordan, Mason                 2.3 Create customer activity presentation to summarize customer withdrawals
                                                          and deposits from preference period.
   18       6/27/2023   Jordan, Mason                 1.7 Revise presentation on customer activity for preference analysis.

   18       6/27/2023   Steven, Kira                   0.9 Review investigations report on the key insiders of the Debtors' exchange.

   18       6/27/2023   Steven, Kira                   2.0 Review specific sections on Debtors' report on commingling and misuse of
                                                           customer deposits.
   18       6/27/2023   Diaz, Matthew                  0.5 Review investigation analysis re: customer deposits.

   18       6/27/2023   Simms, Steven                  0.2 Prepare correspondence on the investigations outcomes.

   18       6/28/2023   Marsella, Jenna                2.9 Conduct additional review and analysis of documents produced by Debtors
                                                           in UCC request.
   18       6/28/2023   Marsella, Jenna                0.6 Conduct quality check review of FTX bonus payments analysis.

   18       6/28/2023   Baer, Laura                    0.3 Review data sources and analysis for general ledger investigations.

   18       6/28/2023   Stillman, Beulah               1.9 Continue to review documents in the Debtors' database.

   18       6/28/2023   Stillman, Beulah               2.2 Revise investigation analysis on Debtors' financial documents.

   18       6/28/2023   Stillman, Beulah               1.4 Review documents from the Debtors based on forensic investigation goals.

   18       6/28/2023   Stillman, Beulah               2.5 Continue to review documents from the Debtors' database for investigation.

   18       6/28/2023   Risler, Franck                 0.9 Analyze interim report from Debtors on commingling and misuse of
                                                           customer assets.
   18       6/28/2023   Marsella, Jenna                1.2 Conduct further review of financial documents provided by Debtors.

   18       6/28/2023   Marsella, Jenna                2.8 Continue to conduct tracing analysis on A&M bonus payments summary.

   18       6/28/2023   Baer, Laura                    0.3 Provide feedback on reconciliation of payroll records provided by the
                                                           Debtors for review by the UCC.
   18       6/28/2023   Baer, Laura                    1.2 Review comments on the interim report of UST.

   18       6/28/2023   Reid, Matthew                  2.8 Conduct research on relevant documentations pursuant to supplementary
                                                           analysis of Debtors' financial relationships.
   18       6/28/2023   Reid, Matthew                  2.9 Develop research on Debtors' documentation produced for continued
                                                           analysis of financial relationships.
   18       6/28/2023   Shaik, Ismail                  2.7 Organize documents in Debtors' database following receipt of approximately
                                                           900 additional documents.
   18       6/28/2023   Reid, Matthew                  2.3 Finalize documentation summarizing findings during research conducted on
                                                           Debtors' public and private communications.
   18       6/28/2023   Shaik, Ismail                  2.9 Tag documents to include in forensic investigation analysis based on new
                                                           data production.
   18       6/28/2023   Busen, Michael                 0.3 Perform general ledger migration from database for subsequent analysis.

   18       6/28/2023   Busen, Michael                 2.6 Conduct quality check of certain Debtor entities' preference data and related
                                                           draft of presentation for UCC.




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Task Code     Date              Professional       Hours                                     Activity
   18       6/28/2023   Anastasiou, Anastis            0.9 Continue to perform review of document production to identify relevant
                                                           documents for accounting investigations.
   18       6/28/2023   Anastasiou, Anastis            1.1 Perform research to identify relevant documents re: accounting for asset
                                                           acquisition.
   18       6/28/2023   Anastasiou, Anastis            1.4 Perform review of document production to identify relevant documents for
                                                           accounting investigations continuations.
   18       6/28/2023   Anastasiou, Anastis            0.3 Review communications between FTX and accounting auditors and
                                                           advisors.
   18       6/28/2023   Famiglietti, Tyler             0.8 Create workbook to track document tagging and review progress.

   18       6/28/2023   Famiglietti, Tyler              1.6 Add comments to documents reviewed in Debtors' database.

   18       6/28/2023   Famiglietti, Tyler              1.8 Perform searches on Debtors' database to update document review tagging.

   18       6/28/2023   Anastasiou, Anastis             0.8 Review FTX asset and equity acquisition documents re: forensic
                                                            investigation.
   18       6/28/2023   Anastasiou, Anastis             0.5 Review FTX and related entity formation documents re: forensic
                                                            investigation.
   18       6/28/2023   Anastasiou, Anastis             1.1 Review FTX executive communications related to asset purchases and
                                                            financial statements.
   18       6/28/2023   Bromberg, Brian                 0.3 Review preferences data issues.

   18       6/28/2023   Famiglietti, Tyler              2.2 Continue document tagging for documentation related to Debtors' asset
                                                            purchases.
   18       6/28/2023   Famiglietti, Tyler              0.3 Assess latest forensic investigation findings re: general ledger analysis.

   18       6/28/2023   Steven, Kira                    0.7 Review information sourcing for investigation on Debtors' directors.

   18       6/28/2023   Steven, Kira                    0.2 Review organizational chart for document tagging and review purposes.

   18       6/28/2023   Steven, Kira                    0.3 Finalize investigation on directors of the Debtors' exchange.

   18       6/28/2023   Steven, Kira                    0.2 Summarize background on derivations of Debtors' investments.

   18       6/28/2023   Steven, Kira                    0.3 Update general ledger summary analyses.

   18       6/28/2023   Steven, Kira                    0.3 Revise structure of exchange directors investigation tracker.

   18       6/28/2023   Jordan, Mason                   0.4 Reply to feedback on the prior investigation analysis re: directors' donations.

   18       6/28/2023   Jordan, Mason                   0.6 Continue general ledger automatic loading for further investigation analysis.

   18       6/28/2023   Steven, Kira                    1.7 Review other various sections of the interim report on commingling and
                                                            misuse of customer deposits at certain Debtor entity.
   18       6/28/2023   Steven, Kira                    1.6 Continue to review other various sections of the interim report on
                                                            commingling and misuse of customer deposits at certain Debtor entity.
   18       6/28/2023   Steven, Kira                    0.8 Prepare for upcoming meeting with PH on potential avoidance actions
                                                            investigations.
   18       6/29/2023   Stillman, Beulah                2.4 Tag documents in the Debtors' database to assist with the UCC
                                                            investigation.




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Task Code     Date              Professional      Hours                                      Activity
   18       6/29/2023   Stillman, Beulah              1.9 Continue to tag documents in the Debtors' database to assist with the UCC
                                                          investigation.
   18       6/29/2023   Kimche, Livia                 0.9 Standardize general ledger files and update general ledger inventories.

   18       6/29/2023   Marsella, Jenna                2.9 Conduct key work searches in Debtors' database to identify related-party
                                                           investments in documents.
   18       6/29/2023   Marsella, Jenna                2.9 Continue to conduct searches in Debtors' database to identify related-party
                                                           investments.
   18       6/29/2023   Marsella, Jenna                2.8 Conduct review of documents referenced in second interim report on
                                                           commingling and misuse of customer deposits.
   18       6/29/2023   Marsella, Jenna                0.4 Review ongoing analyses of the Debtors' investments.

   18       6/29/2023   Baer, Laura                    0.3 Review documentation related to analysis of FTX investments.

   18       6/29/2023   Baer, Laura                    0.4 Analyze supporting documents for research on insider transfers at Debtors'
                                                           exchange.
   18       6/29/2023   Reid, Matthew                  2.7 Perform initial quality check of analysis to ensure proper presentation of
                                                           assumptions in analysis of the Debtors' related parties.
   18       6/29/2023   Reid, Matthew                  2.8 Conduct research in the Debtors' dataroom in pursuit of evidence to bolster
                                                           assumptions in analysis of Debtors' insiders.
   18       6/29/2023   Stillman, Beulah               2.2 Perform further quality checks on analysis of directors of the pre-petition
                                                           FTX exchange.
   18       6/29/2023   Stillman, Beulah               2.7 Develop analysis of directors at the pre-petition Debtors' exchange based on
                                                           prior review.
   18       6/29/2023   Shaik, Ismail                  2.7 Tag documents in Debtors' database that pertain to preference analysis.

   18       6/29/2023   Shaik, Ismail                  2.5 Continue to evaluate documents that relate to preference analysis for certain
                                                           Debtor entity.
   18       6/29/2023   Reid, Matthew                  0.4 Review continued strategy for analysis of Debtors' insider parties.

   18       6/29/2023   Reid, Matthew                  2.9 Continue to conduct research of the data room in pursuit of accumulating
                                                           evidence to bolster assumptions made in prior analysis.
   18       6/29/2023   Shaik, Ismail                  2.8 Categorize documents from Debtors in order to continue review and analysis
                                                           for the investigation into potential avoidance actions.
   18       6/29/2023   Busen, Michael                 2.8 Update presentation for UCC on preference data associated with certain
                                                           Debtor entities.
   18       6/29/2023   Busen, Michael                 0.4 Create plan for upcoming investigation analysis re: preference data.

   18       6/29/2023   Busen, Michael                 1.4 Revise preference data analysis for certain Debtor entities.

   18       6/29/2023   Dawson, Maxwell                0.8 Review calculation of certain value assumptions in connection with
                                                           preference analysis.
   18       6/29/2023   Anastasiou, Anastis            0.4 Review FTX executive communications related to asset purchases and
                                                           financial statements.
   18       6/29/2023   Anastasiou, Anastis            0.6 Review communications between FTX and accounting auditors and
                                                           advisors.
   18       6/29/2023   Anastasiou, Anastis            0.8 Perform review of document production to identify relevant documents for
                                                           accounting investigations work streams.
   18       6/29/2023   Anastasiou, Anastis            0.2 Review documentation of transfers by FTX executives.




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Task Code     Date              Professional       Hours                                   Activity
   18       6/29/2023   Famiglietti, Tyler             0.3 Assess supporting documents for FTX investment review.

   18       6/29/2023   Anastasiou, Anastis             1.1 Preform review of research findings of bonus transfers and gifts by key FTX
                                                            executives.
   18       6/29/2023   Anastasiou, Anastis             0.7 Review FTX executive communications related to donations and charity
                                                            organizations.
   18       6/29/2023   Anastasiou, Anastis             1.1 Review FTX asset and equity acquisition documents re: forensic
                                                            investigation.
   18       6/29/2023   Famiglietti, Tyler              1.4 Update production documents reviewed for tagging and categorization.

   18       6/29/2023   Famiglietti, Tyler              2.6 Continue updating production documents reviewed for tagging and
                                                            categorization.
   18       6/29/2023   Famiglietti, Tyler              1.7 Review investment analysis with updated visuals and graphics.

   18       6/29/2023   Bromberg, Brian                 0.5 Review preferences data issues.

   18       6/29/2023   Bromberg, Brian                 0.5 Review preference analysis presentation.

   18       6/29/2023   Steven, Kira                    0.4 Provide additional comments on structure of transfers analysis for certain
                                                            insider parties of the Debtors.
   18       6/29/2023   Steven, Kira                    0.3 Analyze bonus payment support received from the Debtors.

   18       6/29/2023   Steven, Kira                    2.3 Review alternative section of report from Debtors on commingling and
                                                            misuse of customer deposits at pre-petition exchange.
   18       6/29/2023   Steven, Kira                    0.4 Analyze the Debtors' insider party transfers.

   18       6/29/2023   Steven, Kira                    2.2 Continue to review alternative section of report from Debtors on
                                                            commingling and misuse of customer deposits at pre-petition exchange.
   18       6/29/2023   Steven, Kira                    0.9 Identify documentation for potential avoidance actions investigations related
                                                            to insider parties of the Debtors.
   18       6/29/2023   Jordan, Mason                   2.6 Prepare standardized general ledgers for analysis of potential avoidance
                                                            actions.
   18       6/29/2023   Jordan, Mason                   1.2 Continue to develop standardization of general ledgers for investigations on
                                                            potential avoidance actions.
   18       6/29/2023   Jordan, Mason                   1.7 Update presentation to the UCC on potential avoidance actions
                                                            investigations.
   18       6/29/2023   Steven, Kira                    0.3 Continue to evaluate supporting documentation for FTX investments
                                                            analysis.
   18       6/30/2023   Marsella, Jenna                 2.7 Conduct additional keyword searches to identify related-party investments in
                                                            documents produced by Debtors in UCC request.
   18       6/30/2023   Marsella, Jenna                 2.8 Conduct searches to identify related-party investments in documents
                                                            produced by Debtors.
   18       6/30/2023   Baer, Laura                     1.4 Assess Debtors' payroll summary for variations in findings.

   18       6/30/2023   Gray, Michael                   0.6 Provide comments to draft report re: preference analysis.

   18       6/30/2023   Stillman, Beulah                1.9 Conduct a quality check on analysis of related parties to the Debtors.

   18       6/30/2023   Stillman, Beulah                2.2 Perform additional research on the parties related to Debtors' directors.




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   18       6/30/2023   Stillman, Beulah               2.8 Continue to conduct a quality check on analysis of related parties to the
                                                           Debtors.
   18       6/30/2023   Marsella, Jenna                1.6 Conduct further keyword searches to identify related-party investments in
                                                           documents produced by Debtors in UCC request.
   18       6/30/2023   Baer, Laura                    0.7 Review research on transfers among related parties to Debtors.

   18       6/30/2023   Reid, Matthew                   2.8 Perform additional review on analysis of parties related to the Debtors for
                                                            forensic investigation.
   18       6/30/2023   Reid, Matthew                   1.1 Implement changes re: forensic investigation into parties of interest related
                                                            to the Debtors.
   18       6/30/2023   Stillman, Beulah                1.5 Continue to perform research on parties related to the Debtors' pre-petition
                                                            director.
   18       6/30/2023   Shaik, Ismail                   2.9 Continue to categorize documents in the Debtors' database following receipt
                                                            of 750 additional documents.
   18       6/30/2023   Reid, Matthew                   0.8 Continue to implement changes re: forensic investigation into parties of
                                                            interest related to the Debtors.
   18       6/30/2023   Reid, Matthew                   0.7 Assess additional required analysis for final presentation to PH on
                                                            investigation findings re: Debtors' related parties.
   18       6/30/2023   Reid, Matthew                   2.6 Create supplementary schedules and exhibits in support of the research
                                                            conducted pursuant to investigation on parties related to the Debtors.
   18       6/30/2023   Shaik, Ismail                   2.9 Categorize documents in the Debtors' database after receiving an additional
                                                            700 documents.
   18       6/30/2023   Dawson, Maxwell                 0.3 Analyze materials related to customer preference withdrawals.

   18       6/30/2023   Anastasiou, Anastis             0.8 Review documentation related to work performed by FTX auditors.

   18       6/30/2023   Anastasiou, Anastis             1.6 Review FTX executive communications related to donations and charity
                                                            organizations.
   18       6/30/2023   Anastasiou, Anastis             0.2 Review FTX and related entity formation documents re: forensic
                                                            investigation.
   18       6/30/2023   Anastasiou, Anastis             0.9 Review communications between FTX and accounting auditors and
                                                            advisors.
   18       6/30/2023   Anastasiou, Anastis             1.3 Review FTX asset and equity acquisition documents re: forensic
                                                            investigation.
   18       6/30/2023   Anastasiou, Anastis             0.6 Review documentation of loan agreements between Debtor entities and
                                                            various third-party entities.
   18       6/30/2023   Anastasiou, Anastis             0.4 Preform review of research findings of bonus transfers and gifts by key FTX
                                                            executives.
   18       6/30/2023   Anastasiou, Anastis             0.5 Develop continued review of document production to identify relevant
                                                            documents for accounting investigations.
   18       6/30/2023   Famiglietti, Tyler              1.1 Revise visuals for investment analysis based on new data.

   18       6/30/2023   Famiglietti, Tyler              1.1 Continue search for information on FTX relationships with investment
                                                            entities.
   18       6/30/2023   Famiglietti, Tyler              2.7 Perform additional review of entities and relationships for investment
                                                            analysis.
   18       6/30/2023   Famiglietti, Tyler              1.8 Perform review of entities and relationships for investment analysis.

   18       6/30/2023   Anastasiou, Anastis             0.6 Review documents related to activities and communications taking place
                                                            during the days leading up to the FTX bankruptcy.




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Task Code     Date            Professional        Hours                                    Activity
   18       6/30/2023   Bromberg, Brian               0.5 Review provided preference data.

   18       6/30/2023   Bromberg, Brian                0.8 Review additional preference data.

   18       6/30/2023   Bromberg, Brian                0.4 Review Debtors' preference analysis.

   18       6/30/2023   Bromberg, Brian                1.6 Comment on preference analysis presentation.

   18       6/30/2023   Bromberg, Brian                0.3 Review payroll investigation issues.

   18       6/30/2023   Steven, Kira                   0.5 Review intercompany investigations findings in order to prepare summary
                                                           for PH.
   18       6/30/2023   Steven, Kira                   0.7 Review investigations summary to finalize for presentation to PH.

   18       6/30/2023   Diaz, Matthew                  2.1 Review most recently prepared preference analysis.

 18 Total                                          1,156.0

   21       6/2/2023    Risler, Franck                 0.7 Participate in a call with UCC and PH (K. Hansen, E. Gilad, and others) on
                                                           liquidity providers and coin management.
   21       6/2/2023    Simms, Steven                  0.7 Participate in a meeting with UCC and PH (E. Gilad and K. Hansen, etc.)
                                                           on coin monetization and plan items.
   21       6/5/2023    Bromberg, Brian                0.5 Participate in a call with PH (E. Gilad, I. Sasson) and Jefferies (M. O'Hara,
                                                           Others) re: updates on recovery analysis and plan structures.
   21       6/5/2023    Diodato, Michael               0.5 Attend a meeting with PH (E. Gilad, I. Sasson) and Jefferies (M. O'Hara,
                                                           Others) re: coin management.
   21       6/5/2023    Risler, Franck                 0.5 Participate in a meeting with PH (E. Gilad, I. Sasson) and Jefferies (M.
                                                           O'Hara, Others) with focus on derivatives, customer claims, and hedging
                                                           strategies.
   21       6/5/2023    de Brignac, Jessica            0.5 Participate in a meeting with PH (E. Gilad, I. Sasson) and Jefferies (M.
                                                           O'Hara, and others) to create diligence list for meeting with the UCC
                                                           including investment updates and crypto monetization updates.
   21       6/7/2023    Risler, Franck                 1.9 Participate in a call with PH (K. Hansen, E. Gilad, others) to review latest
                                                           plan structures.
   21       6/7/2023    Simms, Steven                  1.9 Participate in a call with PH (K. Hansen, E. Gilad, others) and UCC re: plan
                                                           structure alternatives and updated waterfall scenarios.
   21       6/7/2023    Diaz, Matthew                  1.9 Attend a meeting with PH (K. Hansen, E. Gilad, others) and the UCC re: the
                                                           latest recovery analysis.
   21       6/7/2023    Risler, Franck                 1.7 Participate in a call with PH (K. Hansen, G. Sasson) to assess the impact of
                                                           various token hedging strategies on customer claims.
   21       6/12/2023   Diodato, Michael               1.4 Participate in a call with PH (G. Sasson, E. Gilad) and the UCC re: claims
                                                           pricing.
   21       6/12/2023   Risler, Franck                 1.4 Attend a meeting with PH (G. Sasson, E. Gilad) and the UCC addressing
                                                           claims pricing, protocol to stake crypto and custody providers for certain
   21       6/12/2023   Bromberg, Brian                1.4 coin.
                                                            Attend a call with PH (G. Sasson, E. Gilad) and the UCC re: coin
                                                           management and coin valuation for claims analysis.
   21       6/12/2023   de Brignac, Jessica            1.4 Participate in a call with PH (G. Sasson, E. Gilad) and the UCC re: claims
                                                           valuation, token monetization, and staking updates.
   21       6/12/2023   Bromberg, Brian                0.5 Participate in a call with Jefferies (M. O'Hara, R. Hamilton and others) and
                                                           PH (G. Sasson, E. Gilad, and others) re: upcoming UCC call proposals.




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   21       6/12/2023   Risler, Franck                 0.5 Participate in a meeting with Jefferies (M. O'Hara, R. Hamilton and others)
                                                           and PH (G. Sasson, E. Gilad, and others) with focus on claims, hedging, and
                                                           FTX 2.0 strategies.
   21       6/12/2023   Diodato, Michael               0.5 Participate in a call with Jefferies (M. O'Hara, R. Hamilton and others) and
                                                           PH (G. Sasson, E. Gilad, and others) to assess crypto issues in preparation
                                                           for call with UCC.
   21       6/12/2023   de Brignac, Jessica            0.5 Participate in a call with Jefferies (M. O'Hara, R. Hamilton and others) and
                                                           PH (G. Sasson, E. Gilad, and others) re: updates to investigations and coin
                                                           valuation.
   21       6/13/2023   Risler, Franck                 0.9 Participate in a call with PH (E. Gilad) on plan design and coin management
                                                           during bankruptcy and post emergence.
   21       6/14/2023   Diodato, Michael               2.2 Review claims pricing analysis and new proposals for potential approval.

   21       6/14/2023   Bromberg, Brian                 2.4 Attend a call with the UCC, PH (G. Sasson, K. Hansen) and Jefferies (M.
                                                            O'Hara, Others) re: latest customer claims data.
   21       6/14/2023   Simms, Steven                   2.4 Participate in a call with the UCC, PH (G. Sasson, K. Hansen) and Jefferies
                                                            (M. O'Hara, Others) re: updated plan structures, waterfall analysis, and
                                                            venture sale issues.
   21       6/14/2023   Diaz, Matthew                   2.4 Participate in a call with the UCC, PH (G. Sasson, K. Hansen) and Jefferies
                                                            (M. O'Hara, Others) re: updates to an initial plan term sheet.
   21       6/14/2023   Risler, Franck                  2.4 Participate in a call with the UCC, PH (G. Sasson, K. Hansen) and Jefferies
                                                            (M. O'Hara, Others) re: updated token hedging and monetization strategies.
   21       6/21/2023   Bromberg, Brian                 1.4 Attend a meeting with PH (K. Hansen, G. Sasson), Jefferies (M. O'Hara,
                                                            and others), and UCC on plan structure updates (K. Hansen, M. O'Hara, G.
                                                            Sasson, Others).
   21       6/21/2023   Risler, Franck                  1.4 Participate in a call with PH (K. Hansen, G. Sasson), Jefferies (M. O'Hara,
                                                            and others), and UCC with a focus on the claims status and asset
                                                            monetization strategies.
   21       6/21/2023   Simms, Steven                   1.4 Participate in a call with PH (K. Hansen, G. Sasson), Jefferies (M. O'Hara,
                                                            and others), and UCC on asset monetization strategies.
   21       6/21/2023   Diaz, Matthew                   1.4 Attend a meeting with PH (K. Hansen, G. Sasson), Jefferies (M. O'Hara,
                                                            and others), and UCC on plan alternatives and related analysis.
   21       6/22/2023   Risler, Franck                  0.9 Participate in a call with UCC and PH (G. Sasson, E. Gilad) re: token
                                                            monetization.
   21       6/22/2023   Majkowski, Stephanie            0.9 Attend meeting on token monetization with UCC and PH (G. Sasson, E.
                                                            Gilad).
   21       6/22/2023   de Brignac, Jessica             0.9 Participate in a call with PH (G. Sasson, E. Gilad) and UCC re: claims
                                                            valuation and token classification.
   21       6/26/2023   Risler, Franck                  0.5 Participate in a call with FTI (S. Simms, B. Bromberg, and others), PH (G.
                                                            Sasson, K. Hansen, and others), and Jefferies (M. O'Hara, R. Hamilton, and
                                                            others) with focus on the monetization process of certain tokens.

   21       6/26/2023   Diodato, Michael                0.5 Participate in a meeting with FTI (S. Simms, B. Bromberg, and others), PH
                                                            (G. Sasson, K. Hansen, and others), and Jefferies (M. O'Hara, R. Hamilton,
                                                            and others) re: latest token valuations.
   21       6/26/2023   Diaz, Matthew                   0.5 Participate in a call with FTI (S. Simms, B. Bromberg, and others), PH (G.
                                                            Sasson, K. Hansen, and others), and Jefferies (M. O'Hara, R. Hamilton, and
                                                            others) re: the new potential creditor recovery scenarios added and potential
                                                            adjustments to make.
   21       6/26/2023   de Brignac, Jessica             0.5 Attend a call with FTI (S. Simms, B. Bromberg, and others), PH (G. Sasson,
                                                            K. Hansen, and others), and Jefferies (M. O'Hara, R. Hamilton, and others)
                                                            re: investigation updates and crypto monetization.




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Task Code     Date               Professional      Hours                                      Activity
   21       6/27/2023   Risler, Franck                 1.0 Participate in a call with PH (E. Gilad, G.Sasson) on continued plan and
                                                           coin management discussions.
   21       6/27/2023   Diaz, Matthew                  1.0 Participate in a meeting with PH (E. Gilad, G.Sasson) on plan term sheet.

   21       6/28/2023   Bromberg, Brian                 2.2 Participate in a call with UCC and PH (K. Hansen, G. Sasson) and Jefferies
                                                            (M. O'Hara) re: waterfall analysis.
   21       6/28/2023   Simms, Steven                   2.2 Participate in a meeting with UCC and PH (K. Hansen, G. Sasson) and
                                                            Jefferies (M. O'Hara) on plan waterfall and term sheet.
   21       6/28/2023   Diodato, Michael                2.2 Participate in a call with UCC and PH (K. Hansen, G. Sasson) and Jefferies
                                                            (M. O'Hara) on trade approval process and token monetization.
   21       6/28/2023   Diaz, Matthew                   2.2 Attend a meeting with UCC and PH (K. Hansen, G. Sasson) and Jefferies
                                                            (M. O'Hara) on plan alternatives and waterfall recovery analysis.
   21       6/29/2023   Simms, Steven                   1.3 Participate in a call with UCC on plan process and plan structure proposal.

 21 Total                                              53.5

   24       6/1/2023    Sveen, Andrew                   1.9 Make preparations for the April 2023 fee statement exhibits.

   24       6/1/2023    Gray, Michael                   2.1 Review April fee application exhibits.

   24       6/1/2023    Sveen, Andrew                   2.7 Prepare April 2023 fee application.

   24       6/1/2023    Sveen, Andrew                   2.8 Continue to prepare April fee application for filing.

   24       6/2/2023    Sveen, Andrew                   1.8 Make preparations for the April 2023 fee statement exhibits.

   24       6/2/2023    Sveen, Andrew                   2.1 Continue to prepare April 2023 fee statement.

   24       6/2/2023    Gray, Michael                   1.6 Review April fee application exhibits.

   24       6/3/2023    Sveen, Andrew                   2.2 Continue to prepare exhibits for April 2023 fee statement.

   24       6/3/2023    Sveen, Andrew                   0.7 Prepare exhibits for filing of April 2023 fee application.

   24       6/4/2023    Sveen, Andrew                   1.3 Continue to prepare April 2023 fee application for filing.

   24       6/5/2023    Sveen, Andrew                   1.2 Continue to develop March fee application exhibits.

   24       6/5/2023    Sveen, Andrew                   2.2 Review updates to the March fee application.

   24       6/5/2023    Sveen, Andrew                   2.5 Conduct quality check of the March fee application.

   24       6/5/2023    Sveen, Andrew                   1.9 Prepare entries for fee application to ensure compliance with bankruptcy
                                                            code.
   24       6/5/2023    Gray, Michael                   2.3 Review April fee application exhibits.

   24       6/6/2023    Sveen, Andrew                   0.9 Continue to develop March fee application exhibits filing.

   24       6/6/2023    Dawson, Maxwell                 1.9 Prepare second interim fee application.




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Task Code     Date             Professional      Hours                                    Activity
   24       6/6/2023    Gray, Michael                2.9 Review April fee application exhibits.

   24       6/6/2023    Sveen, Andrew                 2.2 Prepare March fee application.

   24       6/6/2023    Sveen, Andrew                 1.1 Prepare quality check on March fee application.

   24       6/6/2023    Gray, Michael                 1.9 Continue to prepare April fee application exhibits.

   24       6/6/2023    Gray, Michael                 0.4 Prepare preliminary draft of April fee application.

   24       6/7/2023    Dawson, Maxwell               1.0 Prepare second interim fee application.

   24       6/7/2023    Dawson, Maxwell               1.2 Continue to prepare second interim fee application.

   24       6/7/2023    Sveen, Andrew                 0.9 Finalize April 2023 fee application for filing.

   24       6/7/2023    Dawson, Maxwell               0.4 Review April fee application exhibits.

   24       6/7/2023    Gray, Michael                 1.8 Provide comments on draft April fee application.

   24       6/7/2023    Sveen, Andrew                 0.7 Continue to prepare the April fee application for filing.

   24       6/7/2023    Gray, Michael                 0.6 Revise draft for second interim fee application.

   24       6/11/2023   Diaz, Matthew                 2.6 Review April fee statement.

   24       6/12/2023   Dawson, Maxwell               0.5 Finalize April fee application exhibits.

   24       6/12/2023   Gray, Michael                 1.2 Review April fee application.

   24       6/12/2023   Sveen, Andrew                 0.7 Prepare second interim fee application for filing.

   24       6/12/2023   Sveen, Andrew                 0.8 Continue to revise April 2023 fee application.

   24       6/12/2023   Sveen, Andrew                 1.5 Revise April 2023 fee application.

   24       6/12/2023   Gray, Michael                 0.7 Review interim fee application supplement.

   24       6/12/2023   Diaz, Matthew                 0.6 Conduct final review of the April fee statement.

   24       6/13/2023   Gray, Michael                 0.8 Provide comments on the draft for the second interim fee application.

   24       6/13/2023   Bromberg, Brian               0.9 Review task code descriptions for the interim fee application.

   24       6/13/2023   Dawson, Maxwell               1.9 Prepare second interim fee application exhibits.

   24       6/13/2023   Dawson, Maxwell               1.0 Prepare second interim fee application.

   24       6/13/2023   Dawson, Maxwell               0.4 Finalize April fee application for filing.




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Task Code     Date              Professional       Hours                                    Activity
   24       6/13/2023   Sveen, Andrew                  0.3 Prepare second interim fee application for filing.

   24       6/13/2023   Hellmund-Mora, Marili           1.2 Continue to update the April fee application.

   24       6/13/2023   Sveen, Andrew                   0.9 Finalize April fee application.

   24       6/13/2023   Sveen, Andrew                   1.1 Continue to make preparations to the April 2023 fee application for filing.

   24       6/13/2023   Gray, Michael                   0.5 Continue to finalize the April fee application.

   24       6/13/2023   Sveen, Andrew                   0.9 Revise fee application for April 2023 for filing.

   24       6/14/2023   Dawson, Maxwell                 0.3 Continue to update second interim fee app.

   24       6/14/2023   Gray, Michael                   2.7 Review second interim fee application.

   24       6/14/2023   Diaz, Matthew                   2.1 Provide comments on the second interim fee application.

   24       6/14/2023   Diaz, Matthew                   0.7 Finalize the April fee statement.

   24       6/15/2023   Dawson, Maxwell                 0.9 Prepare May fee application.

   24       6/15/2023   Dawson, Maxwell                 0.8 Finalize second interim fee application supplement.

   24       6/15/2023   Dawson, Maxwell                 0.2 Coordinate filing of second interim fee application.

   24       6/15/2023   Sveen, Andrew                   0.8 Continue to prepare May 2023 fee application.

   24       6/15/2023   Sveen, Andrew                   1.4 Make initial preparations for May 2023 fee application.

   24       6/16/2023   Sveen, Andrew                   0.9 Continue to prepare May 2023 fee application exhibits for filing.

   24       6/16/2023   Sveen, Andrew                   1.5 Prepare May 2023 fee application exhibits for filing.

   24       6/16/2023   Sveen, Andrew                   0.4 Review issues related to May 2023 fee application.

   24       6/16/2023   Sveen, Andrew                   2.1 Prepare May 2023 fee application.

   24       6/16/2023   Gray, Michael                   0.8 Review May fee application.

   24       6/18/2023   Dawson, Maxwell                 0.7 Prepare May fee application.

   24       6/19/2023   Dawson, Maxwell                 0.4 Prepare May fee application.

   24       6/19/2023   Sveen, Andrew                   0.6 Continue to make preparations to the April 2023 fee application.

   24       6/19/2023   Sveen, Andrew                   2.7 Make preparations for the May 2023 fee application.

   24       6/19/2023   Sveen, Andrew                   0.5 Continue to prepare the May fee application.




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Task Code     Date              Professional      Hours                                     Activity
   24       6/19/2023   Sveen, Andrew                 1.1 Prepare exhibits for the May fee application to be filed.

   24       6/20/2023   Sveen, Andrew                  2.2 Prepare May 2023 fee application.

   24       6/20/2023   Sveen, Andrew                  1.8 Prepare May 2023 fee application.

   24       6/20/2023   Sveen, Andrew                  2.9 Continue to prepare May 2023 fee application.

   24       6/20/2023   Gray, Michael                  0.4 Provide comments to the second interim fee application supporting
                                                           information.
   24       6/21/2023   Sveen, Andrew                  2.6 Continue to develop May fee application.

   24       6/21/2023   Sveen, Andrew                  2.4 Develop May fee application exhibits.

   24       6/22/2023   Dawson, Maxwell                0.7 Prepare May fee application.

   24       6/22/2023   Sveen, Andrew                  1.4 Prepare template for fee application filing.

   24       6/27/2023   Sveen, Andrew                  2.1 Prepare May 2023 fee application.

   24       6/28/2023   Dawson, Maxwell                1.1 Prepare May fee application exhibits.

   24       6/28/2023   Sveen, Andrew                  1.4 Continue preparations for filing May fee application.

   24       6/28/2023   Sveen, Andrew                  1.8 Continue preparations for filing May fee application.

   24       6/29/2023   Dawson, Maxwell                0.5 Continue to prepare May fee application exhibits.

   24       6/29/2023   Sveen, Andrew                  2.9 Continue to develop fee application for May 2023.

   24       6/29/2023   Dawson, Maxwell                1.7 Prepare May fee application exhibits.

   24       6/29/2023   Sveen, Andrew                  1.4 Develop fee application for filing.

   24       6/30/2023   Sveen, Andrew                  1.7 Develop fee application to ensure compliance with bankruptcy code.

   24       6/30/2023   Dawson, Maxwell                0.2 Prepare May fee application.

   24       6/30/2023   Sveen, Andrew                  1.2 Develop exhibits supporting May fee application.

   24       6/30/2023   Sveen, Andrew                  2.5 Continue to prepare May fee application.

   24       6/30/2023   Sveen, Andrew                  2.9 Continue to assemble exhibits for May fee application.

 24 Total                                            123.1

   26       6/1/2023    Simms, Steven                  0.6 Evaluate items related to coin monetization.

   26       6/1/2023    Bromberg, Brian                0.5 Prepare agenda for upcoming call re: coin monetization.




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Task Code     Date              Professional       Hours                                  Activity
   26       6/1/2023   Risler, Franck                  0.6 Review hedging and asset monetization strategies for UCC.

   26       6/1/2023   Majkowski, Stephanie             0.5 Assess Debtors' crypto portfolio risks and associated derivatives and trading
                                                            information.
   26       6/1/2023   Diodato, Michael                 2.3 Write summary of methodologies for presentation to the Debtors on
                                                            portfolio risks.
   26       6/1/2023   Diodato, Michael                 2.9 Write summary of risk slides for a presentation to the Debtors on the
                                                            portfolio risk.
   26       6/1/2023   Diodato, Michael                 2.2 Write executive summary for presentation to the Debtors on the existing
                                                            portfolio's risks.
   26       6/1/2023   Langer, Cameron                  2.3 Analyze viability and utility of institutional crypto data providers for quality
                                                            of historical trading volume data.
   26       6/1/2023   Langer, Cameron                  1.3 Test market data provider derivatives data relevant to the Debtors' holdings.

   26       6/1/2023   Langer, Cameron                  1.8 Assess the availability and quality of trade data from different data providers
                                                            re: coin management.
   26       6/1/2023   Risler, Franck                   0.9 Continue to compare various short-listed crypto market data providers for
                                                            coin management.
   26       6/1/2023   Risler, Franck                   2.6 Draft a slide deck on FTX portfolio performance, risk, coin management
                                                            strategies, and liquidation costs to present to the Debtors.
   26       6/1/2023   de Brignac, Jessica              1.2 Prepare monetization presentation related to staking considerations for
                                                            upcoming discussion with PH.
   26       6/1/2023   de Brignac, Jessica              0.4 Provide comments re: latest coin monetization strategies.

   26       6/1/2023   Kamran, Kainat                   0.5 Revise weekly status slide deck on Debtors' crypto transactions and coin
                                                            monetization.
   26       6/1/2023   Vazquez Ortiz, Fredrix           1.3 Aggregate transactional data related to FTX's risk exposure.

   26       6/1/2023   Vazquez Ortiz, Fredrix           2.7 Review transactional data on Debtors' exposure to risks.

   26       6/2/2023   Kamran, Kainat                   0.3 Assess risk exposures to FTX wallet addresses.

   26       6/2/2023   Simms, Steven                    0.3 Assess latest document production re: coin monetization.

   26       6/2/2023   Diodato, Michael                 2.6 Draft detailed result slides for presentation to the Debtors on portfolio risk.

   26       6/2/2023   Rousskikh, Valeri                2.8 Finalize sourcing crypto option prices from a third-party platform to
                                                            compute future exposure of FTX portfolio.
   26       6/2/2023   Majkowski, Stephanie             2.4 Investigate the data robustness of a third-party data platform specifically for
                                                            ongoing coin management analysis.
   26       6/2/2023   Diodato, Michael                 2.1 Write slides for presentation to the Debtors discussing crypto specific risks.

   26       6/2/2023   Diodato, Michael                 1.9 Create tables summarizing the risks of the portfolio for a presentation to the
                                                            Debtors.
   26       6/2/2023   Majkowski, Stephanie             2.6 Investigate functionality of a third-party platform for ongoing monetization
                                                            analysis and valuations of tokens in FTX positions.
   26       6/2/2023   Guo, Xueying                     2.2 Compare the portfolio value distribution from two separate third-party data
                                                            providers.
   26       6/2/2023   Guo, Xueying                     2.3 Test a third-party provider's market data for certain token options in
                                                            preparation for portfolio value projection analysis.




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Task Code     Date            Professional       Hours                                       Activity
   26       6/2/2023   Guo, Xueying                  2.1 Compare the implied volatility surface between two separate third-party
                                                         platforms.
   26       6/2/2023   Guo, Xueying                  2.6 Calculate the projected portfolio value distribution for the Debtor's portfolio
                                                         using a third-party platform's data.
   26       6/2/2023   Majkowski, Stephanie          0.7 Summarize review of a crypto market data provider specifically for ongoing
                                                         coin monetization.
   26       6/2/2023   Risler, Franck                2.1 Revise slide deck on FTX portfolio performance, risk, and liquidation cost
                                                         to present to the Debtors.
   26       6/2/2023   Risler, Franck                0.6 Draft email correspondence in response to recent A&M inquiries on triparty
                                                         collateral setup agreement and credit agreement for liquidity providers.

   26       6/2/2023   Risler, Franck                 0.7 Finalize the due diligence of various crypto market data providers coin
                                                          management purposes.
   26       6/2/2023   Risler, Franck                 0.4 Draft preliminary agenda on upcoming meeting with the UCC re:
                                                          monetization.
   26       6/2/2023   Langer, Cameron                1.6 Write presentation for UCC to highlight the risks of the Debtors' crypto
                                                          portfolio.
   26       6/2/2023   Langer, Cameron                1.4 Analyze current liquidation costs for the Debtors' crypto holdings.

   26       6/2/2023   Langer, Cameron                0.8 Perform quality assessment of different crypto data providers for the
                                                          purpose of accurate pricing and monetization analysis.
   26       6/2/2023   Langer, Cameron                1.1 Review the quality of institutional market data providers for the purpose of
                                                          precise pricing at specific points in time.
   26       6/2/2023   Langer, Cameron                2.7 Summarize current risk and return analysis of Debtors' crypto assets for
                                                          UCC presentation.
   26       6/2/2023   Diaz, Matthew                  0.6 Provide comments on the coin monetization analysis.

   26       6/2/2023   Kubali, Volkan                 2.5 Revise the tables and charts of coin risk-analysis for FTX management to
                                                          include new data.
   26       6/2/2023   Kubali, Volkan                 2.6 Update the presentation on the process by which the Debtors buy and sell
                                                          crypto assets.
   26       6/2/2023   Watson, Ching                  2.4 Prepare presentation deck re: coin monetization and valuation to prepare for
                                                          an upcoming meeting with the UCC.
   26       6/2/2023   de Brignac, Jessica            0.6 Review FTX plan draft document from PH to assess its relationship to
                                                          crypto claims and distributions.
   26       6/3/2023   Watson, Ching                  2.1 Prepare UCC report re: updated coin monetization and valuation impact on
                                                          plan structures.
   26       6/3/2023   McNew, Steven                  0.4 Perform review of the most recent recovery waterfall analysis with a focus
                                                          on crypto pricing.
   26       6/4/2023   Watson, Ching                  2.1 Prepare a draft executive summary of the UCC crypto report.

   26       6/4/2023   Watson, Ching                  1.6 Revise summary page for presentation to UCC on crypto analysis updates.

   26       6/5/2023   Majkowski, Stephanie           0.4 Correspond with A&M (K. Ramanthan) to review possible data providers
                                                          for ongoing coin management analysis and tokens valuations.
   26       6/5/2023   Gray, Michael                  0.6 Assess the latest considerations from UCC on strategies for coin
                                                          monetization and hedging.
   26       6/5/2023   Diodato, Michael               2.8 Analyze data availability and coverage for different crypto providers.

   26       6/5/2023   Kubali, Volkan                 1.7 Investigate refinements to the control process by which the Debtors can
                                                          potentially buy, sell and hedge crypto exposure and risk.




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Task Code     Date            Professional       Hours                                       Activity
   26       6/5/2023   Guo, Xueying                  1.9 Explore express data requests from a certain third-party platform in
                                                         preparation for incorporating the new data source in to the FTX portfolio
                                                         analysis.
   26       6/5/2023   Guo, Xueying                  2.4 Assess various options on incorporating the volatility skew from crypto
                                                         options into the portfolio projection analysis.
   26       6/5/2023   Diodato, Michael              1.5 Review possible crypto data provider's data availability and speed.

   26       6/5/2023   Majkowski, Stephanie           2.1 Assess expected token delistings within FTX portfolio and analyze changes
                                                          in volumes traded for ongoing coin management analysis.
   26       6/5/2023   Guo, Xueying                   2.3 Prepare description and presentation of the portfolio projection analyses for
                                                          FTX UCC.
   26       6/5/2023   Guo, Xueying                   2.1 Review a certain third-party platform's data to prepare for FTX portfolio
                                                          analysis.
   26       6/5/2023   Bromberg, Brian                0.5 Provide comments on crypto pricing summary.

   26       6/5/2023   Majkowski, Stephanie           0.6 Review comparison of results from various third-party crypto data
                                                          platforms.
   26       6/5/2023   Risler, Franck                 0.4 Draft an update email to the UCC re: updates to coin monetization
                                                          strategies.
   26       6/5/2023   Diodato, Michael               1.8 Draft slides on crypto asset monetization plans with updates from call with
                                                          PH.
   26       6/5/2023   Diodato, Michael               1.0 Continue to draft slides on crypto asset monetization with updates from call
                                                          with PH.
   26       6/5/2023   Majkowski, Stephanie           2.2 Compare available tokens across data providers for ongoing coin
                                                          management analysis.
   26       6/5/2023   Majkowski, Stephanie           0.8 Evaluate certain data provider for available tokens to assist in coin
                                                          management analysis.
   26       6/5/2023   Risler, Franck                 0.8 Update the computation of the profit and loss distribution projection of the
                                                          FTX coin portfolio using data from a third-party platform.
   26       6/5/2023   Risler, Franck                 0.4 Summarize updates to the FTX coin portfolio projections to prepare for an
                                                          upcoming meeting with the UCC.
   26       6/5/2023   Risler, Franck                 0.6 Update presentation for the UCC for the token hedging protocols based on
                                                          the latest feedback from PH.
   26       6/5/2023   Langer, Cameron                1.3 Evaluate key risk drivers in the FTX portfolio to determine the viability of
                                                          macro hedges.
   26       6/5/2023   Langer, Cameron                2.4 Assess the coverage of an institutional crypto market data provider for the
                                                          Debtors' token holdings for risk and performance analysis.
   26       6/5/2023   Langer, Cameron                1.3 Prepare slides for UCC outlining portfolio diversification and risk-adjusted
                                                          performance for the Debtors' holdings.
   26       6/5/2023   Langer, Cameron                2.2 Calculate liquidation costs for the subset of the Debtors' portfolio held in
                                                          wallets for coin management purposes.
   26       6/5/2023   Watson, Ching                  0.6 Summarize analyses associated with the FTX crypto portfolio to be
                                                          presented to the Debtors in the context of the coin management strategy.
   26       6/5/2023   de Brignac, Jessica            0.6 Review potential plan structures and creditor recovery presentation draft as
                                                          it relates to crypto allocations.
   26       6/5/2023   de Brignac, Jessica            0.4 Continue to summarize latest coin monetization and valuation strategies re:
                                                          hedging protocols.
   26       6/5/2023   de Brignac, Jessica            0.4 Review crypto tracing request re: various account transaction validation.

   26       6/5/2023   de Brignac, Jessica            0.3 Analyze token tracing and custodian risk analysis items.




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Task Code     Date            Professional        Hours                                       Activity
   26       6/5/2023   Kamran, Kainat                 2.5 Track list of crypto transactions from certain Debtor entities.

   26       6/5/2023   Kamran, Kainat                  0.4 Assess validation of a certain Debtor entity's wallet transactions to obtain
                                                           wallet addresses to attribute to transaction IDs.
   26       6/5/2023   McNew, Steven                   0.8 Assess latest crypto pricing as a component of the waterfall analysis.

   26       6/5/2023   Risler, Franck                  1.4 Participate in a call with PH (E.Gilad, G. Sasson, E. Sibitt) and FTI (M.
                                                           Diodato) on coin management strategies.
   26       6/5/2023   Diodato, Michael                1.4 Attend call with PH (E.Gilad, G. Sasson, E. Sibitt) and FTI (F. Risler)
                                                           regarding crypto de-risking.
   26       6/5/2023   Bromberg, Brian                 1.4 Attend a call with PH (E.Gilad, G. Sasson, E. Sibitt) and FTI (F. Risler, M.
                                                           Diodato) re: hedging approvals.
   26       6/5/2023   de Brignac, Jessica             1.4 Participate in a call with PH (E.Gilad, G. Sasson, E. Sibitt) and FTI (F.
                                                           Risler, M. Diodato) to discuss the draft presentation to Debtors on crypto
                                                           monetization options and requests.
   26       6/5/2023   Diodato, Michael                0.4 Attend call with A&M (K. Ramanathan, A. Sivapal) regarding potential
                                                           crypto data providers.
   26       6/6/2023   Majkowski, Stephanie            2.3 Assess SEC claims filed against a third-party company re: tokens being
                                                           categorized as crypto securities by the SEC and estimate impact on FTX
                                                           portfolio.
   26       6/6/2023   Bromberg, Brian                 0.5 Review regulatory agency actions to understand potential impact on Debtors
                                                           re: recent crypto regulations.
   26       6/6/2023   Leonaitis, Isabelle             0.6 Analyze comments on latest analysis into the token liquidation and
                                                           additional token related items.
   26       6/6/2023   Diodato, Michael                2.5 Analyze downside risk of the portfolio using updated pricing data.

   26       6/6/2023   Kubali, Volkan                  1.7 Investigate the options to structure the process by which the Debtors can
                                                           buy, sell, or hedge crypto assets.
   26       6/6/2023   Kubali, Volkan                  0.8 Revise the presentation of crypto risk-analysis for FTX management.

   26       6/6/2023   Guo, Xueying                    2.4 Update certain tokens volatility market surface using data from a third-party
                                                           platform.
   26       6/6/2023   Diodato, Michael                2.5 Analyze the risk of correlation in the latest portfolio.

   26       6/6/2023   Guo, Xueying                    2.1 Test a certain third-party platform to load relevant crypto options trades.

   26       6/6/2023   Diodato, Michael                0.3 Summarize latest crypto data and related issues in preparation for a call with
                                                           A&M.
   26       6/6/2023   Diodato, Michael                2.8 Analyze pricing analysis in connection with determining diversification risk
                                                           of the latest portfolio data.
   26       6/6/2023   Bromberg, Brian                 0.4 Review issues related to Debtors' token holdings.

   26       6/6/2023   Majkowski, Stephanie            2.5 Analyze the impact of delisting tokens and tokens categorized by the SEC as
                                                           securities on trading volumes to assess impact on FTX portfolio
                                                           monetization.
   26       6/6/2023   Majkowski, Stephanie            1.0 Create a summary of data source comparison analytics to be shared with
                                                           A&M.
   26       6/6/2023   Risler, Franck                  1.4 Assess impact of SEC charges against a third-party crypto company and the
                                                           classification of some of FTX holdings as securities on their monetization
                                                           value.




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Task Code     Date              Professional      Hours                                       Activity
   26       6/6/2023   Risler, Franck                 1.7 Draft executive summary presentation on latest FTX portfolio performance,
                                                          risk, and liquidation cost to be shared with the UCC in order to support coin
                                                          management activity.
   26       6/6/2023   Risler, Franck                 0.3 Provide comments on recent investigations into the impact of certain coins
                                                          or tokens being classified as securities by SEC.
   26       6/6/2023   Majkowski, Stephanie           0.5 Assess most recent updates to the status of the Debtors' token holdings.

   26       6/6/2023   Guo, Xueying                    2.9 Test run to load a certain third-party data platform's historical price level
                                                           data for top 100 tokens in the FTX portfolio.
   26       6/6/2023   Langer, Cameron                 1.2 Summarize the relative upside versus downside performance for the top
                                                           tokens in the Debtors' crypto holdings.
   26       6/6/2023   Langer, Cameron                 1.6 Calculate optimal liquidation costs for the non-insider tokens in the Debtors'
                                                           crypto holdings.
   26       6/6/2023   Langer, Cameron                 2.1 Calculate risk-adjusted performance measures for the most sizable holdings
                                                           in the Debtors' cryptocurrency portfolio.
   26       6/6/2023   Langer, Cameron                 2.3 Analyze the downside risk exposure of the Debtors' crypto portfolio over the
                                                           past year to quantify market risk.
   26       6/6/2023   Langer, Cameron                 0.8 Compare volatility in crypto to traditional markets to establish benchmarks
                                                           for risk analysis of the Debtors' holdings.
   26       6/6/2023   Kubali, Volkan                  1.9 Analyze latest option prices to project future coin portfolio performance for
                                                           risk analysis report.
   26       6/6/2023   Watson, Ching                   2.4 Prepare executive summary on performance, risk, and liquidation cost
                                                           analyses of the FTX portfolio for the UCC.
   26       6/6/2023   Leonaitis, Isabelle             0.3 Update the monetization presentation to prepare for an upcoming call with
                                                           A&M.
   26       6/6/2023   Leonaitis, Isabelle             2.4 Review addresses related to pre-petition venture investment transactions re:
                                                           potential avoidance actions.
   26       6/6/2023   de Brignac, Jessica             0.3 Summarize comments received from the Debtors re: token monetization.

   26       6/6/2023   de Brignac, Jessica             0.5 Provide comments on staking updates and latest coin monetization
                                                           presentation.
   26       6/6/2023   Kamran, Kainat                  0.5 Analyze recent crypto pricing data to determine the value of certain tokens.

   26       6/6/2023   Diodato, Michael                0.5 Attend meeting with A&M to discuss crypto pricing (K. Ramanathan, L.
                                                           Callerio) to discuss data providers and other crypto data requests.
   26       6/6/2023   Risler, Franck                  0.5 Participate in a call with A&M (K. Ramanathan, L. Callerio) on token
                                                           issues.
   26       6/6/2023   de Brignac, Jessica             0.5 Participate in a call with A&M (K. Ramanathan, L. Callerio) re: token
                                                           updates and other crypto issues.
   26       6/7/2023   Leonaitis, Isabelle             1.0 Assess token monetization issues in relation to plan strategies.

   26       6/7/2023   Sveen, Andrew                   0.3 Summarize data room uploads from the Debtors including the latest coin
                                                           report.
   26       6/7/2023   Guo, Xueying                    2.3 Build the model to sample a certain token's volatilities from the volatility
                                                           skew.
   26       6/7/2023   Guo, Xueying                    1.9 Research a third-party data platform's coverage universe to investigate and
                                                           confirm the tokens that are not covered by the platform.
   26       6/7/2023   Majkowski, Stephanie            2.7 Analyze a regulatory agency claims filed against a third-party regarding
                                                           tokens categorized as crypto securities to assess the potential impact on the
                                                           FTX portfolio.
   26       6/7/2023   Diodato, Michael                2.4 Analyze updated liquidation cost analysis for the portfolio for impacts
                                                           related to regulatory agency actions.



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Task Code     Date             Professional       Hours                                       Activity
   26       6/7/2023   Diodato, Michael               2.1 Analyze the cost of liquidating the portfolio of crypto based on the latest
                                                          report of volume and prices.
   26       6/7/2023   Majkowski, Stephanie           2.3 Compare volume changes calculation between two third-party data
                                                          platforms for ongoing coin management analysis.
   26       6/7/2023   Guo, Xueying                   2.8 Test the method to back out portfolio value distributions from sampled
                                                          option prices on a grid of strikes.
   26       6/7/2023   Risler, Franck                 0.6 Assess the coin portfolio report as of 05/26/23 provided by the Debtors.

   26       6/7/2023   Diodato, Michael                1.8 Analyze downside risk of the portfolio using updated pricing data.

   26       6/7/2023   Diodato, Michael                1.3 Update summary of results in presentation related to risk reporting of the
                                                           crypto portfolio.
   26       6/7/2023   Risler, Franck                  0.4 Finalize UCC report re: updated token monetization strategies.

   26       6/7/2023   Langer, Cameron                 1.7 Compare risk-adjusted performance of the top holdings in the Debtors'
                                                           portfolio to a certain token as a proxy for the crypto market.
   26       6/7/2023   Langer, Cameron                 2.3 Compare reported trading volumes for crypto assets across different data
                                                           providers for an accurate assessment of market liquidity.
   26       6/7/2023   Langer, Cameron                 1.1 Calculate recent performance and volatility of the top crypto assets in the
                                                           Debtors' holdings.
   26       6/7/2023   Langer, Cameron                 2.9 Analyze the market liquidity of crypto tokens classified as securities by a
                                                           regulatory authority in recent actions against two crypto platforms.
   26       6/7/2023   Watson, Ching                   0.9 Draft scope of analysis for presentation to the Debtors re: token valuation
                                                           and monetization.
   26       6/7/2023   Watson, Ching                   1.5 Continue to draft executive summary on performance, risk, and liquidation
                                                           cost analyses.
   26       6/7/2023   Watson, Ching                   1.6 Supplement presentation for Debtors with additional liquidation cost
                                                           analyses.
   26       6/7/2023   Risler, Franck                  0.2 Participate in a call with PH (G. Sasson) on protocol to buy, sell, hedge, or
                                                           stake certain crypto tokens.
   26       6/7/2023   Risler, Franck                  0.2 Attend a call with A&M (K. Ramanathan) on an updated proposal for coin
                                                           hedging.
   26       6/8/2023   Leonaitis, Isabelle             1.5 Assess latest coin report for changes in coin pricing.

   26       6/8/2023   Leonaitis, Isabelle             1.7 Continue to evaluate changes in coin valuations for the Debtors' digital
                                                           holdings.
   26       6/8/2023   Sveen, Andrew                   0.2 Analyze the Debtors' latest data room updates re: coin report.

   26       6/8/2023   Rousskikh, Valeri               2.9 Review estimations of implied volatilities of illiquid coins in FTX portfolio
                                                           for an analysis of future exposure distribution.
   26       6/8/2023   Rousskikh, Valeri               1.6 Analyze calibration of volatility surface and sourcing volatilities using data
                                                           to estimate hedging costs for FTX portfolio.
   26       6/8/2023   Rousskikh, Valeri               1.5 Assess outcomes of volatility analysis to determine hedging costs for FTX
                                                           portfolio.
   26       6/8/2023   Rousskikh, Valeri               2.8 Review historical data and calculation of realized volatilities an analysis of
                                                           future exposure distribution of FTX portfolio.
   26       6/8/2023   Majkowski, Stephanie            1.0 Consolidate available tokens and token metrics from data provider for
                                                           ongoing coin management analysis.
   26       6/8/2023   Guo, Xueying                    2.1 Rewrite crypto price data import method to use appropriate aggregation
                                                           metrics.




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Task Code     Date            Professional        Hours                                       Activity
   26       6/8/2023   Guo, Xueying                   2.8 Update portfolio value projections using new data and revised projection
                                                          method.
   26       6/8/2023   Guo, Xueying                   2.3 Test various metrics available from data provider to aggregate crypto price
                                                          levels across exchanges.
   26       6/8/2023   Majkowski, Stephanie           2.2 Investigate available documentation and aggregate pricing methodology
                                                          used by data provider for ongoing coin management analysis.
   26       6/8/2023   Risler, Franck                 2.8 Estimate the Value at Risk and Expected Shortfall at the coin level of the
                                                          latest updated FTX portfolio.
   26       6/8/2023   Risler, Franck                 2.3 Continue to estimate the Value at Risk and Expected Shortfall at the coin
                                                          level of the latest updated FTX portfolio.
   26       6/8/2023   Risler, Franck                 1.4 Analyze recent change in liquidity for FTX top holdings for the purpose of
                                                          coin monetization.
   26       6/8/2023   Langer, Cameron                0.7 Retrieve crypto price and volume data from an institutional market data
                                                          provider for use in downside risk and upside potential assessment.
   26       6/8/2023   Langer, Cameron                2.8 Analyze the sensitivity of market risk and performance metrics to the choice
                                                          of institutional crypto data provider.
   26       6/8/2023   Langer, Cameron                1.9 Prepare presentation summarizing current market and liquidity risks to the
                                                          Debtors' crypto holdings.
   26       6/8/2023   Langer, Cameron                2.6 Calculate potential liquidation costs using the latest crypto data to accurately
                                                          reflect reduced liquidity in the market.
   26       6/8/2023   Diaz, Matthew                  0.7 Review materials for the UCC re: crypto asset monetization strategies.

   26       6/8/2023   Watson, Ching                   0.8 Prepare presentation deck on the performance, risk and liquidation cost of
                                                           the FTX portfolio for the UCC.
   26       6/8/2023   Watson, Ching                   2.9 Conduct quality check review of performance and risk metrics for FTX
                                                           portfolio as presented in deck for Debtors.
   26       6/8/2023   Watson, Ching                   2.5 Summarize portfolio value projection analysis and risk-adjusted return
                                                           metrics for the purpose of supporting the coin management strategy.
   26       6/8/2023   de Brignac, Jessica             0.6 Review staking report provided by A&M.

   26       6/8/2023   de Brignac, Jessica             0.5 Analyze updates to staking and monetization analysis updates.

   26       6/8/2023   Kamran, Kainat                  0.3 Review Debtors' financials to incorporate into updated deck summarizing
                                                           crypto analysis.
   26       6/8/2023   McNew, Steven                   0.6 Review summary of information from Jefferies on feedback re: certain
                                                           entity's staking and sale to strategic investor.
   26       6/8/2023   Carter, Michael                 1.4 Review effects of regulatory activities on token monetization strategies.

   26       6/8/2023   Diodato, Michael                0.3 Participate in a call with third-party data provider related to the cost and
                                                           terms of data.
   26       6/9/2023   Leonaitis, Isabelle             1.6 Analyze changes in historical pricing for the Debtors' token holdings.

   26       6/9/2023   Leonaitis, Isabelle             1.4 Evaluate liquidation scenarios for the Debtors' tokens.

   26       6/9/2023   Diodato, Michael                0.9 Attend a call with PH to prepare for upcoming UCC meeting (G. Sasson, I.
                                                           Sasson, E. Gilad) re: monetization.
   26       6/9/2023   Risler, Franck                  0.9 Participate in a call with PH (G. Sasson, I. Sasson, E. Gilad) re:
                                                           monetization strategy.
   26       6/9/2023   Simms, Steven                   0.9 Attend a meeting with PH (G. Sasson, I. Sasson, E. Gilad) coin
                                                           monetization procedures.




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Task Code     Date             Professional      Hours                                      Activity
   26       6/9/2023   de Brignac, Jessica           0.9 Participate in a call with PH (G. Sasson, I. Sasson, E. Gilad) re: token
                                                         monetization issues.
   26       6/9/2023   Rousskikh, Valeri             1.8 Analyze calculation of synthetic portfolio option prices for constructing
                                                         future exposure distribution of FTX portfolio to support coin management.
   26       6/9/2023   Rousskikh, Valeri             1.4 Perform additional calculations of syntenic portfolio option prices for
                                                         construction of exposure distribution of FTX portfolio.
   26       6/9/2023   Rousskikh, Valeri             2.7 Review future exposure distribution of FTX portfolio obtained using
                                                         synthetic options approach vs. historical simulation in order to estimate FTX
                                                         portfolio market exposure.
   26       6/9/2023   Rousskikh, Valeri             2.4 Analyze future exposure distribution of FTX portfolio using different
                                                         methods for estimating volatility and correlation parameters.
   26       6/9/2023   Guo, Xueying                  2.1 Verify the updated portfolio projection results.

   26       6/9/2023   Guo, Xueying                   2.2 Transform the projected portfolio value distribution to compare results with
                                                          alternative estimations.
   26       6/9/2023   Diodato, Michael               2.9 Analyze the change in pricing when using a new third-party data source.

   26       6/9/2023   Majkowski, Stephanie           2.1 Calculate updated liquidation metrics for FTX portfolio monetization cost
                                                          analysis.
   26       6/9/2023   Majkowski, Stephanie           1.7 Calculate average daily volumes and daily price volatility from various data
                                                          sources for unwind cost comparison for FTX portfolio risk reporting.
   26       6/9/2023   Majkowski, Stephanie           1.9 Analyze average daily volumes and price volatility for unwind cost
                                                          comparison.
   26       6/9/2023   Majkowski, Stephanie           0.8 Review coin data from potential data providers for ongoing coin
                                                          management analysis.
   26       6/9/2023   Diodato, Michael               1.9 Analyze latest token risks based on updated market data.

   26       6/9/2023   Risler, Franck                 0.7 Assess the deck on FTX coin custodian selection provided by the Debtors to
                                                          assess the best option for custody and staking of certain coin.
   26       6/9/2023   Risler, Franck                 0.3 Update the presentation on process and approval to buy, sell, and stake
                                                          crypto to reflect final recommendations prior to UCC meeting.
   26       6/9/2023   Majkowski, Stephanie           2.1 Create memo summarizing details of the recent regulatory filings against
                                                          certain third parties re: specific tokens classified as crypto asset securities.
   26       6/9/2023   Majkowski, Stephanie           1.3 Perform research on regulatory filings on certain crypto exchanges for coin
                                                          management analysis.
   26       6/9/2023   Risler, Franck                 1.4 Integrate full coin volatility analysis to account for volatility of Debtors'
                                                          profit and loss distribution to advance coin management strategy.
   26       6/9/2023   Risler, Franck                 2.6 Revise draft presentation to UCC analyzing performance metrics for FTX
                                                          coins and portfolio in context of coin management strategy implementation.
   26       6/9/2023   Watson, Ching                  2.8 Prepare quality check on descriptions for projected correlation analysis and
                                                          coins return metrics.
   26       6/9/2023   Watson, Ching                  1.9 Prepare technical appendices on FTX portfolio's valuation projection and
                                                          liquidation analysis of the presentation deck for the UCC.
   26       6/9/2023   Watson, Ching                  2.6 Prepare technical appendices on risk metrics and principal component
                                                          analysis methodology for the presentation deck for the UCC.
   26       6/9/2023   de Brignac, Jessica            0.9 Review staking report for certain coin provided by A&M.

   26       6/9/2023   Kamran, Kainat                 1.7 Review materials for UCC re: coin custody options.

   26       6/9/2023   Kamran, Kainat                 0.6 Review custody options for certain coin to propose questions list for A&M.




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Task Code     Date             Professional        Hours                                    Activity
   26       6/12/2023   Simms, Steven                  0.7 Evaluate asset monetization report and strategies.

   26       6/12/2023   Simms, Steven                   0.8 Review issues re: monetization of Debtors' assets.

   26       6/12/2023   Bromberg, Brian                 0.7 Conduct overview of the Debtors' asset monetization plans.

   26       6/12/2023   Rousskikh, Valeri               1.7 Analyze robust correlation methods and their applicability to FTX portfolio
                                                            structure to capture FTX portfolio value dynamics in the context of coin
                                                            management.
   26       6/12/2023   Rousskikh, Valeri               1.5 Assess coin management proposals based on analysis of correlation methods
                                                            for FTX portfolio structure.
   26       6/12/2023   Rousskikh, Valeri               2.1 Update standalone liquidation analysis computations based on the latest
                                                            FTX portfolio position report and market data for waterfall analysis.
   26       6/12/2023   Rousskikh, Valeri               1.9 Examine application of robust correlation methods for capturing FTX
                                                            portfolio value dynamics.
   26       6/12/2023   Guo, Xueying                    2.7 Test the robust correlations of FTX tokens in data analysis framework.

   26       6/12/2023   Majkowski, Stephanie            2.5 Prepare reconciliation of revised liquidation analysis results.

   26       6/12/2023   Majkowski, Stephanie            2.9 Compare data for liquidation analysis from multiple providers.

   26       6/12/2023   Guo, Xueying                    2.3 Adjust the correlation matrix of FTX's top 100 holdings to weight recent
                                                            data heavier than past data.
   26       6/12/2023   Guo, Xueying                    2.1 Review robust correlation methods to evaluate the correlation matrix for
                                                            FTX top 100 tokens.
   26       6/12/2023   Diodato, Michael                2.5 Update risk presentation to reflect updated analysis as of 6/9.

   26       6/12/2023   Majkowski, Stephanie            2.1 Create first draft of token delisting liquidation analysis for FTX coin
                                                            management.
   26       6/12/2023   Risler, Franck                  0.9 Analyze comments and proposals on protocol to transfer crypto to support
                                                            coin management activity.
   26       6/12/2023   Langer, Cameron                 1.8 Analyze the risk and performance impact of the past month's crypto market
                                                            volatility on the Debtors' portfolio.
   26       6/12/2023   Risler, Franck                  0.9 Analyze comments and proposals from various parties on the proposed
                                                            protocol to buy and sell crypto to support coin management activity.
   26       6/12/2023   Langer, Cameron                 2.6 Refresh dashboard summarizing Debtors' crypto risks to reflect current
                                                            market conditions.
   26       6/12/2023   Langer, Cameron                 2.4 Calculate potential liquidation costs using trading volumes from trusted
                                                            exchanges for the Debtors' crypto holdings.
   26       6/12/2023   Langer, Cameron                 1.2 Retrieve the latest crypto price and trusted trading volume data for the
                                                            tokens in the Debtors' holdings.
   26       6/12/2023   Leonaitis, Isabelle             0.3 Review framework for risks re: monetization of Debtors' crypto assets.

   26       6/12/2023   de Brignac, Jessica             0.4 Research staking data for certain coin in preparation for monetization
                                                            meeting.
   26       6/12/2023   de Brignac, Jessica             0.3 Review updates to staking and token monetization analysis.

   26       6/12/2023   Kamran, Kainat                  1.5 Review materials for UCC on monetization.

   26       6/12/2023   Kamran, Kainat                  0.5 Prepare diligence list for proposed objectives to discuss with UCC re: token
                                                            monetization.




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Task Code     Date           Professional          Hours                                   Activity
   26       6/12/2023   McNew, Steven                  0.7 Review updates to the UCC related to certain digital holdings.

   26       6/13/2023   Risler, Franck                  0.4 Draft email to the UCC re: the selection of a certain third-party data
                                                            platform for coin management.
   26       6/13/2023   Diaz, Matthew                   1.1 Review the coin monetization report.

   26       6/13/2023   Leonaitis, Isabelle             0.5 Prepare token analysis for updates to the Debtors' crypto portfolio.

   26       6/13/2023   Leonaitis, Isabelle             1.5 Review UCC meeting topics related to various token investment items.

   26       6/13/2023   Simms, Steven                   0.6 Evaluate issues related coin monetization strategy.

   26       6/13/2023   Diodato, Michael                1.8 Analyze token risks based on updated market data for June 9.

   26       6/13/2023   Rousskikh, Valeri               1.7 Review the updated portfolio's future projection calculations based on recent
                                                            market data to better account for market exposure.
   26       6/13/2023   Diodato, Michael                1.6 Analyze liquidity risks based on updated market data from June 9.

   26       6/13/2023   Rousskikh, Valeri               2.8 Analyze exponentially weighted correlation estimation methods for
                                                            capturing FTX portfolio value dynamics.
   26       6/13/2023   Rousskikh, Valeri               2.6 Provide cross-check analysis of preliminary correlation estimation results
                                                            across different methods for capturing FTX portfolio value dynamics.
   26       6/13/2023   Majkowski, Stephanie            2.2 Analyze differences between trusted and reported volumes for delisted coin
                                                            liquidation analysis.
   26       6/13/2023   Guo, Xueying                    1.6 Evaluate the correlation matrix of FTX top 100 tokens using only stressful
                                                            market scenario data.
   26       6/13/2023   Guo, Xueying                    2.6 Test the parameters used for robust and weighted correlation matrix
                                                            modeling.
   26       6/13/2023   Majkowski, Stephanie            0.3 Finalize the review of delisted coin liquidation for ongoing coin
                                                            management.
   26       6/13/2023   Majkowski, Stephanie            2.1 Research trusted token volume data to improve the accuracy of the delisted
                                                            coin liquidation analysis.
   26       6/13/2023   Risler, Franck                  1.1 Compare the impacts of certain token hedging and monetization strategies to
                                                            help set parameters for ongoing portfolio management.
   26       6/13/2023   Risler, Franck                  2.3 Calculate the updated liquidation cost for the FTX portfolio.

   26       6/13/2023   Risler, Franck                  1.3 Estimate the optimal liquidation time and optimal liquidation cost of the
                                                            FTX holdings recently classified by a regulatory agency as securities.
   26       6/13/2023   Langer, Cameron                 1.7 Analyze the impact of using different institutional data providers on the
                                                            downside risk and upside potential of the Debtors' crypto holdings.
   26       6/13/2023   Diodato, Michael                0.3 Outline recent crypto data related issues to prepare for upcoming call with
                                                            A&M.
   26       6/13/2023   Majkowski, Stephanie            2.4 Review documentation re: token pricing methodologies from a third-party
                                                            data platform.
   26       6/13/2023   Risler, Franck                  0.2 Provide comments on latest token pricing methodologies.

   26       6/13/2023   Langer, Cameron                 2.3 Compare the reported versus trusted trading volumes for the largest crypto
                                                            tokens in the Debtors' portfolio.
   26       6/13/2023   Langer, Cameron                 2.1 Estimate the historical correlation of the top tokens in the Debtors' portfolio
                                                            using the latest market data.




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   26       6/13/2023   Diodato, Michael               0.9 Draft email describing uses for new crypto pricing data providers for PH.

   26       6/13/2023   Risler, Franck                  0.4 Summarize key points raised by the UCC re: ongoing token management.

   26       6/13/2023   Langer, Cameron                 1.9 Develop a methodology for determining the trusted trading volume for
                                                            crypto tokens in order to accurately estimate liquidation costs for the Debtors'
   26       6/13/2023   Watson, Ching                   0.4 portfolio.
                                                             Continue to draft an executive summary for the Debtors re: token
                                                            management.
   26       6/13/2023   Leonaitis, Isabelle             0.4 Summarize feedback received from the UCC re: token management.

   26       6/13/2023   de Brignac, Jessica             0.5 Review updates to token monetization analysis.

   26       6/13/2023   de Brignac, Jessica             0.6 Analyze updated coin holder detail provided by A&M in order to prepare
                                                            summary on the report.
   26       6/13/2023   Kamran, Kainat                  0.5 Analyze recent updates to a report re: the Debtors' digital assets.

   26       6/13/2023   McNew, Steven                   0.7 Review the updated report for the UCC on a crypto-related sale process.

   26       6/13/2023   McNew, Steven                   1.3 Continue to review coin holder report.

   26       6/13/2023   McNew, Steven                   0.6 Provide comments on recent token classifications.

   26       6/13/2023   Risler, Franck                  0.5 Participate in a call with A&M (K. Ramanathan, L. Callerio, and others) on
                                                            ongoing token issues and potential solutions.
   26       6/13/2023   Diodato, Michael                0.5 Attend a call with A&M (K. Ramanathan, L. Callerio, and others) to
                                                            compare various data providers and prioritize certain crypto data requests.
   26       6/13/2023   de Brignac, Jessica             0.5 Participate in a call with A&M (K. Ramanathan, L. Callerio, and others) re:
                                                            updates on token monetization.
   26       6/14/2023   Risler, Franck                  2.1 Calculate the value of certain tokens based on the latest portfolio data and
                                                            performance.
   26       6/14/2023   Risler, Franck                  1.3 Analyze the correlation between certain tokens to assess its impact on
                                                            various coin hedging and monetization strategies.
   26       6/14/2023   Bromberg, Brian                 0.3 Review latest coin report to understand changes in the Debtors' crypto
                                                            portfolio value.
   26       6/14/2023   Diodato, Michael                2.4 Analyze the change in risk metrics caused by using the new data provider.

   26       6/14/2023   Diodato, Michael                0.9 Prepare communications with PH and the UCC to receive approval to
                                                            onboard a new data provider.
   26       6/14/2023   Diodato, Michael                1.4 Finalize the comparison review of the data provider analysis.

   26       6/14/2023   Rousskikh, Valeri               1.9 Analyze certain correlation estimation results for the FTX portfolio to assess
                                                            current performance.
   26       6/14/2023   Rousskikh, Valeri               2.8 Continue to capture the current FTX portfolio value using various statistical
                                                            measures.
   26       6/14/2023   Guo, Xueying                    2.8 Refresh the summary table and figures of the FTX portfolio analysis using
                                                            the newly calculated weighted correlation matrix and the latest data from a
                                                            third-party.
   26       6/14/2023   Guo, Xueying                    2.4 Compare the correlation matrix of FTX's top 100 tokens using various
                                                            statistical methods.
   26       6/14/2023   Majkowski, Stephanie            2.7 Continue to review information from a third-party data platform re: token
                                                            pricing methodologies.




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   26       6/14/2023   Guo, Xueying                  2.3 Refresh the FTX portfolio value projection calculations using the newly
                                                          calculated weighted correlation matrix.
   26       6/14/2023   Diodato, Michael              0.2 Review contract for new third-party data provider.

   26       6/14/2023   Majkowski, Stephanie           1.1 Update the delisted coin liquidation analysis using new liquidity
                                                           categorizations.
   26       6/14/2023   Majkowski, Stephanie           0.8 Investigate volume data for outlier tokens in delisted coin liquidation
                                                           analysis.
   26       6/14/2023   Majkowski, Stephanie           2.4 Conduct a quality check on the finalized delisted coin liquidation analysis.

   26       6/14/2023   Langer, Cameron                1.6 Compare certain statistical measures between various tokens in the Debtors'
                                                           portfolio to assess potential valuations.
   26       6/14/2023   Guo, Xueying                   2.5 Conduct a quality check on the FTX tokens' correlation matrix.

   26       6/14/2023   Diodato, Michael               2.1 Analyze the change in liquidation cost caused by using the new data
                                                           provider.
   26       6/14/2023   Risler, Franck                 0.3 Draft an email to the UCC on crypto market data providers to support coin
                                                           management.
   26       6/14/2023   Langer, Cameron                2.8 Calculate the correlation between the tokens in the Debtors' portfolio for
                                                           coin management purposes.
   26       6/14/2023   Langer, Cameron                2.2 Perform principal component analysis on the Debtors' crypto portfolio to
                                                           identify key risk drivers.
   26       6/14/2023   Langer, Cameron                1.4 Analyze the historical correlation of the top crypto tokens in the Debtors'
                                                           portfolio to capture FTX portfolio dynamics.
   26       6/14/2023   de Brignac, Jessica            0.6 Update the token monetization dashboard report.

   26       6/14/2023   McNew, Steven                  0.6 Provide comments on the latest settlement term sheet between FTX and a
                                                           certain third-party.
   26       6/14/2023   de Brignac, Jessica            1.3 Participate in a call with PH (I. Sasson) re: certain network updates.

   26       6/15/2023   Majkowski, Stephanie           0.5 Assess issues related to the Debtors' crypto portfolio risks and trading.

   26       6/15/2023   Diodato, Michael               0.3 Assess most recent updates to analysis of the Debtors' crypto portfolio.

   26       6/15/2023   Bromberg, Brian                0.4 Review crypto portfolio management issues.

   26       6/15/2023   Diodato, Michael               0.5 Review portfolio level forecasts for the next year showing upside and
                                                           downside crypto performance.
   26       6/15/2023   Langer, Cameron                2.7 Refresh principal component analysis on the top Debtor crypto holdings to
                                                           manage risk exposure and assess hedging options.
   26       6/15/2023   Langer, Cameron                1.2 Calculate portfolio Value-at-Risk over time using the latest market data for
                                                           use in UCC presentation on crypto risk and performance.
   26       6/15/2023   Diodato, Michael               2.2 Update presentation on crypto risks for the portfolio.

   26       6/15/2023   Risler, Franck                 1.4 Draft amended protocol for buying, selling, and hedging crypto in line with
                                                           coin monetization feedback and proposed plan structure.
   26       6/15/2023   Risler, Franck                 0.3 Summarize Debtors' latest hedging proposals.

   26       6/15/2023   Risler, Franck                 1.4 Prepare proposal for tokens with various classifications to address Debtors'
                                                           requests on UCC advisory on coin management.




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   26       6/15/2023   Langer, Cameron                1.8 Analyze the risk-adjusted performance over time of the top Debtor holdings.

   26       6/15/2023   Langer, Cameron                 1.3 Apply statistical model to simulate the Debtors' crypto portfolio over time.

   26       6/15/2023   de Brignac, Jessica             1.2 Update token monetization dashboard.

   26       6/15/2023   Kamran, Kainat                  0.3 Update deck on previous analysis of Debtors' crypto portfolio.

   26       6/15/2023   McNew, Steven                   0.8 Review documents related to the Debtors' motions for return of post-petition
                                                            crypto deposits.
   26       6/15/2023   Leonaitis, Isabelle             0.4 Participate in a call with PH (I. Sasson, K. Ramanathan and others) and
                                                            A&M (L. Callerio and others) re: certain coin holder to review analysis.
   26       6/15/2023   Risler, Franck                  0.4 Participate in a call with PH (I. Sasson, K. Ramanathan and others) and
                                                            A&M (L. Callerio and others) on coin management and list of tokens
                                                            targeted for monetization.
   26       6/15/2023   de Brignac, Jessica             0.4 Attend a call with PH (I. Sasson, K. Ramanathan and others) and A&M (L.
                                                            Callerio and others) re: certain coin holder questions.
   26       6/15/2023   Diodato, Michael                0.4 Attend call with third-party data provider regarding pricing and contract
                                                            terms.
   26       6/16/2023   Simms, Steven                   0.6 Review correspondence related to crypto holding items.

   26       6/16/2023   Simms, Steven                   1.1 Revise coin management and monetization report.

   26       6/16/2023   Majkowski, Stephanie            2.2 Create first draft of token monetization report for FTX coin management.

   26       6/16/2023   Diodato, Michael                2.9 Review correlation and diversification results related to the new data
                                                            provider for 6/9.
   26       6/16/2023   Diodato, Michael                1.5 Finalize the executive summary of a presentation related to the portfolio
                                                            risks, updated with 6/9 market data.
   26       6/16/2023   Majkowski, Stephanie            1.9 Analyze proposed monetization actions from the UCC.

   26       6/16/2023   Majkowski, Stephanie            2.4 Perform liquidation analysis on FTX's top 100 tokens for monetization
                                                            suggestions.
   26       6/16/2023   Majkowski, Stephanie            1.5 Perform quality check review of the prior analysis on Debtors' token re:
                                                            monetization analysis.
   26       6/16/2023   Majkowski, Stephanie            1.0 Articulate categorization strategy for holdable and disposable assets.

   26       6/16/2023   Langer, Cameron                 2.4 Develop token monetization strategy for the largest holdings in the Debtors'
                                                            crypto portfolio.
   26       6/16/2023   Risler, Franck                  2.4 Define proposals of sub-portfolios for immediate sales for review by UCC.

   26       6/16/2023   Langer, Cameron                 1.7 Analyze the future portfolio projections using historical simulation and
                                                            options-based models in the context of coin risk management.
   26       6/16/2023   Langer, Cameron                 1.3 Assess the current market liquidity for use in FTX crypto token
                                                            classification and monetization.
   26       6/16/2023   Langer, Cameron                 2.6 Develop crypto token taxonomy for a coin monetization strategy proposal.

   26       6/16/2023   Watson, Ching                   1.8 Conduct quality check on the updated analysis in presentation deck on
                                                            Debtors' coin management strategy.
   26       6/16/2023   de Brignac, Jessica             0.3 Review the token monetization dashboard summarizing the Debtors' digital
                                                            holdings.




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Task Code     Date              Professional       Hours                                     Activity
   26       6/16/2023   de Brignac, Jessica            0.4 Discuss token reporting for certain token with A&M (K. Ramanathan).

   26       6/16/2023   de Brignac, Jessica             0.6 Review certain token and allocation details and communicate with A&M (I.
                                                            Sassoon).
   26       6/16/2023   Kamran, Kainat                  1.5 Incorporate updated data into summary dashboard on Debtors' tokens
                                                            holdings.
   26       6/16/2023   Kamran, Kainat                  0.5 Incorporate new data for asset holdings analysis.

   26       6/16/2023   Kamran, Kainat                  2.8 Incorporate updated data into token risk dashboard.

   26       6/16/2023   Risler, Franck                  0.4 Participate in a call with A&M (K. Ramanathan) on coin monetization.

   26       6/16/2023   Risler, Franck                  0.3 Participate in a call with UCC to on list of coins for immediate
                                                            monetization.
   26       6/19/2023   McNew, Steven                   0.9 Assess certain token monetization strategies for pricing.

   26       6/19/2023   Bromberg, Brian                 0.3 Review issues related to post-petition crypto deposits.

   26       6/19/2023   Majkowski, Stephanie            0.6 Assess post-petition deposits and proposed crypto asset monetization
                                                            updates.
   26       6/19/2023   Simms, Steven                   0.3 Assess the impact of updated crypto monetization on the Debtors' estate.

   26       6/19/2023   Majkowski, Stephanie            1.7 Compare various liquidation suggestions for the upcoming token
                                                            monetization report.
   26       6/19/2023   Majkowski, Stephanie            2.2 Reconcile the volume data for the recent token monetization report.

   26       6/19/2023   Majkowski, Stephanie            0.5 Update the token monetization report and strategy after addressing
                                                            comments from the recent reconciliation.
   26       6/19/2023   Majkowski, Stephanie            2.5 Conduct a quality check of the updated token monetization report.

   26       6/19/2023   Risler, Franck                  1.4 Categorize certain tokens into different priority-based tiers to assist the FTX
                                                            portfolio monetization.
   26       6/19/2023   Langer, Cameron                 1.4 Refresh liquidation costs to estimate the total discount under crypto
                                                            liquidation scenarios for monetization purposes.
   26       6/19/2023   Langer, Cameron                 2.7 Analyze the distribution of future portfolio values for the Debtors' crypto
                                                            holdings using historical simulation for risk management purposes.
   26       6/19/2023   Langer, Cameron                 1.1 Review updated FTX portfolio projection modeling to support crypto risk
                                                            and return management.
   26       6/19/2023   Langer, Cameron                 2.8 Classify the Debtors' crypto holdings into liquidity buckets to support FTX
                                                            coin management.
   26       6/19/2023   Risler, Franck                  2.3 Define options for coin monetization based on coin management strategy
                                                            approved by the UCC to provide recommendations to the Debtors.
   26       6/19/2023   Leonaitis, Isabelle             0.8 Review monetization framework for a list of special case tokens.

   26       6/19/2023   de Brignac, Jessica             0.5 Analyze updates to specific token holding status.

   26       6/19/2023   de Brignac, Jessica             0.9 Review recent court motions and other documents related to a certain token
                                                            holding.
   26       6/19/2023   Leonaitis, Isabelle             0.5 Participate in a meeting with PH (G. Sasson, I. Sasson, J. Madell, E. Gilad
                                                            and others) to review a certain token filing.




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Task Code     Date            Professional         Hours                                        Activity
   26       6/19/2023   Majkowski, Stephanie           0.5 Participate in a call with PH (G. Sasson, I. Sasson, J. Madell, E. Gilad and
                                                           others) to discuss the status of certain coin for FTX coin management.
   26       6/19/2023   Rousskikh, Valeri              0.5 Participate in a meeting with PH (G. Sasson, I. Sasson, J. Madell, E. Gilad
                                                           and others) on customer schedule calculation issues.
   26       6/19/2023   de Brignac, Jessica            0.5 Participate in a call with PH (G. Sasson, I. Sasson, J. Madell, E. Gilad and
                                                           others) re: updates to the valuation and monetization of a certain token.
   26       6/20/2023   McNew, Steven                  1.2 Provide comments on recent coin management proposals for Debtors' digital
                                                           assets.
   26       6/20/2023   Simms, Steven                  0.6 Review the latest progress on the Debtors' asset monetization.

   26       6/20/2023   Rousskikh, Valeri               2.6 Compare the valuation of various tokens using certain statistical measures.

   26       6/20/2023   Majkowski, Stephanie            0.9 Investigate the market capitalization data included in the token monetization
                                                            report for FTX coin management.
   26       6/20/2023   Bromberg, Brian                 0.4 Review Debtors' crypto management issues.

   26       6/20/2023   Gray, Michael                   0.4 Revise token monetization materials in advance of distribution to UCC.

   26       6/20/2023   Majkowski, Stephanie            1.9 Conduct quality check of the finalized token monetization report.

   26       6/20/2023   Risler, Franck                  0.4 Review latest updates to the FTX coin monetization strategy to prepare for
                                                            upcoming meeting with the UCC.
   26       6/20/2023   Risler, Franck                  0.9 Draft materials for the UCC on new token monetization proposals.

   26       6/20/2023   Risler, Franck                  2.9 Update the classification of certain tokens in the FTX portfolio using
                                                            various statistical measures.
   26       6/20/2023   Langer, Cameron                 2.4 Evaluate the token tiering methodology on prioritizing certain crypto assets
                                                            by using various statistical measures.
   26       6/20/2023   Risler, Franck                  1.7 Calculate monetization value of hypothetical subsets of tokens to help draft
                                                            responses to recent inquiries from the UCC.
   26       6/20/2023   Langer, Cameron                 2.1 Develop token classification methodology using risk and liquidity metrics
                                                            for token management purposes.
   26       6/20/2023   Langer, Cameron                 1.9 Calculate position-to-circulating supply ratios for the top crypto assets in the
                                                            Debtors' portfolio for token monetization purposes.
   26       6/20/2023   Langer, Cameron                 1.6 Analyze the circulating supply of the Debtors' top crypto holdings to assess
                                                            their market liquidity in a potential monetization strategy.
   26       6/20/2023   Risler, Franck                  1.2 Assess circulating supply for the FTX portfolio based on certain
                                                            independent crypto market data providers.
   26       6/20/2023   Risler, Franck                  0.3 Draft email to PH on certain proposed liquidity providers.

   26       6/20/2023   Risler, Franck                  0.4 Finalize material for the UCC on the proposed coin monetization strategy.

   26       6/20/2023   Diaz, Matthew                   1.1 Review new token related information requested by the UCC.

   26       6/20/2023   Diaz, Matthew                   0.7 Review the latest coin pricing analysis.

   26       6/20/2023   Leonaitis, Isabelle             1.0 Draft a summary email re: the valuation of a certain token.

   26       6/20/2023   de Brignac, Jessica             0.4 Review updates on post-petition deposits from PH.




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Task Code     Date              Professional       Hours                                  Activity
   26       6/20/2023   de Brignac, Jessica            0.3 Provide comments on the token monetization updates.

   26       6/20/2023   de Brignac, Jessica             1.3 Update the token monetization classification dashboard to reflect requests
                                                            from the UCC.
   26       6/20/2023   Kamran, Kainat                  0.5 Analyze the value of certain digital assets in the Debtors' estate.

   26       6/20/2023   Kamran, Kainat                  0.5 Continue to analyze the value of the Debtors' digital asset portfolio.

   26       6/20/2023   Risler, Franck                  0.4 Participate in a call with A&M (K. Ramanathan et al.) and FTI (F. Risler, J.
                                                            de Brignac, I. Leonaitis) on certain token valuation issues.
   26       6/20/2023   Leonaitis, Isabelle             0.4 Participate in a call with A&M (K. Ramanathan et al.) and FTI (F. Risler, J.
                                                            de Brignac, I. Leonaitis) to discuss monetization items and outstanding data
                                                            requests.
   26       6/21/2023   Simms, Steven                   1.0 Revise coin monetization report for UCC.

   26       6/21/2023   Langer, Cameron                 2.9 Analyze the order book depth and bid-ask spread in the context of coin
                                                            liquidity and monetization strategies.
   26       6/21/2023   Langer, Cameron                 2.2 Calculate the width of the locally linear order book for the most liquid
                                                            crypto tokens in the Debtors' portfolio to support FTX monetization
                                                            strategies.
   26       6/21/2023   Langer, Cameron                 1.7 Estimate the sensitivity of an industry-standard liquidation model to the bid-
                                                            ask spread in the context of crypto liquidation of certain assets in the
                                                            Debtors' portfolio.
   26       6/21/2023   Langer, Cameron                 1.2 Retrieve the order book data for the top crypto assets in the Debtors'
                                                            portfolio to assess current market liquidity.
   26       6/21/2023   Risler, Franck                  2.1 Perform sensitivity analyses of historical variation of bid-offer for FTX
                                                            token in estimated liquidation cost for coin monetization cost prediction.
   26       6/21/2023   Diaz, Matthew                   0.9 Review token monetization report to the UCC.

   26       6/21/2023   Leonaitis, Isabelle             0.2 Prepare diligence list on data requests re: on-chain crypto data.

   26       6/21/2023   de Brignac, Jessica             0.9 Assess the latest issues re: crypto monetization updates.

   26       6/21/2023   Kamran, Kainat                  0.4 Review access issues for technology used in crypto assets validation
                                                            analysis.
   26       6/21/2023   Kamran, Kainat                  1.8 Review coin report of 6/9 to 5/26 to review any changes and determine
                                                            source of changes.
   26       6/21/2023   Risler, Franck                  0.3 Participate in a call with UCC on token monetization issues.

   26       6/22/2023   Kamran, Kainat                  0.9 Summarize a recent coin monetization proposal.

   26       6/22/2023   Simms, Steven                   0.7 Coordinate with PH (G. Sassoon, E. Gilad) and UCC on crypto asset
                                                            monetization issues.
   26       6/22/2023   Majkowski, Stephanie            2.1 Analyze specific tokens liquidation and risk metrics based on UCC
                                                            feedback for coin management.
   26       6/22/2023   Majkowski, Stephanie            0.8 Assess changes in hedging and staking protocols for FTX coin management.

   26       6/22/2023   Risler, Franck                  0.2 Review latest updates to monetization analysis for Debtors' tokens.

   26       6/22/2023   Langer, Cameron                 2.7 Enhance token classification to include both absolute and relative liquidity
                                                            metrics for the purposes of FTX coin management.




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Task Code     Date              Professional        Hours                                       Activity
   26       6/22/2023   Langer, Cameron                 1.3 Refresh optimal liquidation times and costs for the Debtors' crypto portfolio
                                                            using the latest market data and stressed parameter values for risk
                                                            management purposes.
   26       6/22/2023   Risler, Franck                  2.3 Integrate input of the UCC in the coin monetization proposal to the Debtors.

   26       6/22/2023   Risler, Franck                   0.5 Draft summary on integration of absolute liquidity criteria for the token
                                                             classification to highlight impacts on token monetization proposal.
   26       6/22/2023   Langer, Cameron                  2.4 Calculate cumulative portfolio weights and values of the Debtors' top crypto
                                                             holdings under different hypothetical coin management proposals.
   26       6/22/2023   Langer, Cameron                  1.6 Determine optimal coin monetization order and priority of liquidation using
                                                             market and liquidity risk metrics to support coin monetization strategy
                                                             development.
   26       6/22/2023   Risler, Franck                   1.2 Continue to draft deck on updated protocol to hedge and stake crypto
                                                             reflecting latest feedback from UCC.
   26       6/22/2023   Leonaitis, Isabelle              0.5 Prepare a diligence list to continue evaluating Debtors' digital assets.

   26       6/22/2023   Leonaitis, Isabelle              0.7 Investigate chain data related to Debtors' exchange.

   26       6/22/2023   de Brignac, Jessica              0.6 Analyze summary on updates for certain tokens in Debtors' portfolio.

   26       6/22/2023   de Brignac, Jessica              0.6 Review the latest prepared list of issues re: Debtors' coin monetization.

   26       6/22/2023   Kamran, Kainat                   1.0 Add narratives for coin report changes from prior coin summary.

   26       6/22/2023   Kamran, Kainat                   1.3 Perform research on certain coins in Debtors' portfolio to assess price
                                                             changes from prior coin report.
   26       6/22/2023   Kamran, Kainat                   0.5 Make determinations for accessing additional data for FTX transactions
                                                             assessments.
   26       6/22/2023   Vazquez Ortiz, Fredrix           0.5 Summarize ongoing crypto evaluation.

   26       6/22/2023   McNew, Steven                    0.6 Review the digital asset monetization strategies provided by the Debtors.

   26       6/22/2023   McNew, Steven                    1.1 Provide comments on recent report summarizing the Debtors' coins
                                                             portfolio.
   26       6/22/2023   McNew, Steven                    0.4 Review crypto hedging and staking protocols draft.

   26       6/23/2023   Risler, Franck                   0.2 Draft a summary of crypto analysis to prepare for the upcoming UCC
                                                             meeting.
   26       6/23/2023   Simms, Steven                    0.8 Provide comments on the latest coin monetization analysis.

   26       6/23/2023   Bromberg, Brian                  0.9 Review the coin report for April.

   26       6/23/2023   Majkowski, Stephanie             2.1 Continue revisions on crypto hedging and staking protocol to include
                                                             thresholds, notice periods, and consultation rights for coin management
                                                             analysis.
   26       6/23/2023   Majkowski, Stephanie             1.6 Finalize revisions on crypto hedging and staking protocol to include
                                                             thresholds, notice periods, and consultation rights for coin management
                                                             analysis.
   26       6/23/2023   Risler, Franck                   0.4 Draft an email to the UCC on the updated coin management protocol to
                                                             address recent inquiries.
   26       6/23/2023   Risler, Franck                   0.4 Assess the feasibility of monetizing a certain token in the Debtors' portfolio.




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Task Code     Date               Professional       Hours                                      Activity
   26       6/23/2023   Risler, Franck                  0.6 Assess the updated coin portfolio report as of 06/09/23 provided by the
                                                            Debtors.
   26       6/23/2023   Risler, Franck                  2.3 Revise the presentation re: the performance of the FTX portfolio.

   26       6/23/2023   Risler, Franck                   1.9 Revise slides re: the coin management protocol to prepare for delivery to the
                                                             UCC.
   26       6/23/2023   Risler, Franck                   0.5 Draft update email re: coin management strategies for the UCC.

   26       6/23/2023   Risler, Franck                   0.2 Draft a response to recent token monetization questions received from the
                                                             UCC.
   26       6/23/2023   Langer, Cameron                  1.9 Determine the placement of the top crypto assets in the Debtors' portfolio in
                                                             a token taxonomy framework for monetization strategy purposes.
   26       6/23/2023   Risler, Franck                   0.3 Draft email to A&M (K. Ramanathan) on trading agreements with the
                                                             Debtors' new liquidity providers.
   26       6/23/2023   Leonaitis, Isabelle              0.4 Review a certain blockchain database to assess potential token valuations.

   26       6/23/2023   de Brignac, Jessica              0.7 Test access to FTX transaction data dashboard from A&M.

   26       6/23/2023   de Brignac, Jessica              0.3 Review the staking protocol for token monetization.

   26       6/23/2023   de Brignac, Jessica              0.3 Assess the latest updates re: analysis into a certain token's monetization.

   26       6/23/2023   de Brignac, Jessica              0.9 Provide comments on proposed digital asset monetization strategies.

   26       6/23/2023   Kamran, Kainat                   0.5 Evaluate changes on the latest coin report.

   26       6/23/2023   Vazquez Ortiz, Fredrix           0.5 Revise the latest coin monetization report.

   26       6/23/2023   Risler, Franck                   0.3 Attend a call with PH (G. Sasson, I. Sasson) on the latest sell, buy, hedge,
                                                             and stake protocol.
   26       6/23/2023   de Brignac, Jessica              0.3 Participate in a call with PH (G.Sasson, I. Sasson) re: transactions linked to
                                                             a certain coin.
   26       6/23/2023   Risler, Franck                   0.2 Participate in a call with PH (G. Sasson) on the UCC approval process for
                                                             the token monetization proposal.
   26       6/24/2023   Bromberg, Brian                  0.5 Review responses to the latest coin management proposal.

   26       6/25/2023   Risler, Franck                   0.3 Draft email to A&M (K. Ramanathan) on FTX token monetization strategy.

   26       6/25/2023   Risler, Franck                   1.7 Finalize FTX monetization strategy draft to reflect the sign-off of the UCC.

   26       6/25/2023   Risler, Franck                   0.6 Analyze certain liquidity issues and the monetization of certain tokens to
                                                             prepare a response to a recent inquiry from the UCC.
   26       6/26/2023   Simms, Steven                    0.4 Prepare recommendation to UCC re: coin monetization.

   26       6/26/2023   de Brignac, Jessica              0.4 Analyze the UCC objection to certain third-party exchange to assess the
                                                             crypto implications.
   26       6/26/2023   Risler, Franck                   0.2 Participate in a call with A&M (K. Ramanathan) re: the UCC's views on
                                                             certain tokens being delisted by a third-party platform.
   26       6/26/2023   Risler, Franck                   1.2 Evaluate the FTX portfolio dashboard with updated coin holdings.




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Task Code     Date              Professional       Hours                                      Activity
   26       6/26/2023   Diodato, Michael               2.9 Revise monetization framework description based on feedback from the
                                                           UCC.
   26       6/26/2023   Diodato, Michael               0.9 Finalize the presentation re: crypto related risks for PH.

   26       6/26/2023   Diodato, Michael                0.9 Revise trading approval process to reflect changes suggested by the UCC.

   26       6/26/2023   Diodato, Michael                2.8 Finalize presentation on key portfolio risks and performance for the Debtors.

   26       6/26/2023   Langer, Cameron                 2.1 Continue to incorporate the latest crypto price and volume data for the
                                                            purpose of providing current estimates of liquidation costs for the FTX
                                                            portfolio.
   26       6/26/2023   Langer, Cameron                 1.9 Provide current estimates of optimal liquidation times and costs for the
                                                            largest holdings in the Debtors' crypto portfolio.
   26       6/26/2023   Langer, Cameron                 1.4 Refresh the risk dashboard for the purpose of coin monetization and risk
                                                            management.
   26       6/26/2023   Risler, Franck                  0.7 Finalize the updated FTX portfolio performance, risk, and liquidity report.

   26       6/26/2023   Langer, Cameron                 2.6 Calculate risk and performance metrics for the top crypto assets in the
                                                            Debtors' portfolio for the purpose of coin management.
   26       6/26/2023   Risler, Franck                  0.6 Draft summary recommendation re: the best course of action to take for
                                                            tokens being delisted by third-party platforms.
   26       6/26/2023   Diaz, Matthew                   0.8 Review the crypto monetization report.

   26       6/26/2023   Leonaitis, Isabelle             2.8 Draft preliminary questions for the Debtors re: blockchain data.

   26       6/26/2023   de Brignac, Jessica             0.8 Review FTX trading approval process requirements related to token
                                                            monetization.
   26       6/26/2023   de Brignac, Jessica             0.8 Provide comments on the latest token risk analysis.

   26       6/26/2023   de Brignac, Jessica             0.3 Evaluate the recent transaction data and its association with token
                                                            monetization.
   26       6/26/2023   de Brignac, Jessica             0.2 Assess the volatility of crypto prices and its impact on the Debtors' assumed
                                                            asset value.
   26       6/27/2023   Diodato, Michael                0.4 Participate in a call with PH (G. Sasson, E. Gilad, K. Catalano) on post-
                                                            trade agreement proposal and risk report.
   26       6/27/2023   Risler, Franck                  0.4 Participate in a call with PH (G. Sasson, E. Gilad, K. Catalano) on recent
                                                            coin monetization issues.
   26       6/27/2023   de Brignac, Jessica             0.4 Attend a meeting with PH (G. Sasson, E. Gilad, K. Catalano) re: recent
                                                            analysis of certain Debtor coin.
   26       6/27/2023   Diodato, Michael                0.3 Participate in a call with A&M (K. Ramanathan, L Callerio, S Coverick) on
                                                            pending crypto data requests.
   26       6/27/2023   Leonaitis, Isabelle             0.3 Participate in a call with A&M (K. Ramanathan, L Callerio, S Coverick) to
                                                            review data requests updates for coin monetization considerations.
   26       6/27/2023   Risler, Franck                  0.3 Participate in a call with UCC on strategy for monetization of FTX digital
                                                            assets.
   26       6/27/2023   Risler, Franck                  0.7 Analyze recent change in volatility and liquidity of FTX portfolio top
                                                            holdings in the context of coin management.
   26       6/27/2023   Simms, Steven                   0.3 Prepare correspondence to PH re: Debtors' portfolio management.

   26       6/27/2023   Simms, Steven                   0.4 Prepare correspondence to PH on Debtors' token hedging strategy proposals.




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   26       6/27/2023   Diodato, Michael               0.4 Prepare materials containing crypto data prior to call with A&M.

   26       6/27/2023   Majkowski, Stephanie            1.9 Investigate historical realized volatility compared to realized volatility during
                                                            execution period for FTX coin management.
   26       6/27/2023   Diodato, Michael                0.9 Finalize the monetization framework summary and trade approval process
                                                            for the UCC and Debtors.
   26       6/27/2023   Majkowski, Stephanie            1.9 Prepare post-trade execution analysis for liquidated coins to assess execution
                                                            quality for FTX coin management.
   26       6/27/2023   Majkowski, Stephanie            1.8 Continue to analyze post-trade execution quality for FTX coin management.

   26       6/27/2023   Risler, Franck                  0.9 Analyze the trade execution of the monetization of 2 coins by the Debtors to
                                                            compare with the forecasted cost of liquidation.
   26       6/27/2023   Langer, Cameron                 2.8 Compare the predicted and actual execution costs for the liquidation of
                                                            several crypto assets in the Debtors' portfolio.
   26       6/27/2023   Langer, Cameron                 1.4 Retrieve funding rate spread data from FTX and other exchanges for the
                                                            purpose of price dislocation discovery.
   26       6/27/2023   Diodato, Michael                0.4 Review the updated risk dashboard based on 6/25 market data.

   26       6/27/2023   Diodato, Michael                0.6 Finalize UCC materials regarding trade approval process and token
                                                            monetization.
   26       6/27/2023   Langer, Cameron                 1.2 Analyze the recent realized volatility of several crypto assets in the Debtors'
                                                            portfolio to assess the performance of recent liquidation procedures.

   26       6/27/2023   Leonaitis, Isabelle             0.3 Review recent requests from A&M for coin monetization issues.

   26       6/27/2023   de Brignac, Jessica             0.7 Research certain token and market movements.

   26       6/28/2023   Risler, Franck                  0.4 Revise summary of previous UCC meetings on strategies for crypto asset
                                                            monetization.
   26       6/28/2023   Leonaitis, Isabelle             2.1 Prepare materials related to crypto asset management in preparation for
                                                            UCC call.
   26       6/28/2023   Diodato, Michael                0.6 Review summary of prior meetings with UCC with a focus on crypto
                                                            analysis.
   26       6/28/2023   Simms, Steven                   0.3 Prepare correspondence on items related to the management of Debtors'
                                                            coins.
   26       6/28/2023   Diodato, Michael                0.3 Prepare follow-up requests to UCC re: approval of trade approval process
                                                            and monetization framework.
   26       6/28/2023   Diodato, Michael                0.4 Prepare communications to UCC for approval of trade and monetization
                                                            policies.
   26       6/28/2023   Kubali, Volkan                  0.5 Conduct pricing analysis for certain of the Debtors' coins.

   26       6/28/2023   Majkowski, Stephanie            2.3 Prepare reconciliation of volatility surfaces for certain Debtor coins to be
                                                            used for pricing potential option hedges.
   26       6/28/2023   Diodato, Michael                0.2 Review the key considerations from UCC re: Debtors' token monetization.

   26       6/28/2023   Diodato, Michael                0.3 Review presentation of Debtors' portfolio risks to the UCC.

   26       6/28/2023   Majkowski, Stephanie            2.7 Price costless risk reversals, puts, and calls on certain Debtor coins for
                                                            potential options hedges for FTX coin management.
   26       6/28/2023   Langer, Cameron                 1.3 Analyze the recent crypto market volatility and the impact on the Debtors'
                                                            crypto portfolio for the purpose of risk and coin management.




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                                       FTX TRADING LTD., ET AL. - CASE NO. 22-11068
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Task Code     Date               Professional      Hours                                      Activity
   26       6/28/2023   Risler, Franck                 1.4 Assess further recent regulatory filing against other third-party exchanges
                                                           and the impact for FTX portfolio coin management.
   26       6/28/2023   de Brignac, Jessica            0.5 Research certain token market movements.

   26       6/29/2023   Risler, Franck                  0.4 Participate in a meeting with PH (G. Sasson, K. Pasquale, E. Gilad) on
                                                            certain coins management strategy.
   26       6/29/2023   Bromberg, Brian                 0.4 Participate in a call with PH (G. Sasson, K. Pasquale, E. Gilad) on coin
                                                            management proposals.
   26       6/29/2023   Diodato, Michael                0.4 Participate in a call with PH (G. Sasson, K. Pasquale, E. Gilad) to assess
                                                            Debtors' strategy for certain coins.
   26       6/29/2023   Diodato, Michael                1.0 Participate in a meeting with A&M (K. Ramanathan, L Callerio, S
                                                            Coverick) on trade approval process and coin monetization framework.
   26       6/29/2023   Risler, Franck                  1.0 Participate in a call with A&M (K. Ramanathan, L Callerio, S Coverick) on
                                                            FTX portfolio monetization strategies.
   26       6/29/2023   Sveen, Andrew                   0.2 Summarize Debtors' dataroom uploads related to coin management
                                                            proposals.
   26       6/29/2023   Kubali, Volkan                  0.4 Prepare list of considerations for the digital assets valuation for Debtors'
                                                            portfolio.
   26       6/29/2023   Risler, Franck                  0.8 Analyze certain asset management presentation to the FTX board of
                                                            directors in the context of coin monetization.
   26       6/29/2023   Risler, Franck                  0.5 Assess crypto asset risk management proposal presentation from Debtors.

   26       6/29/2023   Risler, Franck                  0.6 Continue to assess crypto asset risk management proposal presentation from
                                                            Debtors.
   26       6/29/2023   Diodato, Michael                0.5 Summarize the Debtors' recent asset management and risk analyses.

   26       6/29/2023   Leonaitis, Isabelle             0.4 Review updates to the Debtors' crypto asset monetization updates.

   26       6/29/2023   Bromberg, Brian                 0.4 Review crypto asset management presentation.

   26       6/29/2023   Rousskikh, Valeri               1.6 Retrieve recent coins option market data for computing zero collar strategy
                                                            for FTX crypto portfolio.
   26       6/29/2023   Rousskikh, Valeri               1.9 Calibrate volatility surfaces to recent coin option market data for computing
                                                            zero collar strategy for FTX portfolio.
   26       6/29/2023   Rousskikh, Valeri               1.8 Update latest analysis of coins in Debtors' portfolio for coin management
                                                            strategy.
   26       6/29/2023   Majkowski, Stephanie            2.7 Price costless risk reversals, puts, and calls on certain coin for potential
                                                            options hedges for FTX coin management.
   26       6/29/2023   Diodato, Michael                1.4 Prepare communications to UCC re: certain coins strategy proposed by
                                                            Debtors.
   26       6/29/2023   Diodato, Michael                0.8 Prepare communications to A&M on token monetization framework and
                                                            trading approval policy.
   26       6/29/2023   Diodato, Michael                1.9 Review fiduciary proposals provided by the Debtors for hedging of certain
                                                            coins.
   26       6/29/2023   Diodato, Michael                1.1 Analyze proposed strategies for hedging of certain coins in Debtors'
                                                            portfolio.
   26       6/29/2023   Diodato, Michael                1.7 Analyze option strategies proposed in fiduciary proposals provided by the
                                                            Debtors for hedging of certain coins.
   26       6/29/2023   Majkowski, Stephanie            2.3 Summarize potential option pricing strategy results for options on certain
                                                            coins for FTX coin management.




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Task Code     Date               Professional      Hours                                      Activity
   26       6/29/2023   Risler, Franck                 0.3 Assess correspondence from Debtors' management on proposed
                                                           monetization and hedging strategy for certain coins.
   26       6/29/2023   Risler, Franck                 1.7 Price hedging strategy for certain coins based on option markets as of 6/28.

   26       6/29/2023   Risler, Franck                  0.8 Analyze asset management presentation to FTX board of directors in context
                                                            of coin management analysis.
   26       6/29/2023   Langer, Cameron                 2.7 Test the quality of prior volatility surface calibration for use in the valuation
                                                            of options strategies tailored to hedging the Debtors' crypto risks.
   26       6/29/2023   Langer, Cameron                 2.9 Source options market data from certain data provider to use in the
                                                            evaluation of hedging strategies tailored to the Debtors' crypto assets.
   26       6/29/2023   Risler, Franck                  0.3 Prepare correspondence to UCC re: coin monetization.

   26       6/29/2023   Langer, Cameron                 2.4 Calibrate certain coin's volatility surface to market data for the purpose of
                                                            pricing options hedging strategies.
   26       6/29/2023   de Brignac, Jessica             0.7 Assess coin monetization proposals based on meeting with the UCC.

   26       6/30/2023   Diodato, Michael                0.4 Correspond with UCC to discuss proposals for monetization of certain
                                                            coins.
   26       6/30/2023   Leonaitis, Isabelle             0.2 Review UCC feedback on crypto asset monetization questions.

   26       6/30/2023   Bromberg, Brian                 0.3 Review coin report for crypto updates.

   26       6/30/2023   Rousskikh, Valeri               2.4 Analyze results of zero collar strategy for FTX portfolio compared to market
                                                            maker data.
   26       6/30/2023   Rousskikh, Valeri               2.2 Compute results of zero collar strategy for FTX portfolio based on recent
                                                            coin option market data.
   26       6/30/2023   Rousskikh, Valeri               1.1 Evaluate results of asset monetization strategy for certain coins in Debtors'
                                                            portfolio.
   26       6/30/2023   Diodato, Michael                0.7 Prepare response to the Debtors regarding certain coin proposals.

   26       6/30/2023   Diodato, Michael                1.6 Prepare communications with the Debtors based on response from UCC re:
                                                            coin monetization strategies.
   26       6/30/2023   Diodato, Michael                1.0 Analyze option strategies proposed in fiduciary proposals provided by the
                                                            Debtors for certain coins hedging.
   26       6/30/2023   Diodato, Michael                2.8 Analyze potential stress testing approaches for reviewing the current crypto
                                                            holdings.
   26       6/30/2023   Diodato, Michael                0.5 Prepare correspondence to UCC on response to Debtors re: certain coin
                                                            proposals.
   26       6/30/2023   Diodato, Michael                0.7 Prepare correspondence to UCC to summarize outcomes of crypto asset
                                                            monetization.
   26       6/30/2023   Risler, Franck                  0.4 Assess communications from UCC on Debtors' proposed coin management
                                                            strategies for certain coins.
   26       6/30/2023   Risler, Franck                  0.4 Correspond with UCC, PH, and Jefferies on crypto asset monetization
                                                            strategies.
   26       6/30/2023   Risler, Franck                  0.3 Revise summary to the UCC on the Debtors' proposal for management of
                                                            certain coins.
   26       6/30/2023   Langer, Cameron                 2.2 Analyze costless collar options strategies for hedging FTX portfolio risks.

   26       6/30/2023   Langer, Cameron                 2.6 Quantify the market liquidity of certain crypto options for the purpose of
                                                            assessing proposed hedging strategies.




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Task Code     Date              Professional      Hours                                       Activity
   26       6/30/2023   Langer, Cameron               1.9 Calibrate certain coin volatility surface model to market options prices and
                                                          implied volatilities for the assessment of crypto hedging strategies proposals.

   26       6/30/2023   Langer, Cameron                1.3 Analyze the illustrative options hedging strategies proposed by the Debtors'
                                                           advisors.
   26       6/30/2023   Kamran, Kainat                 0.3 Review past crypto analysis requests from UCC in tracker.

   26       6/30/2023   Kamran, Kainat                 0.9 Update UCC requests in tracker re: crypto analysis.

   27       6/1/2023    Baldo, Diana                   0.5 Coordinate upcoming communications with the UCC re: potential news
                                                           reports.
   27       6/2/2023    Baldo, Diana                   0.3 Coordinate verification logistics re: signing up for a certain social media
                                                           platform.
   27       6/2/2023    Chesley, Rachel                0.2 Draft responses to latest media inquiries.

   27       6/2/2023    Chesley, Rachel                0.2 Attend a call with PH (G. Sasson) to discuss media inquiry and response.

   27       6/5/2023    Chesley, Rachel                0.2 Draft response to recent inbound media inquiry to review with the UCC.

   27       6/5/2023    Baldo, Diana                   0.2 Participate in a call with PH (G. Sasson, K. Hansen) re: responses to a
                                                           recent media inquiry.
   27       6/5/2023    Chesley, Rachel                0.2 Participate in a call with PH (K. Hansen and G. Sasson) to discuss inbound
                                                           media inquiries.
   27       6/7/2023    Chesley, Rachel                0.4 Correspond with PH (K. Hansen and G. Sasson) to discuss potential
                                                           responses to inbound media inquiries.
   27       6/12/2023   Baldo, Diana                   0.9 Draft Twitter thread to provide an update on 6/9 hearing.

   27       6/12/2023   Baldo, Diana                   0.3 Review media articles from 6/9 hearing in order to inform communications
                                                           update.
   27       6/12/2023   Baldo, Diana                   1.2 Outline upcoming milestones and corresponding communication activities
                                                           in order to inform creditors throughout the duration of the case.
   27       6/12/2023   Chesley, Rachel                0.2 Revise social media update post related to June 8-9 hearing and customer-
                                                           impacting outcomes.
   27       6/14/2023   Baldo, Diana                   2.0 Prepare a communication plan for the customer bar date motion rollout,
                                                           including proposed tweets and FAQs to ensure creditor awareness.
   27       6/14/2023   Chesley, Rachel                0.2 Draft a statement to respond to a potential media article.

   27       6/15/2023   Baldo, Diana                   1.1 Develop a summary of the FTX bankruptcy cases in order to inform media
                                                           strategy.
   27       6/15/2023   Baldo, Diana                   0.5 Provide update on strategic communications initiatives to ensure awareness
                                                           to creditors.
   27       6/15/2023   Baldo, Diana                   0.8 Review customer bar date motion to accurately draft Twitter thread
                                                           accordingly.
   27       6/15/2023   Chesley, Rachel                0.3 Revise communications and social media post regarding customer bar date
                                                           motion.
   27       6/16/2023   Baldo, Diana                   0.9 Continue to revise into media strategy to send to PH.

   27       6/20/2023   Baldo, Diana                   0.3 Review inquiry log to ensure all creditors' inquiries have been resolved.

   27       6/21/2023   Baldo, Diana                   0.6 Coordinate on media strategy with G. Sasson, K. Hansen (PH) and R.
                                                           Chesley (FTI) regarding an inbound media inquiry.




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Task Code     Date              Professional      Hours                                     Activity
   27       6/21/2023   Baldo, Diana                  0.7 Draft statement for media strategy regarding an forthcoming article and
                                                          media inquiry.
   27       6/21/2023   Chesley, Rachel               0.5 Facilitate media inquiry response via background interview.

   27       6/22/2023   Chesley, Rachel                0.2 Revise draft statement for response to media outlet inquiry.

   27       6/23/2023   Baldo, Diana                   0.3 Draft communication recommendations to send out after the bar date motion
                                                           is approved.
   27       6/23/2023   Chesley, Rachel                0.2 Participate in a call with the Debtors re: the customer claims portal and
                                                           upcoming bar date motion.
   27       6/25/2023   Baldo, Diana                   0.7 Update the media holding statement in response to recent media inquiries.

   27       6/26/2023   Baldo, Diana                   1.2 Prepare communications strategy re: the upcoming hearing to inform
                                                           creditors on the bar date motion.
   27       6/26/2023   Baldo, Diana                   0.6 Continue to facilitate response to media inquiry.

   27       6/26/2023   Baldo, Diana                   0.5 Review updated inquiry log from the UCC to determine if any creditor
                                                           inquiries warrant further escalation.
   27       6/26/2023   Chesley, Rachel                0.3 Conduct media relations in response to inbound inquiries from certain news
                                                           organizations to ensure accurate reporting and coverage.
   27       6/26/2023   Chesley, Rachel                0.3 Provide a media statement to the Debtors' advisors for review.

   27       6/26/2023   Chesley, Rachel                0.2 Participate in a call with Debtors with a focus on customer communication
                                                           plan around claims portal launch.
   27       6/26/2023   Chesley, Rachel                0.3 Participate in a call with PH (G. Sasson) to discuss media relations and a
                                                           potential UCC statement.
   27       6/27/2023   Baldo, Diana                   0.2 Attend call with B. Hunt (Epiq) on changes for website to ensure it is up to
                                                           date.
   27       6/27/2023   Baldo, Diana                   0.6 Revise strategize on upcoming media strategy pertaining to a media inquiry.

   27       6/27/2023   Baldo, Diana                   1.2 Continue to develop communications plan and recommendations pertaining
                                                           to the customer bar date motion in order to ensure transparency and
                                                           awareness.
   27       6/27/2023   Chesley, Rachel                0.2 Review media coverage and synthesize for PH in order to ensure accurate
                                                           reflection to creditor body.
   27       6/28/2023   Baldo, Diana                   0.3 Assess media inquiries to ensure appropriate responses.

   27       6/28/2023   Baldo, Diana                   2.1 Roll out communications plans pertaining to approval of customer bar date
                                                           motion to ensure creditor awareness of actions needed to file a claim.
   27       6/28/2023   Chesley, Rachel                0.2 Finalize changes to Q&A needed for Epiq site.

 27 Total                                             22.3

   29       6/1/2023    Simms, Steven                  0.2 Review materials re: terms for a potential exchange restart.

   29       6/1/2023    Bromberg, Brian                0.3 Review latest outreach summary re: a potential exchange restart.

   29       6/1/2023    Bromberg, Brian                0.4 Review data on FTX Japan in the context of proposed FTX 2.0 plans.

   29       6/1/2023    Risler, Franck                 0.2 Assess the updated FTX 2.0 outreach summary provided by PWP to track
                                                           progress in identifying a potential strategic partner for FTX 2.0 reboot.




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Task Code     Date             Professional       Hours                                       Activity
   29       6/1/2023    Gray, Michael                 1.1 Review documents provided by Debtors related to Japan in the context of
                                                          the exchange restart.
   29       6/1/2023    Bromberg, Brian               0.4 Attend a meeting with the Debtors and PWP (J. Ray, K. Cofsky, Others)
                                                          and UCC to review latest status of a potential exchange restart.
   29       6/1/2023    Risler, Franck                0.4 Participate in a call with the Debtors and PWP (J. Ray, K. Cofsky, Others)
                                                          and UCC to discuss outreach summary progress re: FTX 2.0.
   29       6/2/2023    Risler, Franck                1.2 Analyze deck provided by the Debtors to assess challenges and potential
                                                          issues with FTX Japan restart.
   29       6/5/2023    Risler, Franck                1.9 Continue to analyze documents provided by the Debtors on FTX Japan to
                                                          assess the exchange restart status.
   29       6/6/2023    Simms, Steven                 0.4 Provide comments on new process changes re: a potential exchange restart.

   29       6/6/2023    Risler, Franck                 2.3 Analyze SEC charges against a third-party company to assess potential
                                                           impacts on FTX 2.0.
   29       6/7/2023    Risler, Franck                 2.7 Analyze the impacts of the recent SEC charges against a certain crypto
                                                           exchange on a potential FTX exchange reboot.
   29       6/8/2023    de Brignac, Jessica            0.5 Participate in a call with the UCC, PH (G. Sasson, E. Sibbitt and others),
                                                           FTI (F. Risler, S. Simms and others), Jefferies (T. Shea and others), and
                                                           A&M (S. Coverick, K. Ram and others) re: FTX 2.0.
   29       6/15/2023   Bromberg, Brian                0.3 Review prior FTX 2.0 materials.

   29       6/15/2023   Bromberg, Brian                0.3 Review most recently updated FTX 2.0 materials.

   29       6/15/2023   Risler, Franck                 0.2 Assess FTX 2.0 outreach update from PWP.

   29       6/15/2023   Risler, Franck                 0.8 Participate in a call with Debtors, Jefferies, and PH (K. Cofsky, E. Gilad, R.
                                                           Hamilton, M. O'Hara, Others) on FTX 2.0 and process to find a strategic
                                                           partner.
   29       6/15/2023   Simms, Steven                  0.8 Attend a meeting with Debtors, Jefferies and, PH (K. Cofsky, E. Gilad, R.
                                                           Hamilton, M. O'Hara, Others) on FTX 2.0 process.
   29       6/15/2023   Bromberg, Brian                0.8 Participate in a call with Debtors PH, and Jefferies on FTX 2.0 (K. Cofsky,
                                                           E. Gilad, R. Hamilton, M. O'Hara, Others).
   29       6/15/2023   Risler, Franck                 0.3 Participate in a call with Jefferies (M. O'Hara, T.Shea) and PH (C. Daniels,
                                                           E. Sibbitt, and others) re: a potential exchange restart.
   29       6/15/2023   Bromberg, Brian                0.3 Participate in a call with Jefferies (M. O'Hara, T.Shea) and PH (C. Daniels,
                                                           E. Sibbitt, and others) on FTX 2.0.
   29       6/20/2023   Risler, Franck                 0.6 Assess the impact of a certain third-party's announcement that it started its
                                                           trading activity and closed a new round of funding on a potential FTX 2.0
                                                           reboot.
   29       6/22/2023   Simms, Steven                  0.5 Review summary update from the Debtors on the exchange reboot
                                                           considerations.
   29       6/22/2023   de Brignac, Jessica            0.2 Review outreach summary for FTX 2.0 information.

   29       6/22/2023   Risler, Franck                 0.2 Assess Debtors' update document on outreach for potential bidders related to
                                                           potential FTX 2.0.
   29       6/22/2023   de Brignac, Jessica            0.5 Attend meeting with UCC, PH (G. Sasson, E. Sibbitt and others), Jefferies
                                                           (T. Shea and others), and A&M (S. Coverick, K. Ram and others) on FTX
                                                           2.0.
   29       6/22/2023   Bromberg, Brian                0.5 Participate in a call with UCC, PH (G. Sasson, E. Sibbitt and others),
                                                           Jefferies (T. Shea and others), and A&M (S. Coverick, K. Ram and others)
                                                           on updates to analysis of considerations for FTX 2.0.




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Task Code       Date               Professional      Hours                                      Activity
   29         6/22/2023   Risler, Franck                 0.5 Participate in a call with UCC, PH (G. Sasson, E. Sibbitt and others),
                                                             Jefferies (T. Shea and others), and A&M (S. Coverick, K. Ram and others)
                                                             on FTX 2.0 considerations.
    29        6/26/2023   Dawson, Maxwell                0.4 Analyze latest documents uploaded to the dataroom re: FTX 2.0.

    29        6/28/2023   Risler, Franck                  1.3 Assess additional due-diligence documents provided for review by potential
                                                              strategic investors re: FTX 2.0.
    29        6/29/2023   Simms, Steven                   0.6 Participate in a call with Debtors and PWP (K. Cofsky, M. O'Hara, J. Ray,
                                                              Others) on FTX 2.0 items.
    29        6/29/2023   Bromberg, Brian                 0.6 Participate in a meeting with Debtors and PWP (K. Cofsky, M. O'Hara, J.
                                                              Ray, Others) on proposals for FTX 2.0.
    29        6/29/2023   Simms, Steven                   1.4 Review proposals related to FTX 2.0.

    29        6/29/2023   Bromberg, Brian                 0.4 Review bid summary in the context of potential FTX 2.0.

    29        6/29/2023   Gray, Michael                   0.6 Review summary of initial proposals re: FTX 2.0 provided by Jefferies.

    29        6/29/2023   Bromberg, Brian                 0.3 Review proposal documents re: potential exchange reboot.

    29        6/29/2023   Risler, Franck                  0.3 Assess material on FTX 2.0 initial proposal from strategic partners.

    29        6/30/2023   Bromberg, Brian                 0.5 Review proposal documents from bidders related to potential FTX 2.0.

    29        6/30/2023   Risler, Franck                  2.7 Analyze potential FTX 2.0 initial proposals submitted by the various
                                                              bidders.
 29 Total                                                27.9

Grand Total                                           2,850.1




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                                      EXHIBIT D
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                                SUMMARY OF EXPENSES
                    FOR THE PERIOD JUNE 1, 2023 THROUGH JUNE 30, 2023

Expense Type                                                                   Amount
Electronic Subscriptions                                                       $ 1,000.00
Legal Expenses                                                                 290,971.90
Lodging                                                                            394.90
Transportation                                                                     145.21
Travel Expenses                                                                    558.00
Working Meals                                                                      207.60
GRAND TOTAL                                                                  $ 293,277.61




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                                                    EXHIBIT E
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                                               ITEMIZED EXPENSES
                                  FOR THE PERIOD JUNE 1, 2023 THROUGH JUNE 30, 2023

      Expense Type              Date          Professional                          Expense Detail                        Amount
Electronic Subscriptions        6/1/2023 Chesley, Rachel           Monthly charge for UCC Twitter acount.3                  1,000.00

Electronic Subscriptions Total                                                                                             $ 1,000.00

Legal Expenses                 3/30/2023 Bogushefsky, Jeffrey      Fees and expenses incurred by Kramer Levin             290,971.90
                                                                   Naftalis & Frankel LLP in connection with
                                                                   retention and conflict management.
Legal Expenses Total                                                                                                     $ 290,971.90

Lodging                         6/9/2023 Sheridan, Jeremy          Hotel fees while traveling to Wilmington, DE               394.90
                                                                   to give testimony in FTX hearing.
Lodging Total                                                                                                                $ 394.90

Transportation                  6/1/2023 Gray, Michael             Taxi home from office after working late on                 15.93
                                                                   FTX case.
Transportation                  6/7/2023 Sheridan, Jeremy          Car service from Amtrak station to DuPont                     8.93
                                                                   Hotel while traveling to Wilmington, DE to
Transportation                  6/8/2023 Sheridan, Jeremy          giveservice
                                                                   Car   testimony   in courthouse
                                                                                  from  FTX hearing. to Amtrak station           9.51
                                                                   while traveling to Wilmington, DE to give
Transportation                  6/8/2023 Sheridan, Jeremy          testimony
                                                                   Parking   feeinwhile
                                                                                   FTX traveling
                                                                                         hearing. to Wilmington, DE            50.00
                                                                   to give testimony in FTX hearing.
Transportation                  6/9/2023 Sheridan, Jeremy          Car service from courthouse to Amtrak station               10.91
                                                                   while traveling to Wilmington, DE to give
Transportation                  6/9/2023 Sheridan, Jeremy          testimony
                                                                   Car  serviceinfrom
                                                                                   FTXAmtrak
                                                                                         hearing.station to courthouse           9.97
                                                                   while traveling to Wilmington, DE to give
Transportation                  6/9/2023 Sheridan, Jeremy          testimony
                                                                   Parking   feeinwhile
                                                                                   FTX traveling
                                                                                         hearing. to Wilmington, DE            21.00
                                                                   to give testimony in FTX hearing.
Transportation                 6/27/2023 Bromberg, Brian           Taxi home from office after working late on                 18.96
                                                                   FTX case.
Transportation Total                                                                                                        $ 145.21

Travel Expenses                 6/7/2023 Sheridan, Jeremy          Train ticket for travel from Washington, DC to             127.00
                                                                   Wilmington, DE to give testimony in FTX
                                                                   hearing.
Travel Expenses                 6/8/2023 Sheridan, Jeremy          Train ticket for travel from Wilmington, DE to             208.00
                                                                   Washington, DC following testimony in FTX
                                                                   hearing.
Travel Expenses                 6/9/2023 Sheridan, Jeremy          Train ticket for travel from Wilmington, DE to             127.00
                                                                   Washington, DC following testimony in FTX
                                                                   hearing.




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    FTI has previously shared underlying expense related to UCC Twitter account subscription with the fee examiner.



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Travel Expenses          6/9/2023 Sheridan, Jeremy    Train ticket for travel from Washington, DC to         96.00
                                                      Wilmington, DE to give testimony in FTX
                                                      hearing.
Travel Expenses Total                                                                                     $ 558.00

Working Meals            6/1/2023 Gray, Michael       Meal in office while working on FTX case.              20.00

Working Meals            6/7/2023 Dawson, Maxwell     Meal in office while working on FTX case.              15.44

Working Meals            6/7/2023 Sheridan, Jeremy    Meal while traveling to Wilmington, DE to                6.00
                                                      give testimony in FTX hearing.
Working Meals            6/7/2023 Sheridan, Jeremy    Meal while traveling to Wilmington, DE to              11.00
                                                      give testimony in FTX hearing.
Working Meals            6/7/2023 Sheridan, Jeremy    Meal while traveling to Wilmington, DE to              18.00
                                                      give testimony in FTX hearing.
Working Meals            6/8/2023 Sheridan, Jeremy    Meal while traveling to Wilmington, DE to                7.75
                                                      give testimony in FTX hearing.
Working Meals            6/8/2023 Sheridan, Jeremy    Meal while traveling to Wilmington, DE to              10.92
                                                      give testimony in FTX hearing.
Working Meals            6/8/2023 Sheridan, Jeremy    Meal while traveling to Wilmington, DE to                3.50
                                                      give testimony in FTX hearing.
Working Meals            6/8/2023 Sheridan, Jeremy    Meal while traveling to Wilmington, DE to              22.00
                                                      give testimony in FTX hearing.
Working Meals            6/9/2023 Sheridan, Jeremy    Meal while traveling to Wilmington, DE to                6.00
                                                      give testimony in FTX hearing.
Working Meals            6/9/2023 Sheridan, Jeremy    Meal while traveling to Wilmington, DE to              17.40
                                                      give testimony in FTX hearing.
Working Meals            6/9/2023 Sheridan, Jeremy    Meal while traveling to Wilmington, DE to                4.59
                                                      give testimony in FTX hearing.
Working Meals           6/12/2023 Dawson, Maxwell     Meal in office while working on FTX case.              15.44

Working Meals           6/13/2023 Dawson, Maxwell     Meal in office while working on FTX case.              19.09

Working Meals           6/22/2023 Dawson, Maxwell     Meal in office while working on FTX case.              13.71

Working Meals           6/28/2023 Dawson, Maxwell     Meal in office while working on FTX case.              16.76

Working Meals Total                                                                                       $ 207.60

Grand Total                                                                                            $ 293,277.61




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